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                     EXHIBIT D
     Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 2 of 176 Page ID #:392




         1MELISSA J. FASSETT, State Bar No. 135290
          PRICE,POSTEL & PARMA LLP
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          Cameron Park, California 95682-7652
        3 Telephone: (805)962-0011
                     (805)965-3978
        4 Facsimile:

        5 Attorneys for Defendants
          Nusil LLC and Nusil Technology LLC
        6
        7

        8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

        9                            FOR THE COUNTY OF SAN BERNARDINO

       10

       11     BRITTANY BILLETTS, an individual;                 Case No.: CIVDS1905706
              VIVIAN AGUIAR, an individual; ANN
       12     DELMONICO,an individual; CORNELIA                 NOTICE OF DEMURRER AND
              DITTO, an individual; LEAH JOHNSON,an             DEMURRER OF NUSIL TECHNOLOGY
       13     individual,                                       LLC AND NUSIL LLC TO PLAINTIFF'S
                                                                COMPLAINT;DECLARATION OF
       14                           Plaintiffs,                 MELISSA J. FASSETT

       15                   vs.
                                                                Date:    June 6, 2019
       16     MENTOR WORLDWIDE,LLC; NUSIL,                      Time:    8:30 a.m.
              LLC;NUSIL TECHNOLOGY,LLC; and                     Dept:    S24
       17     DOES 1-100, inclusive,
                                                                Complaint Filed:         2/22/19
       18                           Defendants.

       19

       20

       21          TO PLAINTIFFS AND TO THEIR ATTORNEYS OF RECORD:

       22          PLEASE TAKE NOTICE that on June 6, 2019, at 8:30 a.m. or as soon thereafter as the

       23 matter may be heard in Department S24 of the above-entitled Court located at 247 West Third

       24 Street, San Bernardino, CA 92415-0210, Defendants NuSil Technology LLC and NuSil LLC

       25 (collectively "NuSil Defendants") will, and do hereby demur to the Plaintiffs' Complaint.

       26           This demurrer is brought pursuant to CCP section 430.10 on the grounds that Plaintiffs'

       27 claims for negligence/negligence per se, strict products liability — failure to warn, and strict

       28 products liability — manufacturing defect are expressly and impliedly preempted by Federal law.

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        1   Additionally, each ofthose claims fails because it is uncertain and fails to state facts constituting a

        2 cause of action as against the NuSil Defendants.

        3          This demurrer is based on this Notice of Demurrer and Demurrer,the accompanying

        4 Memorandum of Points and Authorities, the accompanying Declaration of Melissa J. Fassett, the

        5 Request for Judicial Notice filed herewith, the pleadings and files in this matter, and such

        6 argument and evidence as may be presented at the hearing on this matter.

        7

        8                                          Respectfully submitted,

        9 Dated: May 1, 2019                       PRICE,POSTEL & PARMA LLP

       10

       11
                                                   By:C
       12                                             MELISSA J. FASSETT
                                                      Attorneys for Defendants
       13                                             Nusil LLC and Nusil Technology LLC

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       1                                             DEMURRER

       2          NuSil Defendants demur to Plaintiffs' Complaint in this action on the following grounds:

       3                           DEMURRER TO FIRST CAUSE OF ACTION

       4                                    (Negligence/Negligence Per Se)

       5           1. NuSil Defendants demur to Plaintiffs' claim for negligence and negligence per se

       6 (Count 1) on the grounds that Plaintiffs' claim is expressly and impliedly preempted by federal
                                                                                                      what the
       7 law because it seeks to impose labeling and manufacturing requirements that go beyond
                                                                                                      enforce
       8 U.S. Food and Drug Administration("FDA")has mandated and because it also seeks to
                                                                                              also fails to
       9 exclusively federal requirements that are not grounded in state tort law. Count 1
                                                                                                        that
      10 plead facts which constitute a claim against either ofthe NuSil Defendants. To the extent
                                                                                              a warning
      11 Count 1 alleges that either ofthe NuSil Defendants had an obligation to provide
                                                                                                     y doctrine.
      12 directly to any Plaintiff, it is also barred by state law,including the learned intermediar

      13                          DEMURRER TO SECOND CAUSE OF ACTION

      14                                    cStrict Liability — Failure to Warn)

      15           2. NuSil Defendants demur to Plaintiffs' claim for strict liability — failure to warn(Count
                                                                                                law because it
       16 2)on the grounds that this claim is expressly and impliedly preempted by federal
                                                                                                  and because it
       17 seeks to impose labeling requirements that go beyond what the FDA has mandated
                                                                                           in traditional state
       18 also seeks to enforce exclusively federal requirements that are not grounded
                                                                                    either ofthe NuSil
       19 law. Count 2 also fails to plead facts which constitute a claim against
                                                                                                  had an
       20 Defendants. To the extent that Count 2 alleges that either of the NuSil Defendants
                                                                                          state law, including
       21 obligation to provide a warning directly to any Plaintiff, it is also barred by
       22 the learned intermediary doctrine.

       23                           DEMURRER TO THIRD CAUSE OF ACTION

       24                               (Strict Liability — Manufacturing Defect)

       25           3. NuSil Defendants demur to Plaintiffs' claim for strict liability — manufacturing defect
                                                                                         by federal law
       26 (Count 3) on the grounds that this claim is expressly and impliedly preempted
                                                                                  what the FDA has
       27 because it seeks to impose manufacturing requirements that go beyond
                                                                     federal requirements that are not
       28 mandated and because it also seeks to enforce exclusively

  PRICE,POSTEL                                                  3                                  Ex. D - 3
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       1    grounded in traditional state tort law. Count 3 also fails to plead facts which constitute a claim
                                                                                                     NuSil
       2 against either ofthe NuSil Defendants. To the extent that Count 3 alleges that either ofthe
                                                                                                      learned
       3 Defendants had an obligation to any Plaintiff, it is also barred by state law, including the

       4 intermediary doctrine.

       5

       6                                           Respectfully submitted,

       7 Dated: May 1, 2019                        PRICE,POSTEL & PARMA LLP

       8

       9
                                                   By:           r.
      10                                              MELISSA J. FASSETT
                                                      Attorneys for Defendants
      11                                              Nusil LLC and Nusil Technology LLC

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      13          E.    Courts Routinely Find that Claims Involving Breast Implants are

                       Preempted                                                                           17
      14

      15          F.    Plaintiffs' Claims for Negligence and Strict Liability Relating to Implants

      16                and Their Components are Expressly and Impliedly Preempted and

                        Deficiently Pleaded                                                                18
       17

       18               1.     Plaintiff's Failure to Warn Claims(Counts 1 and 2)are Preempted

                                and are Deficiently Pleaded                                                18
       19

       20               2.     Plaintiffs' Manufacturing Defect Claims(Counts 1 and 3) are

                               Preempted and are Deficiently Pleaded                                       20
       21
                  CONCLUSION                                                                               22
       22 IV.

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                                           TAKLE OF AUTHORITIES

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       5 Artiglio v. General Electric Co. 61 CALApp.4th 830(1998)

       6 Blank v. Kirwan 64 Ca1.3d 311 .(1985)                                                11

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       7 Blankenship v. Medtronic, Inc.,6 F.Supp.3d 979(E.D. Mo. 2014)

       8 Bass v. Stryker Corp., No. 4:09-CV-632-Y, 2010 WL 3431631
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               (E.D. Ky. sept. 24, 2007)                                                      22
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       18 De La Paz v. Bayer Healthcare LLC, 159 F.Supp.3d 1085, 1097                         22
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       20                                                                                      13
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                (C.D.Calif. May 25, 2018)                                                     17
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       23 Enraets v. Intermedica Intraocular, Inc. 29 Cal.App.4th 779(1994)
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       24 Funke v. Sorin Grp. USA, Inc. (C.D. Cal. 2015)
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       1                                                                                         17
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       2                                                                                         17
            Levy v. Skywalker Sound 108 Cal.App.4th 753(2003)
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         Lewkut v. Stryker Corp., 724 F.Supp. 2d 648
              (S.D. Tex. 2010)                                                                       14
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                                                                         28,2014)                    17
       5 Malonzo v. Mentor Worldwide LLC 2014 W.L. 2212235(N.D. Cal. May
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       6 Martin v. Telectronics Pacing Sys., Inc. 105 F.3d 1090(6th Cir. 1997)
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       7 McGuan v. Endovascular Techs, Inc., 182 Cal.App.4th 974(2010)
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       8 Medtronic, Inc. v. Lohr. 518 U.S. 470(1996)

       9 In re Medtronic, Inc., Sprint Fidelis Leads Products Liability Litigation            passim
                 623 F. 3d.1200(8th Cir. 2010)
      10                                                                                             17
          Mize v. Mentor Worldwide LLC, 2018 WL 1364257
                                                                      (1996)                         11
      1 1 People v. Ex Rel. Lungren v. Superior Court 14 Cal.4th 294
                                                                  1105 (2014)                        11
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      18                                                                                             17
         Sciborski v. Pac Bell Directory 205 Cal.App.4th 1152(2012)
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         Seidler v. Municipal Ct. 12 Cal.App.4th 1229(1993)
      20                                                                                             20
          Valentine v. Baxter Healthcare Corp. 68 Cal.App.4th 1467(1999)
      21                                                                                             17
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         Zaccarello v. Medtronic, Inc. 38 F.Supp.3d 1061
                 (W.D. Mo. 2014)                                                                     22
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  PRICE,POSTEL                                                7                          Ex. D - 7
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                                                                                      S COMPLAINT
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       1 STATUTES

       2 Code of Civil Procedure
               Section 425.10(a)(1)                                                        11
               Section 425.10(e)                                                          11
       3

       4 21 C.F.R. §150(b)                                                                 18
         21 C.F.R. §801.109                                               ,                10
       5 21 C.F.R. §812.20                                                                 12
         21 C.F.R. §812.25                                                                 12
       6 21 C.F.R. §812.27                                                                 12
         21 C.F.R. §812.30                                                                 13
       7 21 C.F.R. §812.30 (b)(5)(ii)                                                      13
         21 C.F.R. §812.50(a)                                                              19
       8 21 C.F.R. §814.39(d)                                                              19
         21 C.F.R. §814.44(d)(1)                                                            10
       9
         21 U.S.C. §301 et seq.                                                                10
      10 21 U.S.C. §337(a)                                                                     16
         21 U.S.C. §360e(c)(1)                                                                 12
      11 21 U.S.C. §360e(d)(2)                                                                 10
         21 U.S.C. §360(i)                                                                     18
      12 21 U.S.C. §360j(g)                                                                    12
         21 U.S.C. §360k(a)                                                                    13
      13 21 U.S.C. §3360                                                                       10
         21 U.S.C. §878.3530                                                                   10
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       1                       MEMORANDUM OF POINTS AND AUTHORITIES

       2 I.       INTRODUCTION

       3          This action is a product liability action involving Mentor MemoryGel Silicone Breast
                                                                      than Plaintiff Billetts, all of
       4 Implants("MemoryGel Implants"), brought by five women. Other
                                                                                         t ¶1- 5). Plaintiffs
       5 the plaintiffs reside out of state (Florida, Rhode Island, Mississippi(Complain
                                                                                  and various locations
       6 allege that they were implanted with MemoryGel implants at various times

       7 around the country between 2007 and 2016.

       8          Plaintiffs collectively assert three claims for negligence/negligence per se, strict products
                                                                                   without identifying any
       9 liability — failure to warn, and strict liability — manufacturing defect,
                                                                         Each ofthese claims is preempted by
      10 specific party against whom any of the claims is asserted.
                                                                       labeling of the Plaintiffs' implants and
      1 1 federal law, which governs the design, manufacture, and
                                                                            that common law claims, such as
      12 their components. The United States Supreme Court has held
                                                                             devices regulated by the FDA,are
      13 Plaintiffs', which challenge the safety and efficacy of medical
                                                                          552 U.S. 312, 316-318. Plaintiffs'
      14 expressly preempted. See Riegel v. Medtronic, Inc.(2008)
                                                                  challenging the safety and efficacy of Mentor
      15 complaint is composed entirely of state law claims
                                                                   therefore expressly preempted.
      16 MemoryGel implants and their components, and are

       17         Further, to the extent Plaintiffs seek to enforce federal regulations governing the devices
                                                                    under Buckman v. Plaintiffs' Legal Comm.
       18 and their components,they are impliedly preempted

       19 (2001)531 U.S. 341.

      20 II.       BACKGROUND

       21          On February 22, 2019,the Plaintiffs filed this action alleging that between 2007 and 2016,
                                                            and that they developed injuries related to the
       22 they were implanted with MemoryGel implants,
                                                            rupture ofthe implant shells and the release of
       23 implants which they attribute to gel bleed and/or
                                                                 these conditions to manufacturing defects in
       24 silicone gel (Complaint, ¶21-39). Plaintiffs attribute
                                                         Defendants "are silicone raw material suppliers and
       25 the implants. Plaintiffs allege that the NuSil
                                                           the silicone to Mentor used in the Mentor
       26 manufactured, produced, supplied, and shipped
                                                             but do not allege any viable legal claim or
       27 MemoryGel Silicone Implants"(Complaint ¶11)
                                                         s. The Complaint mentions NuSil Defendants,
       28 wrongdoing by either ofthe NuSil Defendant

  PRICE,POSTEL                                                  9                                   Ex. D - 9
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       1    collectively, a bare handful of times, but alleges no violation of any obligation to any Plaintiff by

       2 a NuSil Defendant.

       3            Mentor MemoryGel Silicone Breast Implants are Class III medical devices as defined by 21
                                                                                        Medical Device
       4 C.F.R. §878.3530, which are subjected to the most stringent controls under the
                                                                                           552 U.S. at
       5 Amendments,21 U.S.C. §3360 et seq. to the FDCA,21 U.S.C. §301 et seq. See Riegel,
                                                                                           to healthcare
       6 316. Because ofthe Class III status, the sale of Mentor MemoryGel Breast Implants
                                                                                          the FDA. See 2
       7 professionals was conditioned upon the devices receiving premarket approval from
                                                                         which a manufacturer provide
       8 C.F.R. §878.3530(c). Premarket Approval("PMA")is the process by
                                                                            safe and effective. See 21 U.S.C.
       9 the FDA with reasonable assurance that a Class III device is both
                                                                              a manufacturer to submit a PM
      10 §360e(d)(2). Premarket approval is a rigorous process that requires
                                                                         safety and efficacy ofthe Class III
      11 application containing specific information and data about the
                                                                             Riegel, 552 U.S. at 317-318. Thi
      12 device and its components, which is then scrutinized by the FDA.
                                                                       composition, and labeling proposed by
      13 includes the design specifications, manufacturing processes,
                                                                   FDA grants PMA only if the agency has
      14 a manufacturer, as well as those of its components. The
                                                                    under the conditions of use included on the
      15 reasonable assurance that the device is safe and effective

       16 label.

       17            On December 12, 2003, Mentor submitted a PMA application for MemoryGel Silicone
                                                                    of Safety and Effectiveness Date(SSED)
       18 Breast Implants. See PMA Approval Order and Summary
                                                              B, C(Approval Order, SSED)1. On November
       19 for P030053, dated November 17, 2006(RJN - Exh.
                                                                l Silicone Breast Implants as designed,
       20 17, 2006, the FDA determined that Mentor MemoryGe
                                                              issued an Approval Order(RJN - Exh. C).
       21 manufactured and labeled are safe and effective and

       22         Thereafter, Mentor MemoryGel Silicone Breast Implants could only be sold to healthcare
                                                                  ing, and labeling specifications approved b
       23 professionals in accordance with the design, manufactur

       24

       25

       26
                 Because PMA approvals are documented in the Federal Register, courts are required to take
          27 judicial notice of them. See 21 C.F.R. §814.44(d)(1)(2010)(FDA will publish in the Federal
                Register after each quarter a list of the approvals announced in that quarter; 44 U.S.C. §1507 (the
          28 contents ofthe Federal Register shall be judicially noticed.) It is a matter of public record that
                Mentor MemoryGel Silicone Breast implants first received PMA on Nov. 17, 2006.
  PRICE, POSTEL
                                                                     10                               Ex. D - 10
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                                                                                                'S COMPLAINT
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       1 the FDA. Id., see also 21 C.F.R. §801.109. The approvals for Mentor's MemoryGel Silicone Breas

       2 Implants remain in effect and have never been suspended or withdrawn.

       3 III.     ARGUMENT

       4          A.      The Legal Standard for a Demurrer

       5          California is a fact pleading jurisdiction, requiring that a complaint contain a statement of the
                                                                                      is subject to demurrer
       6 facts constituting the cause of action. CCP section 425.10(a)(1) A complaint
                                                                                         CCP section 430.10(e)
       7 ifthe pleading does not state facts sufficient to constitute a cause of action.

       8          The Court, in ruling on a demurrer, must determine whether the complaint states a cause of
                                                                                        The Court may
       9 action. People v. Ex Rel. Lungren v. Superior Court(1996) 14 Ca1.4th 294, 300.
                                                                                           but not
      10 assume the truth of allegations in the Complaint that have been properly pleaded,
                                                                                 (1985)64 Ca1.3d 311, 318.
      11 contentions, deductions, or conclusions of fact or law. Blank v. Kirwan
                                                                              a plausible claim. See
      12 To survive a demurrer, a plaintiff must allege facts demonstrating
                                                                                    1105, 1120 ("the facts to be
      13 Prakashpalan v. Engstrom, Lipscomb & Lack(2014)223 Cal.App.4th
                                                                              be plausible."); Ankeny v.
      14 pleaded are those upon which liability depends... Such facts must
                                                                        537(confiiining that "the essential facts
      15 Lockheed Missiles & Space Co.(1979)88 Cal.App.3d 531,
                                                                               stated with clearness and
      16 upon which a determination ofthe controversy depends should be
                                                                   plead "specific facts" explaining how the
      17 precision"). In cases such as this, a plaintiff must also
                                                                             Bockrath v. Aldrich Chem. Co.
      18 defendant's alleged conduct caused or contributed to her injury.
                                                                       where the facts alleged are insufficient to
      19 (1999)21 Cal.4th 71, 78. A demurrer should be sustained
                                                                                 to amend should be allowed
      20 state a cause of action. CCP section 430.10(e). Moreover no leave
                                                                                        law, no liability exists."
      21 where "the nature ofthe plaintiff's claim is clear but under the substantive
                                                              1233.
       22 Seidler v. Municipal Ct.(1993) 12 Cal.App.4th 1229,

       23          B.      The MDA Preempts Plaintiffs' Common Law Claims

       24                  I.     The Medical Device Amendments of 1976

       25          In 1976, Congress enacted the Medical Device Amendments("MDA")to the Food Drug an•
                                                              devices. The MDA assigns each medical devic
       26 Cosmetic Act to allow the FDA to regulate medical
                                                             include breast implants, are subjected to the most
       27 to one ofthree "classes". Class III devices, which
                                                             establish that the devices are safe and effective.
       28 rigorous safety evaluation via the PMA process to

  PRICE,POSTEL                                                 11                                  Ex. D - 11
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                                                                                                          Leads
       1 Riegel v. Medtronic, Inc., 552 U.S. 312 at 317(2008);In re Medtronic, Inc., Sprint Fidelis
                                                                                                      is a
      2 Products Liability Litigation 623 F.3d 1200, 1203 (8th Cir. 2010). Premarket approval
                                                                                                       must submit
       3 "rigorous" process. Medtronic, Inc. v. Lohr, 518 U.S. 470, 477(1996). A manufacturer
                                                                                               full reports of all
       4 what is typically a multivolume application which includes, among other things,
                                                                                    have been published or shouli
       5 studies and investigations ofthe device's safety and effectiveness that
                                                                                                nts,ingredients
       6 reasonably be known to the applicant; a "full statement" ofthe device's "compone
                                                                                             on ofthe methods
       7 and properties and ofthe principle or principles of operation";"a full descripti
                                                                                        g, and, when relevant,
       8 used in, and the facilities and controls used for, the manufacture, processin
                                                                                    ts required by the FDA; and
       9 packing and installation of, such device"; samples of device componen
                                                                             552 U.S. at 317.
      10 specimen of the proposed labeling. § 360e(c)(l); Riegel, supra,

      11         Prior to obtaining premarket approval, a manufacturer of a Class III device may apply for
                                                                         to an investigational device exemption
      12 FDA approval to use the device for clinical testing pursuant
                                                                             e,to the extent consistent with the
      13 ("IDE"). 21 U.S.C. §360j(g). An IDE is designed "to encourag
                                                                             , the discovery and development of
      14 protection of public health and safety and with ethical standards
                                                                           Investigational devices are subject to
      15 useful devices intended for human use." 21 U.S.C. §360j(g).
                                                                            es for determining whether the
      16 complex and comprehensive regulations and detailed procedur
                                                                           Sys., Inc.(6th Cir. 1997) 105 F.3d
      17 devices are safe and effective. Martin v. Telectronics Pacing
                                                                      submit an application that includes a
       18 1090, 1095. To qualify for an IDE, a manufacturer must
                                                                    and a "description of the methods, facilities,
       19 "complete report of prior investigations ofthe device"
                                                                         storage, and where appropriate,
      20 and controls used for the manufacture, processing, packing,
                                                                  manufacturer must also submit a statement
       21 installation ofthe device." 21 C.F.R. §812.20. The
                                                               objectives and duration ofthe investigation; a
       22 concerning the intended use ofthe device and the
                                                                used and an analysis ofthe protocol
       23 written protocol describing the methodology to be
                                                                  sound; an analysis of all the increased risks to
       24 demonstrating that the investigation is scientifically
                                                                  and how the risks will be minimized; a
       25 which subjects will be exposed by the investigation
                                                                   and principle of operation ofthe device; the
       26 description of each component, ingredient, property,
                                                          and copies of all labeling for the device. 21 C.F.R.
       27 procedures for monitoring the investigation;
                                                      submit a report of prior investigations, including
        28 §812.25. Finally, the manufacturer must

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       1 info nation from non-clinical testing. 21 C.F.R. §812.27.

       2           The FDA will not approve an investigational device if it determines that "the risks to the

       3 subjects are not outweighed by the anticipated benefits to the subjects and the importance ofthe
                                                                                                          y
       4 knowledge to be gained, or informed consent is inadequate, or the investigation is scientificall
                                                                                              §812.30. Once
       5 unsound, or there is reason to believe the device as used is ineffective." 21 C.F.R.

       6 approves an investigational device, the FDA may withdraw its approval at any time if it determines

       7 that it is unreasonable to continue the investigation due to the inadequacy ofthe methods, facilities,

       8 and controls used for the manufacturing, processing, packaging, storage, and where appropriate,

       9 installation ofthe device." 21 C.F.R. §812.30(b)(5)(ii).

      10                   2.     Express Preemption of Medical Device Claims Under Riegel

      11           To ensure that FDA oversight of approved medical devices is not controverted by state law,

      12 Congress included the following express preemption provisions:

      13          "No State or political subdivision of a State may establish or continue in effect with respec
           to a device intended for human use any requirement —
       14          (1) which is different from, or in addition to, any requirement applicable under this chapter t U
           the device, and
       15         (2) which relates to the safety or effectiveness ofthe device or to any other matter included i
           a requirement applicable to the device under this chapter."
       16
                   21 U.S.C. §360k(a)
       17
                   The Supreme Court in Riegel held that the MDA's express preemption clause bars common
       18
           law claims challenging the safety and effectiveness of a medical device given PMA approval by the
       19
            FDA. Riegel, 552 U.S. at 328-329.
       20
                    The Supreme Court in Riegel established a two-part test for preemption under the MDA: (1)
       21
            the court must determine whether the federal government has established requirements relating to
       22
            the device at issue and, if so,(2)the court must detattnine whether a state-law claim imposes any
       23
            requirement relating to the safety and effectiveness of a device that is "different from or in addition
       24
            to" the federal requirement. Riegel, supra, 552 TJ.S. at 321-323; See also In re Medtronic, Inc.,
       25
            Sprint Fidelis Leads Prod. Liab. Litig., 623 F.3d at 1205; Dougherty v. Source Nats, Inc., 148
       26
            F.Supp.3d 831, 833(E.D.Mo. 2015). A claim that imposes such a requirement is preempted.
        27
                    Courts routinely follow Riegel in applying 360k(a) to dismiss claims involving PMA-
        28

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       1    approved devices. See Glennen v. Allergan, Inc.(2016)247 Cal.App.4th 1, 4-5 (affirming dismissa

       2 of negligence claim as preempted under MDA); McGuan v. Endovascular Techs, Inc.(2010) 182

       3 Cal.App.4th 1490, 1499-1500 (Strict liability and negligence claims dismissed as preempted under

       4 MDA). Similarly, courts also apply 360k(a)to dismiss claims involving IDE-approved devices.

       5 Robinson v. Endovascular Tech.(2010) 190 Cal.App.4th 1490, 1499-1500(holding that "Riegel is
                                                                                                       that
       6 controlling in cases involving medical devices that have received IDE approval" and reasoning
                                                                                             v.
       7 there are "no material differences" between the IDE and PMA processes (quoting Kemp
                                                                                                Inc.(1994)
       8 Medtronic, Inc. (6th Cir. 2000)231 F.3d 216, 227); Evraets v. Intermedica Intraocular,
                                                                                             claims in case
       9 29 Cal.App.4th 779, 787-788 (affirming dismissal of negligence and strict liability
                                                                                                        state
      10 involving Class III investigational device, and holding the manufacturer "cannot be sued under

      11    law theories of negligence or strict liability" because such claims "undermine the congressional
                                                                                          product").
      12 purpose of allowing lens manufacturers leeway in developing and perfecting their

      13           Section 360k(a), however,"does not prevent a state from providing a damages remedy for
                                                                                    in such a case parallel,
      14 claims premised on a violation of FDA regulations because the state duties
                                                                                                               t
       15 rather than add to, federal requirements." Riegel, 552 U.S. at 330. In order for a state requirement
                                                                                               must show that
       16 be parallel to a federal requirement and thus not expressly preempted, the plaintiff
                                                                                       at 10. State and
       17 the requirements are "genuinely equivalent". Glennen, supra, 247 Cal.App.4th
                                                                                                     law
       18 federal requirements are not equivalent if a manufacturer could be held liable under state
                                                                               at 10. As more fully
       19 without having violated federal law. Glennen, supra, 247 Cal.App.4th
                                                                             .
       20 explained below, Plaintiffs are unable to satisfy this requirement

       21                  3.      Preemption of Medical Device Component Claims

       22           The courts have similarly applied 360k(a)to claims involving device components,finding
                                                                       components used in medical devices
       23 that preemption also bars separate claims arising out of the
                                                                             F.Supp.2d 466(W.D.Pa. 2012);
       24 which were granted PMA approval. Gross v. Stryker Corp., 858
                                                                3431637,rev'd on other grounds 669 F.3d 501
       25 Bass v. Stryker Corp., No. 4:09-cv-632-Y, 2010 WL
                                                                      443, 451-452(E.D.Pa. 2011); Riley v.
       26 (5th Cir. 2012); Bentley v. Medtronic, Inc., 827 F.Supp.2d
                                                                              Stryker Corp., 724 F.Supp.2d 648
       27 Cordis Corp., 625 F.Supp.2d 769, 780(D.Minn. 2009); Lewkut v.
                                                                 it was found that, by granting PMA approval .f
       28 656 (S.D.Tex. 2010). In each ofthe foregoing cases,

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                                                                                            court explained
       1 a medical device, the FDA had likewise approved its component parts. The Lewkut

       2       "[This Court cannot see the logic in holding that the ceramic components ofthe
                Trident System were PMA-approved for use with the acetabular shell, but that that
       3        acetabular shell itself was not PMA approved. An acetabular shell being used in
                conjunction with the identified ceramic components is precisely the device that was
       4        approved via PMA.To require that a distinction be drawn between the approval
                process ofthe individual components ofthe system and the system itself, would, it
       5
                seems, add a level of complication to the medical device approval process not
       6        anticipated by Congress, the FDA,or medical device manufacturers." Id., at 656.

       7          It is well-documented that as part of the rigorous PMA approval process, a device
       8 manufacturer must provide information about the device components,including a "full statement" o

       9 the device's "components, ingredients, and properties and ofthe principle or principles of

      10 operation... samples or device components required by the FDA". §360e(c)(1)." See Riegel, supra,

      11   at 317. Information about the components and ingredients used in the devices is a critical feature of
      12 the FDA's analysis ofthe design ofthe device before granting PMA approval.

      13          A review ofthe FDA's approval in 2006 ofthe MemoryGel implants in question confirms
       14 that a complete and thorough assessment of the component materials was performed and considered

       15 as part ofthe PMA approval of the MemoryGel implants. The SSED which accompanied the

       16 approval of MemoryGel implants contains a careful analysis of all aspects ofthe materials making

       17 up the shell and patch and gel used in the device. The SSED contains twelve pages of analysis ofth

       18 silicone components used in the MemoryGel implants, the silicone shell, patch, and gel, which

       19 includes Chemistry Data (including the Extent of Cross-Linking; analysis of Volatiles; analysis for

       20 Extractables; Heavy Metal Analysis; and analysis of Silica Filler); Toxicology Data(including

       21 Pharmacokinetics, Biocompatibility Testing — Cytotoxicity, Short Tenn Irritation and Implantation,

       22 Acute Systemic Toxicity, Hemocompatibility,Pyrogenicity,Immunotoxicity, Sensitization, Muscle

       23 Implantation, Subchronic Toxicity, Reproductive Toxicity and Teratogenicity, Genotoxicity, and

       24 Carcinogenicity); Mechanical Data(including for fatigue, gel bleed, and gel cohesivity); Modes and

       25 Causes of Rupture; and Shelf Life Data.(RJN - Exh. 2, pp. 3-15) It is apparent that the FDA

       26 carefully considered the safety and efficacy ofthe silicone materials which were used in the

       27 implants, and approved the use ofthose materials as part of its analysis and approval ofthe implant

       28 design. It is also apparent that Plaintiffs' allegations in the present action against NuSil attack the

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       1    very criteria and findings employed by the FDA when it approved the MemoryGel implants and

       2 their components.

       3           Conceding, as they must, that the FDA's PMA approval ofthe MemoryGel implants
                                                                                            the raw materials
       4 preempts claims for design defect, Plaintiffs cannot pick apart the composition of
                                                                                     v. Stryker Corp., 858
       5 and apply different preemption analyses to the different components. Gross
                                                                                          WL 3431637,rev'
       6 F.Supp.2d 466(W.D.Pa. 2012); Bass v. Stryker Corp., No. 4:09-cv-632-Y, 2010
                                                                                                   443,451-
       7 on other grounds 669 F.3d 501 (5th Cir. 2012); Bentley v. Medtronic, Inc., 827 F.Supp.2d
                                                                               2009); Lewkut v.
       8 452(E.D.Pa. 2011); Riley v. Cordis Corp.,625 F.Supp.2d 769,780(D.Minn

       9 Stryker Corp., 724 F.Supp.2d 648,656 (S.D.Tex. 2010).

      10           The court similarly rejected a product liability claim involving component parts of a medical

      11    device in Cornwell v. Stryker Corp., No. 1:10—cv00066—EJL,2010 WL 4641112, at *3-4, 2010 U.S.

      12 Dist. LEXIS 116824, at *8-9(D.Idaho Nov. 1, 2010):

      13                  "The Court finds the record in this case supports that the Trident System,
                    including its componentparts, received PMA approval under the PMA process.
      14
                   Plaintiff argues the Trident acetabular cup was initially approved via the § 510(k)
      15
                   process and even though it was later approved for use with the ceramic-on-ceramic
      16
                    Trident System which received PMA approval, claims regarding the acetabular cup
      17            are exempt based on its original approval under § 510(k). This argument has been
       18           rejected by every other court deteiiiiining whether the acetabular cup received
       19           approval via the PMA process.... Having found the medical device at issue in this
                    case was approved via the PMA process, the Court finds Plaintiffs product liability
       20
                    claims are preempted by the MDA and must be dismissed. (emphasis added)"
       21
                    C.     Implied Preemption under the MDA
       22
                    Even if a plaintiff's claim is not expressly preempted, it is impliedly preempted if it is
       23
             cognizable only by virtue ofthe FDCA. Buckman Co. v. Plaintiffs' Legal Comm.(2001) 531
       24
             U.S.341, 343(holding "fraud on the FDA" claims are impliedly preempted because they "exist
       25
             solely by virtue ofthe FDCA disclosure requirements"). Implied preemption under the MDA bars
       26
             claims seeking to enforce an exclusively federal requirement that is not grounded in traditional state
       27
                                                                                                              y
             tort law. Glennen, supra, 247 Cal.App.4th, at 10-11 (explaining that such claims "are essentiall
       28

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           private actions to enforce the FDCA" and are thus barred by 21 U.S.C. section 337(a), which solely

           authorizes the federal government to enforce the MDA).

                  D.      The Narrow Gap Through Which State Law Claims must Fit to Survive

                   Together, express and implied preemption create a "narrow gap" through which a state law

           claim must fit to escape preemption. Glennen, supra, 247 Cal.App.4th, at 11-12. As the Glennen

           court explained,"The plaintiff must be suing for conduct that violates the FDCA (or else his claim i

           expressly preempted by §360k(a)), but the plaintiff must not be suing because the conduct violates

           the FDCA (since such a claim would be impliedly preempted under Buckman)." Id., at 12. "Stated

           another way,'Nil order to survive preemption, such claims "must be premised on conduct that both

          (1) violates the FDCA and(2) would give rise to a recovery under state law even in the absence of

           the FDCA."' Glennen, supra, 247 Cal.App.4th 12, citing Scanlon v. Medtronic Sofamor Danek

            USA Inc.(D.De1.2014)61 F..Supp.3d 403,411.

                   E.      Courts Routinely Find that Claims Involving Breast Implants are Preempted

                   Applying the preemption principles above, courts across the country routinely find that

           failure to warn and manufacturing defect claims involving breast implants — including the

            MemoryGel implants here at issue, are subject to dismissal. Rowe v. Mentor Worldwide, LLC,2018

            WL 1320251, at *5, *8-9(M.D.Fla. Mar.2, 2018); Ebrahimi v. Mentor Worldwide, LLC,2017 WL

            4128976, at *4-7(C.D.Cal. Sept. 15, 2017); Laux v. Mentor Worldwide, LLC,2017 WL 5186329, a

            *3-4(C.D.Cal. Nov. 8, 2017); Malonzo v. Mentor Worldwide, LLC,2014 WL 2212235, at *3

           (N.D.Cal. May 28, 2014); Couvillier v. Allergan, Inc., 2011 WL 8878258, at *1-2(W.D.La. Jan. 20

            2011). Courts have also specifically dismissed claims involving investigational breast implants

            placed pursuant to FDA-approved adjunct studies. Dorsey v. Allergan, 2009 WL 703290, at *7

           (M.D.Tenn. Mar. 11, 2009); Williams v. Allergan USA, Inc., 2009 WL 3294873, at *1,4(D.Ariz.

            Oct. 14, 2009). The federal court decisions are entitled to substantial deference. See Sciborski v.

            Pac Bell Directory (2012)205 Cal.App.4th 1152, 1165 ("a federal court's interpretation and

             application offederal preemption law ... is entitled to substantial deference."(citing Levy v.

            Skywalker Sound(2003) 108 Cal.App.4th 753, 762, n. 8 ("decisions ofthe lower federal courts on

             questions offederal law are persuasive and entitled to great weight".)).

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                  More recently, the Los Angeles Superior Court added its voice to this long-standing

           recognition that such product liability claims are expressly and impliedly preempted. In Mize v.
           Mentor Worldwide LLC,2018 WL 1364257, this Court found that a complaint essentially the same
           as the present complaint, prepared by the same attorneys, alleging negligence and strict products

           liability in connection with silicone breast implants, was expressly and impliedly preempted under

           the reasoning discussed above. In Mize, this Court ruled as follows:
                          "Plaintiff alleges that Mentor failed to adequately inspect, test, and validate
                   the materials and components ofthe Mentor MemoryGel Silicone Gel Breast
                   Implants... Plaintiff also alleges that the implants were defective at the time of sale
                   and that Plaintiff was implanted with a device that was manufactured from
                   nonconforming materials and uncertified components. ... However,Plaintiff does not
                   allege the respects in which Mentor's inspection, testing and validation ofthe product
                   or the product itself as implanted in Plaintiff violated FDA requirements. "[T]o
                   survive both express and implied preemption, a state law cause of action 'must be
                   premised on conduct that both(1) violates the FDCA and(2) would give rise to a
                   recovery under state law even in the absence ofthe FDCA." (Coleman v. Medtronic,
                   Inc.(2014)223 Cal.App.4th 413, 427 (citation omitted).) Plaintiff must allege facts
                   that constitute a violation ofthe Food Drug and Cosmetic Act in addition to alleging
                    how that violation caused injury to Plaintiff. The current operative complaint does
                    not do so." Mize II, supra, at *2.(RJN — Exh. E)

                   Even after Plaintiffs tried to amend their Complaint, the Court found it continued to suffer

            the same deficiencies, failing to state a viable claim and being expressly and impliedly preempted.

            Mize III at *2, RJN— Exh. F. The Complaint in the present case is virtually the same as the
            defective complaint in Mize. There is no reason for this Court to deviate from its earlier sound

            reasoning and it should continue to uphold the preemption analysis as previously applied in the
            present case, as well.
                  F.    Plaintiffs' Claims for Negligence and Strict Liability Relating to Implants and
            Their Components are Expressly and Impliedly Preempted, and Deficiently Pleaded

                    Plaintiffs' claims do not fit through the "narrow gap" between express and implied

            preemption.
                            1..      Plaintiffs'Failure to Warn Claims(Counts 1 and 2)are Preempted and are
                                     Deficiently Pleaded

                    Plaintiffs have asserted negligent failure to provide warnings concerning risks and dangers ir.

             MemoryGel implants relating to the following:

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       1      • unanticipated adverse device effects pursuant to 21 C.F.R. §150(b)(Complaint ¶121-122)

      2       • Adverse Action Reports pursuant to 21 C.F.R. §360i(Complaint ¶123)

       3      • product labeling changes, pursuant to 21 C.F.R. §814.39(d)(Complaint ¶132)

       4      • defects in the implants and its component parts and materials, in violation of 21 C.F.R.

       5            §812.5(a), which requires a manufacturer to provide a description of"all relevant

       6            contradictions, hazards, adverse effects, interfering substances or devices, warnings and

       7            precautions." (Complaint, ¶139)

       8            Plaintiffs have further asserted liability for failure to warn, stating that Mentor failed to
                                                                                use of improper and non-
       9 provide proper warnings concerning defects in the device, including
                                                                              21 CFR §812.50(a).
      10 conforming parts and materials, in violation of California law and

      11        Plaintiffs allege that Defendants breached duties owed under state law, in addition to those
                                                                  ns assert duties of a device manufacturer and
      12 imposed by federal law. However, all of their allegatio
                                                                 of components or raw materials used in
      13 they cite no obligations owed or violated by a supplier
                                                                 NuSil Defendants are that:
      14 Plaintiffs' implants. The only allegations addressed to
      15     • "NuSil Defendants formulated, made, created, labeled, packaged, tested, constructed,

      16          assembled, advertised, manufactured, sold, distributed, marketed, and promoted its silicone

       17         elastomer and gel kits for use in the MemoryGel Breast Implants, including the products th

       18            were implanted into plaintiffs." (Complaint ¶115)

       19         • "The NuSil Defendants knew or reasonably should have known that its kits were dangerous

       20           or were likely to be dangerous when used or misused in a reasonably foreseeable manner."

       21            (Complaint ¶119)

       22            Plaintiffs have not cited any violations ofthe FDCA by NuSil. However, it is apparent from
                                                                  on the NuSil Defendants duties which are
       23 the allegations that Plaintiffs are seeking to impose
                                                                 the federal law. This they may not do.
       24 different from and in addition to those imposed by
       25         Plaintiffs have further failed to plead facts which create any obligation on the part of NuSil,
                                                              regulation, or otherwise assert any wrongdoing for
       26 which assert the breach of any applicable law or
                                                               fail to state how either NuSil Defendant owed a
       27 which NuSil may be held responsible. Plaintiffs
                                                              t should have warned and what they should have
       28 duty to any plaintiff, who either NuSil Defendan

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       1 included in such warnings. Plaintiffs also fail to satisfy the requirement of stating how NuSil

       2 Defendants violated the FDCA and how such an alleged violation caused injury to the Plaintiffs.

       3          It must further be noted that Plaintiffs cannot assert claims based on the theory that NuSil

       4 Defendants had a duty to warn them directly. Any such claim fails as a matter of state law because,
                                                                                        implants, a duty to
       5 under the learned intermediary doctrine, in the case of prescription drugs and

       6 warn runs only to the prescribing physician, not the patient. See Carlin v. Superior Court(1996) 13
                                                                                            1483. A
       7 Cal.4th 1104, 1116; Valentine v. Baxter Healthcare Corp.(1999)68 Cal.App.4th 1467,
                                                                                                   r and ha
       8 supplier of components or raw materials is even further removed than a device manufacture

       9 no duty to warn a patient. Artiglio v. General Electric Co.(1998)61 Cal.App.4th 830, 839.
                                                                                  have not identified a
      10 Moreover, any such claim would be expressly preempted because Plaintiffs
                                                                                       directly. See Funke v.
      11 federal law requiring raw material suppliers, such as NuSil, to warn patients
                                                                                       expressly preempted absen
       12 Sorin Grp. USA, Inc.(C.D.Cal. 2015)(holding that plaintiffs claim was
                                                                                       to warn on the part of
       13 such a showing.) Therefore, even if Plaintiffs had tried to plead a failure
                                                                                             doctrine, also.
       14 either NuSil Defendant, which they have not, their Complaint is barred by this

       15                   2.               'Manufacturing Defect Claims(Counts 1 and 3)are Preempted and
                                    Plaintiffs
                                    are Deficiently Pleaded
       16
                   In attempting to plead manufacturing defect, both in the negligence/negligence per se claim
       17
          (Count 1) and in the strict liability claim (Count 3), Plaintiffs have similarly failed to plead necessar
       18
          facts. In fact, Plaintiffs do not even mention the NuSil Defendants at all in either claim alleging
       19
           defect in manufacturing. At the end of each such claim, Plaintiff alleges:
       20
                           "159. As a proximate and legal result of Mentor's failure to exercise
       21          reasonable care and the resulting defective condition of its MemoryGel Silicone Gel
                   Breast Implants implanted into Plaintiffs, they suffered injuries and will continue to
       22
                    suffer injuries ... for which she is entitled to compensatory and other damages in an
       23           amount to be proven at trial." (Complaint ¶159 1st CA)

       24                  "225. As a proximate result and/or substantial factor of Mentor MemoryGel
                    Silicone Gel Breast Implants defective condition at the time they were sold, Plaintiffs
       25           suffered and will continue to suffer severe physical injuries, severe emotional
       26           distress, mental anguish, economic loss, future medical care and treatment, and other
                    injuries for which she is entitled to compensatory and other damages in an amount to
       27           be proven at trial" (Complaint ¶225 3d CA)

       28

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       1          As the Court can see, there is no reference at all to any NuSil entity and no attempt to state

       2 any basis upon which either NuSil Defendant may be held liable to any Plaintiff on any theory.

       3          However, Plaintiffs' conclusory allegations make it clear that, even if they had pleaded any

       4 facts which could be arguably attributed to any NuSil Defendant, their claims will be preempted.
                                                                                                  that
       5 Plaintiffs' allegations are the same ones that prior courts have found to be preempted —

       6 Plaintiffs' implants differed in some undisclosed way from requirements and specifications impose•
       7 by the FDA (Complaint ¶150), that they included "nonconforming materials and uncertified
                                                                                                   that
       8 components" that somehow differed from those approved by the FDA (Complaint ¶154),
                                                                                          failed to follow
       9 Mentor violated record keeping requirements (Complaint ¶153), and that Mentor
                                                                                             Conclusory
      10 unidentified specifications and regulations required by the FDA (Complaint ¶151).
                                                                                  of          even if there
      11 allegations such as these would be insufficient to constitute a violation the FDCA,
                                                                                         Cal.App.4th at 785
      12 had been an attempt to include NuSil in the allegations. See Evraets, supra,29
                                                                                     "cannot make respondent
      13 (holding that alleged statutory violations must be specifically pleaded and

       14 and the court guess at which law was violated".).
       15          Plaintiffs' product liability claims are comparable to the claims that the Supreme Court foun 11
                                                                                        claims like those of
       16 to be preempted in Riegel. Riegel held that strict liability and negligence
                                                                                  to, those imposed by the FDA
       17 Plaintiffs seek to impose requirements different from, or in addition
                                                                                         applied under either a
       18 and are preempted. Riegel, 552 U.S. at 324-25 (stating that state tort law,
                                                                                   requirements disrupts the
       19 negligence or strict liability standard, which goes beyond the FDA's
                                                                       to impose labeling, manufacturing, testing
       20 federal scheme.) Likewise, Plaintiffs here are attempting
                                                                        or in addition to, the device-specific
       21 inspection and sale requirements which are different from,
       22 requirements imposed by the FDA.
       23          For example, in the first cause of action for negligence, Plaintiffs assert obligations on the
                                                                         reasonable care to provide adequate
       24 part of NuSil defendants "under California law" to exercise
                                                                     (Complaint ¶116, 117), that defendants
       25 warnings of potential dangers of which they were aware
                                                                   failing to monitor, warn or otherwise ensure
       26 marketed, advertised, and promoted the product while
                                                                 (Complaint ¶128), that defendants had a post-
       27 the safety and efficacy in violation of California law
                                                                       and that defendants failed to provide
       28 sale duty to warn under California law (Complaint ¶125),

  PRICE,POSTEL                                                 21                                 Ex. D - 21
  & PARMA LLP
                                                                                                               T
CAMERON PARK,CA    NUSIL TECHNOLOGY LLC AND NUSIL LLC'S DEMURRER TO PLAINTIFF'S COMPLAIN
   Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 23 of 176 Page ID #:413




       1    warnings about "the use of improper and nonconforming component parts and materials in violatio

       2 of California law (Complaint 1j139). However,these materials were subject to scrutiny during the

       3 PMA process when the design, manufacture, labeling, and composition ofthe silicone raw materials

       4 were approved by the FDA for use in Mentor's implants. Plaintiffs' broad and conclusory

       5 allegations attempt to circumvent and expand upon the preemptive Federal regulations and to assert

       6 state law claims relating to the sale, testing, validation, quality assurance, quality control, and
                                                                                               to,the Federal
       7 distribution which impose obligations under state law different from, and in addition

       8 regulations by which these raw materials are exclusively governed.

       9           The Supreme Court has held that once a device has received premarket approval,"the MDA
                                                                                                  ns,
      10 forbids the manufacturer to make, without FDA permission, changes in design specificatio

      11    manufacturing processes, labeling, or any other attribute, that would affect safety or effectiveness,"
                                                                                           used. Riegel,
      12 which would prohibit any change in the composition ofthe implants or the silicone
                                                                                             the composition or
       13 supra, 552 U.S. at 319. Therefore, to the extent that Plaintiffs have attacked
                                                                                        approved, they seek to
       14 manufacture of the silicone used in Plaintiffs' implants, which the FDA
                                                                                  federal requirements and
       15 impose responsibilities that are different from, or in addition to, the
                                                                                             1061, 1067(W.D.Mo.
       16 therefore expressly preempted. Zaccarello v. Medtronic, Inc., 38 F.Supp.3d
                                                                                       at 4-5 (E.D.Ky. Sept. 24,
       17 2014); Cottengim v. Mentor Corp., No. 05-1-DLB,2007 WL 2782885,
                                                                            'mere allegations are not enough to
       18 2007)(plaintiff's manufacturing claim was preempted because
                                                                                979,988(E.D.Mo. 2014)(plaintif
       19 avoid preemption"); Blankenship v. Medtronic, Inc.,6 F.Supp.3d
                                                                                impose responsibilities different
       20 did not adequately plead a manufacturing defect and attempted to
                                                                                   preempted under §360k(a)).
       21 from or in addition to the federal requirements, which are expressly

       22         Because federal law, the Approval Order and SSED solely govern the labeling, manufacture
                                                                                 strict liability claims are
       23 and composition ofthe implants and their components, Plaintiffs'
                                                                     LLC, 159 F.Supp.3d 1085, 1097(N.D.Cal.
       24 necessarily preempted. De La Paz v. Bayer Healthcare
                                                                         either the second or third causes of
       25 2016). Therefore, to the extent that it could be argued that
                                                                      Defendants, those claims are also expressly
       26 action could be construed to apply to either ofthe NuSil

       27 preempted.

       28    ///


  PRICE,POSTEL                                                  22                                 Ex. D - 22
  & PARMA LLP
CAMERON PARK,CA    NUSIL TECHNOLOGY LLC AND NUSIL LLC'S DEMURRER TO PLAINTIFF'S COMPLAINT
   Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 24 of 176 Page ID #:414




       1    V.    CONCLUSION

       2          For the reasons set forth above, NuSil Defendants respectfully request that the Court

       3 sustain their demurrer to each of Plaintiffs' claims against NuSil Defendants without leave to

       4 amend.

       5

       6                                        Respectfully submitted,

       7 Dated: May 1, 2019                     PRICE,POSTEL & PARMA LLP

        8

        9
                                                By:
       10                                          Melissa J. Fassett
                                                   Attorneys for Defendants
       11                                          Nusil LLC and Nusil Technology LLC

       12

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  PRICE,POSTEL
                                                             23                                 Ex. D - 23
  & PARMA LLP
CAMERON PARK,CA   NUSIL TECHNOLOGY LLC AND NUSIL LLC'S DEMURRER TO PLAINTIFF'S COMPLAINT
   Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 25 of 176 Page ID #:415




       1                                         PROOF OF SERVICE

       2 STATE OF CALIFORNIA,COUNTY OF SANTA BARBARA

       3        I am employed in the County of Santa Barbara, State of California. I am over the age of
         eighteen(18) and not a party to the within action. My business address is 200 East Carrillo Street,
       4 Fourth Floor, Santa Barbara, California 93101.

       5        On May 1, 2019, I served the foregoing document described as DEMURRER OF NUSIL
         TECHNOLOGY LLC AND NUSIL LLC TO PLAINTIFF'S COMPLAINT;
       6 DECLARATION OF MELISSA J. FASSETT on all interested parties in this action by the
         original and/or true copy thereof enclosed in sealed envelopes, addressed as follows:
       7
         See attached Service List
       8

       9 El       BY MAIL: I placed the original and/or true copy in a sealed envelope addressed as
                  indicated herein. I am readily familiar with the firm's practice of collection and
      10          processing documents for mailing. It is deposited with the U.S. postal service on that
                  same day in the ordinary course of business. I am aware that on motion ofthe party
      11          served, service is presumed invalid if the postal cancellation date or postage meter date is
                  more than one day after the date of deposit for mailing in affidavit.
      12
            ❑     BY PERSONAL DELIVERY: I personally delivered the original and/or true copy in a
      13          sealed envelope addressed as indicated herein.
      14 ❑        BY OVERNIGHT DELIVERY: I placed the original and/or true copy in a sealed, fully
                  prepaid FedEx, Next Day Air envelope addressed as indicated herein, which is picked up
      15          by FedEx on that same day in the ordinary course of business.
       16 ❑       BY FACSIMILE: Based on an agreement ofthe parties to accept service by fax
                  transmission, I faxed the referenced document(s)from fax number(805)967-3978 at
       17         [insert time] to the person(s) indicated herein at the fax number(s) indicated herein. No
                  error was reported by the fax machine that I used. A copy ofthe record ofthe fax
       18         transmission, which I printed out, is attached.
       19 ❑       BY E-MAIL: I caused to be e-mailed a true copy to the e-mail addresses listed herein.
       20 O       (STATE) I declare under penalty of perjury under the laws ofthe State of California that
                  the foregoing is true and correct.
       21
            ❑     (FEDERAL) I hereby certify that I am employed in the office of a member ofthe Bar of
       22         this Court at whose direction the service was made.
       23
                    Executed on May 1, 2019, at Santa Barbara, California.
       24

       25

       26

       27

       28

  PRICE,POSTEL                                                 24                                 Ex. D - 24
  & PARMA LLP
CAMERON PARK,CA    NUSIL TECHNOLOGY LLC AND NUSIL LLC'S DEMURRER TO PLAINTIFF'S COMPLAINT
Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 26 of 176 Page ID #:416




                                      SERVICE LIST

                   Brittany Billetts, et al. v. Mentor Worldwide,LLC,et al.
              Santa Bernardino County Superior Court Case No. CIVDS1905706



   Jennifer A. Lenze                         Plaintiffs
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   jlenze@lenzelawyers.com
   McGee@lenzelawyers.com


   Lowell W. Finson                          Plaintiffs
   FINSON LAW FIRM
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   Marina del Rey, CA 90292
   Lowell@finsonlawfirm.com


   Monee Takla Hanna                          Mentor Worldwide, LLC
   Tucker Ellis LLP
   515 S. Flower Street, 42nd Floor
   Los Angeles, CA 90071-2223
   Monee.hanna@tuckerellis.com




                                                                              Ex. D - 25
    Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 27 of 176 Page ID #:417




         1MELISSA J. FASSETT, State Bar No. 135290
          PRICE,POSTEL & PARMA LLP
        2 3330 Cameron Park Drive, Suite 100
          Cameron Park, California 95682-7652
        3 Telephone: (805)962-0011

        4 Facsimile: (805)965-3978

        5 Attorneys for Defendants
          Nusil LLC and Nusil Technology LLC
        6

         7

         8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

        9                           FOR THE COUNTY OF SAN BERNARDINO

       10

       11     BRITTANY BILLETTS, an individual;               Case No.: CIVDS1905706
              VIVIAN AGUIAR, an individual; ANN
       12     DELMONICO,an individual; CORNELIA               REQUEST FOR JUDICIAL NOTICE IN
              DITTO, an individual; LEAH JOHNSON,an           SUPPORT OF DEMURRER OF NUSIL
       13     individual,                                     TECHNOLOGY LLC AND NUSIL LLC
                                                              TO PLAINTIFF'S COMPLAINT
       14                          Plaintiffs,
                                                             [Notice of Demurrer and Demurrer to
       15                   vs.                              Plaintiff's Complaint filed concurrently
                                                             Herewith]
       16     MENTOR WORLDWIDE,LLC; NUSIL,
              LLC; NUSIL TECHNOLOGY,LLC; and
       17     DOES 1-100, inclusive,                          Date:    June 6, 2019
                                                              Time:    8:30 a.m.
       18                          Defendants.                Dept:    S24

       19                                                     Complaint Filed:        2/22/19

       20

       21

       22          Pursuant to California Rules of Court, Rules 3.1306(c) and 3.1113(1), and Evidence Code
       23 sections 452 and 453, Defendants NuSil LLC and NuSil Technology LLC respectfully request that

       24 the Court take judicial notice of the documents identified below in support of their Demurrer to

       25 Plaintiff's Complaint.

       26           1. Plaintiff's Complaint filed with the San Bernardino Superior Court on February 22, 201
       27 A true and correct copy ofthe Complaint is attached hereto as Exhibit A.

       28

  PRICE,POSTEL
                                                              1                                 Ex. D - 26
  & PARMA LLP
CAMERON PARK,CA   NUSIL TECHNOLOGY LLC AND NUSIL LLC'S DEMURRER TO PLAINTIFF'S COMPLAINT
    Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 28 of 176 Page ID #:418




        1           Pursuant to Evidence Code section 452(d), the Court may take judicial notice ofthe records

        2 of any court of this State.

        3           2. November 17, 2006, Premarket Approval("PMA")letter from the Center for Devices ani

        4 Radiological Health("CDRH")of the Food and Drug Administration("FDA") granting PMA to

        5 Mentor Corporation for Mentor MemoryGel Silicone Gel-Filled Breast Implants. This PMA letter i

        6 publicly available on the FDA's web site at
        7 https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpma/pma.cfm?id---P030053. A true and cone

        8 copy ofthe PMA Letter is attached as Exhibit B.

        9           Pursuant to Evidence Code section 452(c), the Court may take judicial notice ofthe official

       10 acts ofthe legislative, executive and judicial departments ofthe United States and of any state ofth

       11   United States. Similarly, pursuant to Evidence Code section 452(b), the Court may take judicial

       12 notice ofregulations and legislative enactments issued by or under the authority ofthe United State

       13 or any public entity in the United States.

       14           3. Summary of Safety and Effectiveness Data("SSED") which accompanied the November

       15    17, 2006,PMA letter from the CDRH ofthe FDA for Mentor MemoryGel Silicone Gel-Filled Brea

       16 Implants. The SSED is publicly available on the FDA's web site at

       17 https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpma/pma.cfm?id--P030053. A true and cone

       18 copy of the SSED is attached as Exhibit C.

       19           Pursuant to Evidence Code section 452(c), the Court may take judicial notice ofthe official

       20 acts ofthe legislative, executive and judicial departments ofthe United States and of any state ofth

       21    United States. Similarly, pursuant to Evidence Code section 452(b), the Court may take judicial

       22 notice ofregulations and legislative enactments issued by or under the authority ofthe United State

       23 or any public entity in the United States.

       24           4. Federal Register/Vol. 72, No. 63, April 3, 2007 Notices, TABLE 1: List of Safety and

       25 Effectiveness Summaries for Approved PMAs Made Available from October 1, 2006 to December

       26 31, 2006, which identifies the FDA's November 17, 2006 PMA approval of Mentor MemoryGelTM

       27 Silicone Gel-Filled Breast Implants. This section ofthe Federal Register is available at

       28 https://wwvv.federalregister.gov/documents/2007/04/03/E7-6166/medical-devices-availability-of-

  PRICE,POSTEL
  & PARMA LLP                                                  2                                Ex. D - 27
CAMERON PARK,CA    NUSIL TECHNOLOGY LLC AND NUSIL LLC'S DEMURRER TO PLAINTIFF'S COMPLAINT
   Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 29 of 176 Page ID #:419




        1   safety-and-effectiveness-summaries-for-premarket-approval, last visited on August 1, 2018. A true

       2 and correct copy ofthis section ofthe Federal Register is attached as Exhibit D.
       3           Pursuant to Evidence Code section 452(c), the Court may take judicial notice ofthe official

       4 acts ofthe legislative, executive and judicial departments ofthe United States and of any state of the
       5 United States. Similarly, pursuant to Evidence Code section 452(b), the Court may take judicial

       6 notice ofregulations and legislative enactments issued by or under the authority ofthe United State
       7 or any public entity in the United States.
        8          Because PMA approvals are documented in the Federal Register, courts are required to take

        9 judicial notice ofthem. See 21 C.F.R. §814.44(d)(1)(2010)("FDA will publish in the Federal

       10 Register after each quarter a list of the approvals announced in that quarter."); 44 U.S.C. §1507
       11 ("The contents ofthe Federal Register shall be judicially noticed.").
       12          5. Order of the Los Angeles Superior Court in Rexina Mize v. Mentor Worldwide LLC,201

       13 WL 1364257,(March 13, 2018). A true and correct copy ofthat Order is attached hereto as Exhibi
       14 E.
       15          Pursuant to Evidence Code section 452(d), the Court may take judicial notice ofthe records

       16 of any court of this State.
       17          6. Order ofthe Los Angeles Superior Court in Rexina Mize v. Mentor Worldwide LLC,201

       18 WL 5085716,(October 1, 2018). A true and correct copy ofthat Order is attached hereto as Exhibi

       19 F.

       20           Pursuant to Evidence Code section 452(d), the Court may take judicial notice ofthe records

       21 of any court ofthis State.
       22           CONCLUSION

       23           Under Evidence Code section 453, this request for judicial notice pursuant to any matter

       24 specified in Section 452 is conditionally mandatory and must be granted if sufficient notice is given
                                                                                             enable it to take notic
       25 to the adverse party and if the court is furnished with sufficient information to
                                                                                                        Defendants
       26 ofthe matter. People v. Maxwell(1978)78 Cal.App.3d 124, 130-131. By this Request,
                                                                                 enable it to take judicial notice o
       27 give sufficient notice and gives this Court sufficient information to
       28 the documents attached as Exhibits A, B, C, and D.

  PRICE,POSTEL
                                                                3                                  Ex. D - 28
  & PARMA LLP
CAMERON PARK,CA    NUSIL TECHNOLOGY LLC AND NUSIL LLC'S DEMURRER TO PLAINTIFF'S COMPLAINT
    Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 30 of 176 Page ID #:420




                                         Respectfully submitted,

            Dated: May 1, 2019           PRICE,POSTEL & PARMA LLP



                                         By:.C...C\ -
                                             MELISSA J.        SETT
                                             Attorneys for Defendants
                                             Nusil LLC and Nusil Technology LLC




  PRICE,POSTEL                                        4                           Ex. D - 29
  & PARMA LLP
CAMERON PARK,CA   NUSIL TECHNOLOGY LLC AND NUSIL LLC'S DEMURRER TO PLAINTIFF'S COMPLAINT
Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 31 of 176 Page ID #:421




                             EXHIBIT A

                                                                       Ex. D - 30
Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 32 of 176 Page ID #:422




                                                                                                                                                                     SUM-100
                                             SUMMONS                                                                                  FOR COURT USE ONLY
                                         (CITACION JUDICIAL)                                                                      (SOLO PARA LLSO DE LA CORTEJ


       NOTICE TO DEFENDANT:                                                                                                     F         tLED
                                                                                                                                           CALIFORNIA
      (AVISO AL DEMANDADO):                                                                                              SUPERIOR COURT OF
                                                                                                                          C OUNT ,OF SAN ERNARDINO
        MENTOR WORLDWIDE,LLC; NUSIL, LLC;NUSIL                                                                             SAN BERNARDINO DISTRICT
        TECHNOLOGY,LLC; and DOES 1-100,inclusive,
                                                                                                                                       M AR 1 9 2019
      YOU ARE BEING SUED BY PLAINTIFF:
      (LO ESTA DEMANDANDO EL DEMANDANTE):
        BRITTANY BILLETTS, an individual; VIVIAN AGUIAR, an                                                                   SAMANTHA
                                                                                                                                       NEUBAVER,DEPUTY
        individual;ANN DELMONICO,an individual;[continued on attachme
                                                                                                                nt]
        • NOTIDE1 You have been sued. The court may decide against you
        . below.                                                                  without your being heard unless you respond within 30 days, Read
                                                                                                                                                            the information
             You have 30 CALENDAR DAYS after this summons-and legal papers are
         served on the plaintiff. A letter or phone call will not protec                     served  on  you to file a written response at this court and have a copy
          base. There may be a court form that you can use for yourt you. Your written response must be In proper legal form if you want the court to hear your
                                                                          respon
          Online Self-Help Center (www.courtinfo.ca.govIseffhelp), your county   se. You  can  find these court forms and More information at the California Courts
          the court clerk fora fee waiver form, It you do hot tile your              law library, or the courthouse nearest you If you canno
                                                                         response on lime, you may lose the case by default                      t pay the filing fee, ask
          may be taken without further warning frOm the court, .                                                                  , and your wages, money, and property
             There are.other legal requirements. You may
          referral service. if you cannot afford an attorney, want  to call an attorney right away. If you do not know art attorney,
                                                               you may be eligible. for free legal services from a nonprof              you may want to call an attorney
                                                                                                                             it
          these nonprofit groups at the California Legal Services Web
        (www.courtinfo.ca.goviselfhelp), or by contacting                  site (Www.rawhelpcallfomia.org), the California legal     services program. YOu can locate
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                                                               your local court or County bar association. NOTE:The                    Online Self-Help Center
         costs on any settlement or arbitration award of$10,0                                                               court has a statutory lien for waived fees and
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     (El hombre y ciireccion de la code es):                                                                          CASC611/619ER:
                                                          San Bernardino District — Civil.Divis                      (Nurnelo do!Carol:
       247 WeSt Third Street                                                                                  ion
                                                                                                                        C(VOS1905706
       San Bernardino, CA 92415-0210
      The name, address, and telephone numbe
     (E1 nombre, la direction y el aimer  r of plaintiff's attorney, or plaintiff
                                  o de tele'fono del abogado del                  without an attorney, Is:
       Jennifer A. Lenze, 1300 High                                  demandante, o del demandante
                                                   land Ave,Suite 207 Manhattan Beac                     que no Ilene aboga                             do, es):
                                                                                                         h,CA 90266 Tel:(310) 322-8800
      DATE:
    (Fecha )                   MAR 1 9.2019                           Clerk, by
    (For proof ofservice ofthis                                       (Seoretario) n                                                                               , Deputy
                                summons, use Proof of Servi                                                             u,14+1,p,he
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    (Para prueba de entrega de esta                         ce of Summons (form POS-Of                                                                             (Adjunlo)
                                    citation use         el formulatio Proof of Service of
                                              NOTICE TO THE PERSON                         Summons,(POS-010)).
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                                             2. t
                                                   I as the person sued under the fictitious name of (specify):.
                                             3, rx I on behalf of
                                                                 (speci5)V USIL, LLC
                                                   under:   I I   CCP 416.10 (corporation)
                                                                  CCP 416.20 (defunct corporation)
                                                                                                                          r
                                                                                                         I • CCP 416.60(mino
                                                                                                                              r)
                                                                  CCP 416.40(association or                  CCP 416.70(conservatee)
                                                                                            partnership) I
                                                             x other                                       a CCP 416.90 (authorized rson)
                                            4, I                        (Specify):CCP § 17061 (Limited Liability Company)
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                                                                                                                                          Coda of Civil Procedure
                                                                                                                                                                  §§ 412.20,465
                                                                                                                                                            w onv,couninfacca,goU




                                                                                                                                                                 Ex. D - 31
Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 33 of 176 Page ID #:423



                                                                                                                         SUM-200(A)
                                                                                             CASE NUMBER:
  SHORT TITLE:
   BRITTANY BILLETT,et al v. MENTOR WORLDWIDE,LLC., et al.

                                                        INSTRUCTIONS FOR USE
 -0, This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
 4. If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons:"Additional Parties
     Attachment form is attached."

  List additional parties (Check only one box. Use a separate page for each type of party.):

             Plaintiff               Defendant      Cross-Complainant          Cross-Defendant

  CORNELIA DITTO, an individual; LEAH JOHNSON,an individual;




                                                                                                                  Page          of       2
                                                                                                                                      Palo 1 01

  Form Adopted for Mandatory Use                 ADDITIONAL PARTIES ATTACHMENT
    Judicial Council of California
 SUM-200(A)(Rey. January 1, 2007)                      Attachment to Summons



                                                                                                                          Ex. D - 32
Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 34 of 176 Page ID #:424




   I   Jennifer A. Lenze,CA Bar# 246858
                                                                                FILED
       Amanda D. McGee,CA Bar#282034                                    SUPERIOR COURT OF CALIFORNIA
                                                                         COUNTY OF SAN BERNARDINO
       LENZE LAWYERS,PLC                                                  SAN BERNARDINO DISTRICT
   3   1300 Highland Avenue, Suite 207
       Manhattan Beach,CA 90266
                                                                                FEB 22 2019
   4   Tel:(310)322-8800 F:(310)322-8811
       ilenzeiD,Ienzelawvers.com                                       BY        4     1-Var
   5   mcgee lenzclawyers.com                                                   MELISSA WHITE,DEPUTY

   6   Lowell W.Pinson, CA Bar#275586
       FINSON LAW FIRM
   7   126 Westwind Mall
   8   Marina Del Rey, California 90292
       Tel:(602) 377-2903 F:(310)425-3278
   9   lowell
           (  cD,finsonlawfirm.com

  10
                         SUPERIOR COURT OF THE.STATE OF CALIFORNIA
  11
                               FOR THE COUNTY OF SAN BERNARDINO
  12

  13   BRITTANY BILLETTS, an individual; VIVIAN Case No.:
       AGUIAR,an individual; ANN DELMONICO,an                 C    W)S1 90 1r 7 ':S
  14   individual; CORNELIA DITTO, an individual;  COMPLAINT FOR DAMAGES.
       LEAH JOHNSON,an individual;
  15
                                                  (1) NEGLIGENCE/NEGLIGENCE PER SE
  16                                              (2) STRICT PRODUCTS LIABILITY-
                                                   FAILURE TO WARN
  17                                              (3) STRICT PRODUCTS LIABILITY-
       Plaintiffs,
                                                   MANUFACTURING DEFECT
  18
              v.
  19                                                        DEMAND FOR JURY TRIAL

  20   MENTOR WORLDWIDE,LLC;NUSIL,LLC;
       NUSIL TECHNOLOGY,LLC; and DOES 1-100,
  21   inclusive,
  22   Defendants.
  23

  24          Plaintiffs BRITTANY BILLETTS, an individual; VIVIAN AGUIAR, an individual; ANN

  25   DELMONICO, an individual; CORNELIA DI'ff0, an individual; LEAH JOHNSON, an individual, by

  26   and through their attorneys, based on information and belief, and for causes of action against the

  27   Defendants, MENTOR WORLDWIDE,LLC; NUSIL TECHNOLOGY,LLC; and DOES 1 through 100,
  28   inclusive,(hereinafter collectively referred to as "Defendants")and each ofthem, hereby allege as follows:


                     PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL


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   1                                              I. PARTIES

  2    1.     At all times relevant hereto, Plaintiff BRITTANY BILLETTS is and was a citizen and resident of
  3    San Bernardino County, California.
  4    2.     At all times relevant hereto, Plaintiff VIVIAN AGUTAR is and was a citizen and resident of
  5    Miami-Dade County, Florida.
  6 3.        At all times relevant hereto, Plaintiff ANN DELMONICO is and was a citizen and resident of
  7    Newport County, Rhode Island.
  8
       4.     At all times relevant hereto, Plaintiff CORNELIA DITTO is and was a citizen and resident of
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       Seminole County, Florida.
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       5.     At all times relevant hereto, Plaintiff LEAH JOHNSON is and was a citizen and resident of Lee
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       County, Mississippi.
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       6.     Defendant MENTOR WORLDWIDE, LLC ("MENTOR") is a limited liability company
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       incorporated under the laws of the State of Delaware, with its principal place of business located at 201
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       Mentor Drive, Santa Barbara, California, 93111, and with its headquarters located at 33 Technology Drive,
  15
       Irvine, California, 92618.
  16
       7.     MENTOR manufactured the Mentor MemoryGel Silicone Implants that are the subject of this
  17
       complaint.
  18
       8.     Defendant NUSIL, LLC is a limited liability company incorporated under the laws of the State of
  19
       California, with its principal place of business located at 1050 Cindy Lane, Carpinteria, California, 9301.3.
  20
       9.     Defendant NUSIL TECHNOLOGY, LLC is a limited liability company incorporated under the
  21
       laws ofthe State ofDelaware, with its principal place of business located at 1050 Cindy Lane, Carpinteria,
  22

  23   California, 93013.

  24   10.     Defendant NUSIL, LLC and NUSIL TECHNOLOGY, LLC are hereinafter collectively referred

  25   to as "NUSIL DEFENDANTS".

  26   1 1.    The NUSIL DEFENDANTS are silicone raw material suppliers that manufactured, produced,

  27   supplied, and shipped to MENTOR the silicone used in the Mentor MemoryGel Silicone Implants.

  28   // /


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   1   12.     The true names and/or capacities, whether individual, corporate, associate or otherwise of
   2   Defendants DOES 1 through 100, inclusive, are unknown to Plaintiffs at this time, who therefore sue said
   3   Defendants by such fictitious names.
   4   1 3.    Plaintiffs are informed and believe, and thereupon allege, that each of the Defendants fictitiously
   5   named herein as a DOE is legally responsible, negligently or in some other actionable manner, for the
   6   events and happenings hereinafter referred to, and thereby proximately caused the injuries and damages
   7
       to Plaintiffs as hereinafter alleged.
   8
       14.    Plaintiffs will seek leave ofcourt to amend this Complaint to insert the true names and/or capacities
   9
       of such fictitiously named Defendants when the same have been ascertained.
  10
       15.     Hereinafter, the aforementioned Defendants may collectively be referred to as "Defendants,"
  11
       16.     At all relevant times, each Defendant acted in all aspects as the agent and alter ego of each other.
  12
       17.     The combined acts and/or omissions of each Defendant resulted in indivisible injuries to Plaintiff.
  13
       Each ofthe above-named Defendants is a joint tortfeasor and/or co-conspirator and is jointly and severally
  14
       liable to Plaintiff for the negligent acts and omissions alleged herein. Each of the above-named
  15
       Defendants directed, authorized or ratified the conduct of each and every other Defendant.
  16
       1 8.    These concerted efforts resulted in significant harm to Plaintiffs. But for the actions ofDefendants
  17
       individually, jointly, and in concert with one another, Plaintiffs would not have been implanted with
  18
       Mentor's MemoryGel Silicone Gel Breast Implants and would not have suffered severe injuries.
  19
                                           II. JURISDICTION AND VENUE
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       19.     Jurisdiction is proper because the amount in controversy exceeds the jurisdictional minimum of
  21
  22   this Court.

  23   20,     Venue and jurisdiction are also proper because the contracts that form the basis ofthis action were

  24   entered into and to be performed in the County of San Bernardino, State of California, and the acts alleged

  25   caused damage to Plaintiff Brittany Billetts occurred in the County of San Bernardino.

  26   / //

  27   / //

  28   ///


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                                        III. PLAINTIFF SPECIFIC FACTS

                                           As to Plaintiff Brittany Billetts

     21.     Plaintiff BRITTANY BILLETTS was implanted with Mentor MemoryGel Silicone Gel Breast

     Implants on August 15, 2013.

     22.     Following implantation and as a direct consequence of the implantation of Mentor MemoryGel

     Silicone Gel Breast Implants, Ms. BRITTANY BILLETTS developed fatigue, muscle pain and muscle

      weakness, swelling in the joints,joint pain, sensitivity to light, skin rashes, vision issues, numbness in her

     extremities, dizziness, nausea, memory loss, shortness of breath, cognitive dysfunction, chest pain,

      migraines, silicone toxicity, night sweats, and hair loss.

     23.      On May 26,2017, plaintiffBRITTANY BILLETTS was diagnosed with rupture of her right breast

      implant.

                                             As to Plaintiff Vivian Aguiar


     24.      Plaintiff VIVIAN AGUIAR was implanted with Mentor MemoryGel Silicone Gel Breast Implants

      on September 8, 2016.

      25.     Following implantation and as a direct consequence of the implantation of Mentor MemoryGel

      Silicone Gel Breast Implants, Ms. VIVIAN AGUIAR developed a number of illnesses and symptoms

      including but not limited to, pain and swelling of the breasts, seromas, and muscle pain.

     26.      On February 15, 2018, plaintiff VIVIAN AGUIAR underwent a bilateral explantation of her

      implants wherein a gel bleed/rupture of her right breast was discovered.

     27.      Following her explantation, plaintiff VIVIAN AGUIAR's right breast implant was examined and

     found to exhibit manufacturing defects including shell material with impaired durability subject to the

      propagating fracture. These manufacturing defects were found to be ofa fundamental kind which affected

      the material properties ofthe shell and the gel.

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                                             As to Plaintiff Ann Delmonico

     28.      Plaintiff ANN DELMONICO was implanted with Mentor MemoryGel Silicone Gel Breast

     Implants on July 22, 2010.

     29.      Following implantation and as a direct consequence of the implantation of Mentor MemoryGel

     Silicone Gel Breast Implants, Ms. ANN DELMONICO developed a number of illnesses and symptoms,

     including but not limited to, pain and swelling ofthe breasts, seromas, swelling in the joints, fatigue,joint

      pain, muscle pain and muscle weakness, joint stiffness, memory loss, shortness of breath, cognitive

     dysfunction, migraines, chest pains, chronic sore throats, itching, nausea, dizziness, numbness in hei

     extremities, issues with her vision, skin rashes, sensitivity to light, silicone toxicity, night sweats, and hair

      loss.


     30.      On April 28,2017 plaintiff ANN DELMONICO underwent a bilateral explantation of her implants

      wherein a gel bleed/rupture of her right breast was discovered.

      31.     Following her explantation, plaintiff ANN DELMONICO's right breast implant was examined

      and found to exhibit manufacturing defects including partial tears of the anterior capsule. These

      manufacturing defects were found to be of a fundamental kind which affected the material properties of

      the shell and the gel.
                                              As to Plaintiff Cornelia Ditto


      32.     Plaintiff CORNELIA DITTO was implanted with Mentor MemoryGel Silicone Gel Breast

      Implants on October 9, 2007.

      33.     Following implantation and as a direct consequence of the implantation of Mentor MemoryGel

      Silicone Gel Breast Implants, Ms. CORNELIA DITTO developed a number of illnesses and symptoms,

      including but not limited to, pain and swelling of the breasts, seromas, fatigue, swelling in the joints,joint

      pain, muscle pain and muscle weakness,joint stiffness, and migraines.

      34.     On October 12, 2017 plaintiff CORNELIA DITTO underwent a bilateral explantation of her

      implants wherein a gel bleed/rupture of her left breast was discovered.



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      35.    Following her explantation, plaintiff CORNELIA DITTO's left breast implant was examined and

      found to exhibit manufacturing defects including shell material with impaired durability subject to the

      propagating fracture. These manufacturing defects were found to be of a fundamental kind which affected

      the material properties of the shell and the gel.

                                             As to Plaintiff Leah Johnson

      36.    Plaintiff LEAH JOHNSON was implanted with a Mentor MemoryGel Silicone Gel Breast Implant

      on September 2, 2010.

      37.    Following implantation and as a direct consequence of the implantation of Mentor MemoryGel

      Silicone Gel Breast Implants, Ms. LEAH JOHNSON developed a number of illnesses and symptoms,

      including but not limited to, fatigue, cognitive dysfunction, muscle pain and muscle weakness,joint pain

      and soreness, dry skin, dry eyes, easy bruising and slow healing of wounds, shortness of breath, metallic

      taste in mouth, night sweats, skin rashes, insomnia, swollen and tender lymph nodes in the breast area,

      numbness in her extremities, chest pains, fevers, chronic neck and back pain, photosensitivity, issues with

      her vision, migraines, chronic inflammation, and hair loss.

      38.     On October 20, 2017, plaintiff LEAH JOHNSON underwent a bilateral explantation of her

      implants wherein a gel bleed/rupture was discovered.

      39.    Following her explantation, plaintiff LEAH JOHNSON's implants were examined and found to

      exhibit manufacturing defects including internal rupture in the right breast implant and small capsular

      tears in the left breast implant. These manufacturing defects were found to be ofa fundamental kind which

      affected the material properties of the shell and the gel.

                                    IV.FACTS RELEVANT TO ALL COUNTS

              A.      FDA Regulation of Silicone Breast Implants



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   1   40.     In 1976, Congress passed the Medical Device Amendments("MDA")to the Federal Food, Drug
  2    and Cosmetic ("FDCA"). At the time that the MDA was enacted, certain medical devices, including
  3    breast implants2, were already being sold in the United States.
  4    41.     Under the MDA, medical devices, such as the subject breast implants, are subject to three
  5    classifications and regulated accordingly, Class I devices require the least and most general oversight. 21
  6    U.S.C. § 360c(a)(1)(A). Class II devices are reviewed according to more stringent "special controls," such
  7
       as performance standards. Id. § 360c(a)(1)(B). Finally, Class III devices receive.the most oversight and
  8
       require rigorous premarket review and approval. Id. §360c (a)(l)(C)(ii).
  9
       42.     The FDA originally classified silicone gel-filled breast implants as Class II devices, However,
  10
       because of reports of adverse events, the FDA re-classified silicone gel-filled breast implants as Class III
  11
       devices.3 Accordingly, the FDA required that manufacturers meet certain requirements to allow these
  12
       medical devices to remain on the market.
  13
       43.     Subsequently, on April 10, 1991,the FDA published a final regulation under Section 51.5(b) ofthe
  14
       FDCA requiring that manufacturers of silicone gel-filled breast implants submit pre-market approval
  15
       applications ("PMAs") with data showing a reasonable assurance of safety and effectiveness of the
  16
       implants by July 9, 1991.
  17
       44.     On August 22, 1991, the FDA determined that the PMAs submitted by the manufacturers of
  18
       silicone gel-filled breast implants, including Mentor, did not contain sufficient data.
  19
       45.     In November of 1991, the FDA convened a panel to consider whether the PMA data regarding
  20
       silicone gel-filled breast implants was sufficient to establish that they were safe and effective.
  21

  22
  23
        The term "medical device" includes any "implant[] which is [] intended to affect the structure or any
  24   function ofthe body of man, and which does not achieve its primary intended purposes through chemical
       action within or on the body of man [] and which is not dependent upon being metabolized for the
  25   achievement of its primary intended purposes." 21 U.S.C. § 321.
       2 A breast implant is a prosthesis product used to change the size, shape, and
                                                                                        contour of a woman's breast.
  26                                  a silicone elastomer shell filled with silicone gel and covered with a patch
       The silicone implants contain
       to seal the implant.  On information and  belief many implants   by Mentor  have  a label on the implant
  27
       i mprinted by  a laser.
  28   3 A more detailed explanation of the FDA's regulation of breast implants can
                                                                                         be accessed at
       https://www.fda.2ov/MedicalDevices/ProductsanciMedicalProcedures/ImolantsandProsthetics/BreastIm pl
       ants/ucm064461.htm (Regulatory History of Breast Implants in the U.S.)(Last accessed March 30, 2018).
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      46.    On January 6, 1992, the FDA called for a voluntary moratorium on the use of silicone gel-filled

      breast implants until new safety information could be thoroughly reviewed.

      47.    Additional information on silicone gel-filled implants was reviewed by the FDA panel on February

      1 8, 1992, including case reports of autoimmune diseases, and evidence that some implants had leaked

      excessively.

      48.    On April 16, 1992 the FDA announced 'that there was not sufficient data to support approval ofthe

      sale of silicone gel-filled breast implants and that it would allow implantation of silicone gel-filled breast

      implants only under controlled clinical studies for reconstruction after mastectomy or correction of

      congenital deformities (reconstruction), or replacement of ruptured silicone gel-filled implants due to

      medical or surgical reasons (revision). The FDA expressly denied applications to use silicone gel-filled

      breast implants for breast augmentation.

      49.     The FDA further ordered that any silicone gel-filled implants used for reconstruction or revision

      would be considered to be "investigational devices," and that women who received these implants should

      be followed through clinical studies.

             B.       Mentor Seeks FDA Approval of its Silicone Gel-filled Implants

      50.    In order to eventually seek pre-market approval for its MemoryGel Silicone gel-filled breast

      implants, Mentor was required to first provide the FDA with sufficient information regarding the safety

      and efficacy ofthat medical device.

      51.     As part of this process, Mentor requested that it be allowed to use the medical device for clinical

      testing pursuant to an investigational device exemption ("IDE"). See, 21 U.S.C. § 360j (g). Mentor was

      prohibited from conducting research concerning the device on human subjects without prior approval by

      the FDA. See, 21 CFR § 812.20.

      52.     Investigational devices are subject to complex and comprehensive regulations and detailed

      procedures intended to ensure that the devices are safe and effective.

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   1   53,     In connection with Mentor's IDE, the FDA approved the following studies: "Adjunct Study" fo
   2   reconstruction and revision patients only (July of 1992); "Core Study" (August of 19924); and, "IDE'
   3   study (August 2, 2000).
  4    54.     The FDA also sent a letter to Mentor and other companies seeking approval for the sale of silicon
   5   gel-filled implants and discussing the type of information needed for core studies(IDE studies)ofsilicon
   6   gel-filled breast implants on January 11, 1996.
   7           C.      Mentor Manufacturing Issues prior to FDA approval
   8   55.     During the time period prior to Mentor's FDA approval, all of Mentor's silicone gel-filled breas
  9
       implants were manufactured at a facility in Irving, Texas operated by Mentor Texas,Inc.("Mentor Texas"
  10
       a wholly owned subsidiary of Mentor.
  11
       56.     Based on whistle blower complaints and other information, an investigation was initiated by th
  12
       United States into the manufacturing process for the silicone gel-filled breast implants made at the Mento
  13
       Texas plant.
  14
       57.     As a result ofthe information gathered in that investigation, a complaint was filed on May 6, 1998
  15
       in the United State Court for the Northern District ofTexas, United States v. Mentor, et al., 3:98-cv-01 105
  16
       G seeking an injunction to prohibit Mentor and Mentor Texas fi-om manufacturing silicone gel-fille
  17
       breast implants in violation ofthe requirements of Federal law.
  18
       58.     On that same date, the parties to that case entered into a Consent Decree and Judgment o
  19
       Permanent Injunction requiring that Mentor and Mentor Texas remedy the deficiencies identified an
  20
       provide proof that their future manufacturing was being done in compliance with Federal law an
  21

  22   regulations.

  23   59.     Specifically, Mentor agreed to manufacture its breast implants in compliance with the FDA'

  24   Quality System Regulation, which is designed to ensure that medical devices are consistently high it

  25   quality and are safe and effective.

  26   ///

  27
       4 "In April 1992, the[FDA] moratorium was lifted but only for reconstruction and revision patients.
  28   Every patient implanted had to be part of an adjunct study, and had to be offered participation in a registry
       of gel-filled breast implant patients. In order to be implanted with gel-filled implants for augmentation,
       women had to be enrolled in a core clinical study." See Exhibit B, Core Gel Study, pg. 3.
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   1    60.     The evidence supporting the claims made by the United States included sworn testimony from
   2    individuals who had been senior officials at the Mentor Texas facility.
   3    61.     John C. Karjanis, who from 1996 until 1998 was manager of product evaluation at Mentor Texas,
   4    testified that basic quality standards for implant manufacturing were never met while he served in that
   5    capacity. He further testified that he was instructed by his supervisors to destroy reports detailing the high
   6    rupture rates and poor quality of implants manufactured at that facility because the products "are in the
   7    customers."
   8
        62.     He also testified that implants were sometimes contaminated with fleas and that employees at the
   9
        Mentor Texas facility would sometimes store defective implant parts above ceiling tiles so managers and
  10
        inspectors would not realize how often the plant failed to make properly manufacture the implants.
  11
        63.     Similarly, Cynthia Fain, the supervisor of the complaint unit testified that Mentor greatly
  12
        underreported rupture rates for its implants to federal authorities and suppressed a report finding that some
  13
        implant models had a high failure. Mentor also was cited for other manufacturing deficiencies prior to the
  14
        date that Plaintiffs received their implants. These include, but are not limited, to a Form 4835 issued to
  15
        Mentor on October 16, 1997 indicating that prior to February of 1997 no finished device testing was
  16
        performed on any of its gel or saline filled mammary devices and that certain post sterilization testing was
  17
        not done for an unknown time and these materials were used for gel implants.
  18
        64.     Upon information and belief, a Mentor chemist of 15 years reported to the FDA that Mentor's
  19
        implants are more likely to break than the company reported. It has also been reported that the silicone is
  20
        more likely to leak, even when the implants are intact, and that the materials used in the implants are more
  21

  22    dangerous than reported.

  23    65.     Mentor knew of these risks associated with its implants, but covered them up by terminating

  24    studies, sponsoring only self-serving research they could control, and by misrepresenting the risks to the

  25    users, physicians, and regulatory agencies.

  26
                                                             establishes that a drug, device.or cosmetic has been
  .27 'An FDA Form 483 is issued when an investigation
       adulterated or is being  prepared, packed, or held under conditions whereby it may become adulterated or
   28 r endered injurious  to health or when an investigator has observed conditions that may constitute
       violations of the FDCA or related Acts. The purpose of the Form 483 is to notify the company of the
       objectionable conditions and to allow the company to propose a plan to correct these conditions.
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   1           D.      Mentor Silicone Implant FDA approval
  2    66.    On December 12, 2003, Mentor submitted a request to the FDA for PMA for its silicone gel-filled
  3    breast implants.
  4    67.     On November 17, 2006, the FDA approved Mentor's PMA for its silicone gel-filled breast
  5    implants, subject to certain conditions. One of the conditions was that Mentor was required to conduct
  6    six post-approval studies to further characterize the safety and effectiveness of its silicone gel-filled breast
  7    implants and to answer long term questions that the clinical trials were not designed to answer.
  8
       68.     Specifically, the FDA required Mentor to:(a) Continue and complete the "Core" post-approval
  9
       study;(b) Conduct a large post-approval study to assess long-term outcomes and identify rare adverse
  10
       events and follow patients for 10 years;(c)Conduct a device-failure study in concert with their large post
  11
       approval study to further identify the modes and causes of failure of explanted devices over the 10-year
  12
       period;(d) Complete a focus-group study to evaluate how easily patients understand the information in
  13
       the informed decision brochure about the risks associated with the use of silicone breast implants; (e)
  14
       Complete an informed decision study to monitor the process of how patient labeling is distributed to
  15
       women considering silicone gel-filled breast implants; and (f) Complete the "adjunct" study and continue
  16
       to follow existing participants through their 5-year post-implant evaluations.
  17
       69.     Mentor failed to ensure that these mandated studies were preformed properly, in part by not
  18
       ensuring that the participants were followed after implantation. Accordingly, the information which the
  19
       FDA was seeking regarding adverse events and device failures was never gathered.
  20
       70.     For example, the "Core" study involved 1008 patients and Mentor was required to continue to
  21
       follow these patients for the ten years following implantation to assess the long-term clinical performance
  22

  23   of the silicone gel-filled implants. This was required to include 11 follow-up visits, at 6 months post-

  24   operation, and annually 1 year to 10 years after surgery.

  25   71.     The FDA also stated that all non-MRI patients should have an MRI at years 6, 8, and 10, and that

  26   all patients who were explanted without replacement were to be evaluated through 10 years.

  27   / //

  28   / //


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   1   72.      Mentor was further required to update the patient and physician labeling or its product to reflect
   2   the results of the 5 and 10-year Core Study findings and to report to the FDA significant new information
   3   regardless of when the information became available.
   4   73.      Although the actual follow-up rates for the "Core" study at 9 years post-implant were only 59
   5   percent, Mentor reported that the follow-up rate at 10 years post-implant was 62 percent.
   6   74.      Furthermore, the FDA requirements specifically mandated evaluation through 10 years, but the
   7   core post-approval study report schedule illustrates that reporting was only done for 6 years.
   8
       75.      There were also other significant flaws and shortcomings in the information which Mentor
   9
       provided to the FDA related to this study.
  10
       76.      The lack of a sufficient statistical sample, due to the low follow-up rate, as well as the inconsistent
  11
       data and the failure of Mentor to ensure that the study was completed violated the FDA requirements and
  12
       significantly limited the information available regarding the long term effects of use of the product.
  13
       77.      The manner in which Mentor conducted the large Post-Approval Study (the "Large" study) and
  14
       reported the information which it did gather were equally flawed.
  15
       78.      The purpose for the "Large" study was to address specific issues such as long term local
  16
       complications experienced by patients, such as connective tissue disease ("CTD"), CTD signs and
  17
       symptoms, neurological disease, neurological signs and symptoms; offspring, reproductive, and lactation
  18
       issues; cancer rates, suicide, mammography issues, rupture results, and MRI compliance.
  19
       79.      The study data was to be collected through annual patient questionnaires completed over the
  20
       internet, by mail, or by telephone.
  21
       80.      The study also required physician evaluations at years 1, 4-6, 9 and 10 to collect data on
  22

  23   complications.

  24   81.      Mentor was required to update their patient and physician labeling to reflect the 5 and 10-year

  25   study findings, as well as at any other time if necessary to report significantly new information from the

  26   study.

  27   // /

  28   / //


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   1   82.    As with the other mandated studies, the follow up rate for the "Large" study was so low that the
  2    information obtained was not sufficient to allow for the identification of problems and adverse effects
  3    from long term use ofthe product.
  4    83.    By the seventh year of this study, the overall follow-up rate was 20.1% (approximately 8,331
  5    participants out of 41,452), leaving 79.9% of the desired statistics unavailable for evaluation.
  6    84.    This was a study of significant importance required by the FDA for post market approval. The
  7    study was designed to address a critical spectrum of health issues for women with breast implants. Mentor
  8
       did not comply with the required data collection. With nearly an 80% dropout rate, the study failed to
  9
       collect data to demonstrate that use ofthe Mentor silicone gel implants was safe.
  10
       85.    The inadequate results are even more disconcerting because the data collection was designed to
  11
       examine reasons for reoperation-previously unevaluated-including MRI results, and rheumatologic of
  12
       neurological symptoms.
  13
       86.    The lack of participation and reliable results from this study show that Mentor has failed to comply
  14
       with FDA requirements.
  15
       87.    Mentor did not follow through with required data collection. The Year 1 follow-up rate of surgeon
  16
       visit for study participants was 22.8%, leaving nearly 80% unaccounted for. Similarly, the Year 1, 2, and
  17
       3 follow-up rates were 21.4%, 24.3%, and 23.0%, respectively, leaving nearly 80% unaccounted for. At
  18
       Year 7, the overall follow-up rate was 20.1%, leaving 79.9% of participants unaccounted for and did not
  19
       have follow-ups for data collection. No follow-up rates were provided for the 10-year data collection.
 20
       88.    These follow-up rates were too low for Mentor to provide meaningful safety information to the
 21

 22    FDA and insufficient to allow for the identification of adverse effects or other problems resulting from

 23    long term use of the product.

 24    89.    Mentor was also required to conduct a Device Failure Study to ascertain the reasons for, and

 25    frequency of, device failure. Specifically the FDA required that "Mentor must continue preclinical studies

 26    to characterize the long-term modes and causes of failure of explanted retrieved devices for the 10-year

 27    duration of the large postapproval study."

 28    // /


                    PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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   1   90.    The study design involved two components: 1) the collection of implant/surgery information and
   2   clinical data at the time of explantation, and 2) visual inspection and physical testing of the explanted
   3   devices. No study population was stated, and there was no patient follow-up.
   4   91.    Mentor Device Failure post-approval study failed to contain an adequate sample size to provide
   5   meaningful data.
   6   92.    Further, Mentor's Device Failure post-approval study report of summary findings failed to meet
   7   the requirements established by the FDA as it did not list results of the data findings (no clinical data and
   8
       no visual inspection data), did not list safety findings, did not list any recommendations or summary of
   9
       safety and data or follow-up on the data, and did not list any changes to labeling, all in violation of the
  10
       FDA's requirements.
  I1
       93.    Mentor was also required to conduct a Focus Group Study to gather information regarding the
  12
       adequacy of the format and content of the approved product labeling.
  13
       94.    Mentor used an inadequate number of individuals to properly evaluate how patients understood
  14
       the safety and labeling brochures.
  15
       95.     The FDA also required that Mentor conduct as Informed Decision Study to determine the success
  16
       ofthe informed decision process provided to women who seek breast implant surgery. Both the physician
  17
       and the patient were intended to sign designated sections in order to best assure that the patient had
  18
       obtained the labeling in sufficient time prior to surgery to read it and understand the risks and other
  19
       information associated with the Mentor device.
  20
       96.     Mentor failed to provide sufficient information regarding the methodology used or the results
  21

  22   obtained from this study.

  23   97.     The FDA further mandated that Mentor continue the Adjunct Study, which had been approved in

  24   1992, including the requirement that Mentor continue to follow-up on all patients currently enrolled in

  25   that study for 5 years. The data from this follow-up was to be reported as part ofthe annual reports required

  26   by the FDA.

  27   // /

  28   ///


                    PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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      98.     The Adjunct Study was designed to follow-up with patients post-operatively at years 1, 3, and 5

      to assess satisfaction and occurrence oflocal complications. The study was to gather data regarding short-

      term and local (tissue) implant complications.

      99.     The overall patient follow-up rates declined as follows: Year - 44%; Year 3 - 24.7%' and, Year 5

      - 13.8%. Mentor sought to attribute the poor follow up rates to a lack of patient compliance. Mentor also

      admitted that the lack of sufficient data significantly limited interpretation of the available safety results.

      100.    In addition to Mentor's failure to follow up on the Post Approval Studies, from the time ofthe TDE

      until today, Mentor is solely responsible for designating the cause of an implant rupture, reporting a

      rupture, linking and/or designating any injuries as related to breast implants, and reporting any related

      injuries to the FDA and health care providers as required under both California state and federal law. The

      details regarding this information remains solely in the hands of the Defendants.

      101.    On information and belief, Plaintiffs allege that if ruptures had been properly reported, Plaintiffs

      would have been notified of a rupture rate for Mentor MemoryGel Breast Implants that is significantly

      higher than reported in the product insert and disclosed to health care providers.

      102.    On information and belief, Plaintiffs allege that if the injuries of women who had been implanted

      with Mentor MemoryGel Breast Implants had been properly reported, Plaintiffs would have been notified

      of the significant risk associated with the device, such as those suffered by Plaintiffs.

              E.      Silicone Breast Implants

      103.    During the 1950s and 1960s many different materials were used for the purpose of augmenting the

      female breast which included direct injection of silicone oil, vegetable oil, bee's wax,rubber and Terylene

      wool. These all led to critical health problems in patients and were rejected as appropriate augmentation

      materials.

      104.    In 1961 the first silicone gel prosthesis was developed by American plastic surgeons Thomas

      Cronin and Frank Gerow and manufactured by the Dow Corning Corporation with the first augmentation

      mammoplasty being performed in 1962.

      105.    "Silicone" refers to a group of polymers based on the element silicon. Silicone polymers may be

      produced in a variety offorms, including oil, gels, or elastomers (rubber).


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      106.    On information and belief, the NUSIL Defendants manufactured, supplied and specially designed

     silicone raw materials for defendant MENTOR which was used in the Mentor MemoryGel Implants for

      both the elastomer shell and silicone gel, including those implanted in Plaintiffs.

      107.    They are a leading manufacturer of silicone compounds for the medical implants, healthcare,

     aerospace & defense, electronics & engineering and skin care markets for applications requiring precise,

      predictable materials performance.

      108.    On information and belief, the NUSIL Defendants produced kits containing a variety of chemicals

     to be mixed and cured by MENTOR according to instructions the NUSIL Defendants provided. The

      process of mixing and curing creates both the silicone elastomer shell and silicone gel that fills the implant.

      109.    When a kit is improperly mixed or improperly cured it impacts the cohesiveness of the shell

      elastomer (causing it to degrade) and gel (turning it liquid). This can cause an early failure (rupture),

      degradation of the shell and failure in biocompatibility ofthe shell and/or gel to the user. All silicone gels

      are cohesive, but the degree of cohesiveness has clinical importance.

      1 10.   On information and belief, the chemicals provided by the NUSIL Defendants contained other

      chemicals then what is represented and/or disclosed. The presence of these additional and/or different

      chemicals can impact the biocompatibility of the shell and/or gel to the user as well as an impact the

      mixing and curing process.

      1 11.   When an elastomer shell is not properly filled it can cause the implant to fold or crease in a

      woman's body which can also lead to degradation and ultimate rupture of the implant.



                                               V. CAUSES OF ACTION

                                            FIRST CAUSE OF ACTION

                                   NEGLIGENCE AND NEGLIGENCE PER SE

      1 12.   Plaintiffs incorporate by reference all previous and subsequent paragraphs of this Complaint as if

     fully set forth here and further alleges as follows:

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   1   113.    At all relevant times, Defendants had a duty to Plaintiffs to use reasonable care in formulating,
  2    making, creating, labeling, packaging, testing, constructing, assembling, advertising, manufacturing,
  3    selling, distributing, marketing, and promoting its MemoryGel Silicone Gel Breast Implants.
  4    1 14.   Mentor formulated, made, created, labeled, packaged, tested, constructed, assembled, advertised
  5    manufactured, sold, distributed, marketed, and promoted its MemoryGel Silicone Gel Breast Implants
  6    including the products that were implanted into Plaintiffs.
  7    1 15.   Nusil Defendants formulated, made, created, labeled, packaged, tested, constructed, assembled,
  8
       advertised, manufactured, sold, distributed, marketed, and promoted its silicone elastomer and gel kits for
  9
       use in the MemoryGel Silicone Gel Breast Implants, including the products that were implanted into
  10
       Plaintiffs.
  11
               A.      Negligent Failure to Warn
  12
       1 16.   Defendants had a duty under California law to exercise reasonable care to provide adequate
  13
       warning about the risks and dangers of Mentor MemoryGel Silicone Gel Breast Implants that were known
  14
       or knowable to Defendants at the time of distribution.
  15
       1 17.   Defendants were negligent by not using reasonable care to warn about the dangers of which it was
  16
       aware related to its silicone gel-filled breast implants, including the MemoryGel implants placed in
  17
       Plaintiffs or facts that this product was likely to become dangerous after being implanted into their bodies.
  18
       1 18.   Mentor knew or reasonably should have known that the its silicone gel-filled breast implants,
  19
       including the MemoryGel implants placed in Plaintiffs, were dangerous or were likely to be dangerous
 20
       when used or misused in a reasonably foreseeable manner.
 21
       1 19.   The Nusil Defendants knew or reasonably should have known that its kits were dangerous or were
 22
 23    likely to be dangerous when used or misused in a reasonably foreseeable manner.

 24    120.    Defendants breached their duty under federal law, and the parallel state duty, in that they failed to

 25    warn the FDA,Plaintiffs and their physicians by not reporting the risk of serious defects and life-altering

 26    complications described herein that Defendants knew or should have known were associated with

 27    Mentor's MemoryGel Silicone Gel Breast Implants prior to the time ofPlaintiffs implantations, including

 28


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   1    the actual level of risk and failure to communicate adverse events similar to the injuries suffered by
   2 Plaintiffs,
   3    121.    Specifically, Mentor had a duty to report unanticipated adverse device effects (with evaluation) to
   4   the FDA,all IRBs, and investigators within 10 working days after notification by the investigator. 21 CFR
   5    812.150(b). This duty is parallel to the state law duty to exercise reasonable care to provide adequate
   6    warning about the risks and dangers associated with their product.
   7    122.    Under both federal and state law, Mentor also had a continuing duty to monitor and report adverse
   8    events and risks associated with the use of its products.
   9
        1 23.   The FDCA requires medical device manufacturers like Defendants to maintain and submit
  10
        information as required by FDA regulation, 21 U.S.C. § 360i, including submitting Adverse Reaction
  11
       Reports, 21 C.F.R. § 803.50, and establishing internal procedures for reviewing complaints and event
  12
       reports, 21 C.F.R. § 820.198(a).      Specifically, 21 C.F.R. § 803.50 requires a manufacturer to report
  13
        information no later than 30 days after it is received, from any source, if that information suggests that the
  14
       device may have contributed to a serious injury or has malfunctioned and the malfunction would be likely
  15
       to contribute to a serious injury if it were to recur.
  16
        124.    The FDA publishes this information in a public, searchable Internet database called MAUDE
  17
       (Manufacturer and User Facility Device Experience) and updates the report monthly with "all reports
  18
       received prior to the update." The general public, including physicians and patients, may use the MAUDE
  19
        database to obtain safety data on medical devices.
  20
        125.    This duty is parallel to the post-sale duty to warn under California law and applies as Mentor
  21

  22   gained knowledge, which it was under a duty to communicate to the FDA and physicians.

  23    126.    Under both federal and state law, Mentor had a duty to exercise reasonable care in adequately

  24   warning Plaintiffs and Plaintiffs' treating physicians about the dangers of Mentor MemoiyGel silicone

  25    breast implants that were known or knowable to Defendants at the time of distribution or which became

  26   known thereafter.

  27 / / /

  28   ///


                     PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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      127.    Despite having knowledge and possession of information that showed the use of Mentor

      MemoryGel silicone breast implants were dangerous and likely to place consumers' health at serious risk,

      Mentor failed to disclose and warn ofthe health hazards and risks associated with the product.

      128.    Instead, Mentor marketed, advertised, and promoted the product while failing to monitor, warn, or

      otherwise ensure the safety and efficacy of its users in violation of California law and applicable FDA

      regulations and requirements.

      129.    Mentor failed to report adverse events from the studies it was required to conduct, which would

      have led to adverse event reports revealing the product's contribution to serious injury.

      1 30.   Had Mentor complied with its obligation to report this newly acquired information, true

      information about: instances ofsilicone toxicity; instances of adverse events; instances of adverse events

      requiring removal; instances of constellations of adverse symptoms; instances of chronic/persistent

      autoimmune-like complaints and inflammatory issues; rupture rates; and other relevant information would

      have been provided to the FDA and would have been available to Plaintiffs treating physicians, who would

      have communicated that information to Plaintiffs.

      1 31.   Mentor was, at all times, responsible for maintaining the labeling ofthe product, and had the ability

      under federal law, and the duty under state and federal law, to directly warn healthcare providers and

      consumers by updating the labeling of Mentor MemoryGel silicone breast implants to reflect newly

      acquired safety information without advance approval by the FDA.

      1 32.   With pre-market approval for is MemoryGel Silicone Gel-Filled Implants, Mentor had a

      responsibility to file a "Special PMA Supplement — Changes Being Effected"("CBE") by which Mentor

      could unilaterally update the product labeling to reflect newly acquired safety information without

      advance approval by the FDA. 21 CFR § 814.39(d). These changes include:

              a.     labeling changes that add or strengthen a contraindication, warning, precaution, or

      information about an adverse reaction for which there is reasonable evidence of a causal association;

              b.     labeling changes that add or strengthen an instruction that is intended to enhance the safe

      use of the device;

      // /


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   1           c.     labeling changes that ensure it is not misleading, false, or contains unsupported indications;
   2   and
   3           d.     changes in quality controls or manufacturing process that add a new specification or test
  4    method, or otherwise provide additional assurance of purity, identity, strength, or reliability ofthe device.
   5   1 33.   Mentor breached their duties under federal law and state law, including California law, to maintain
  6    labeling that:(a) added instructions for use that would enhance the safe use of the device; and (b) added
   7   descriptions of adverse events to ensure that the labeling was not false or misleading.
   8
       1 34.   Mentor had the ability and the duty under state law to disclose its knowledge of adverse events to
   9
       healthcare providers and the public to ensure its labeling and product were not misbranded. Health & Saf.
  10
       Code, §§ 111440 ("it is unlawful for any person to manufacture, sell, deliver, hold, or offer for sale any
  11
       drug or device that is misbranded"), 111445 ("it is unlawful for any person to misbrand any drug or
  12
       device.").
  13
       135.    Under parallel federal law, Defendants had the ability to disclose its knowledge of adverse events
  14
       to healthcare providers and the public to ensure its labeling and product were not misbranded. 21 U.S.C.
  15
       § 331 ("the following acts and the causing thereof are prohibited:(a)the introduction...of any device that
  16
       is ...misbranded,(b)the ...misbranding of any ...device...).
  17
       1 36.   Had Defendants timely and adequately reported the adverse events to the FDA, it would have
  18
       effectively warned physicians ofthose adverse events both directly and through discussion ofthose events
  19
       that would have followed in the literature and at meetings. Thus, additional information would have been
 20
       available to the public, including Plaintiffs treating physicians, regarding the dangers of Mentor
 21

 22    MemoryGel Silicone Gel Breast Implants that were known or knowable to Defendants at the time of

 23    distribution and afterwards.

 24    137.    If Plaintiffs had been adequately warned of the serious risks and adverse events by Defendant

 25    Mentor, they would not have agreed to implantation of Mentor MemoryGel Silicone Gel Breast Implants.

 26    1 38.   Defendants were negligent in their record keeping and did not disclose manufacturing flaws that

 27    increased the risk of injury to patients receiving the implant in violation of its duty to establish and

 28    maintain procedures for implementing corrective and preventative action.


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      139.   Defendants also failed to provide proper warnings concerning defects in the device, including the

      use of improper and non-conforming component parts and materials, in violation of California law and its

      duty under 21 CFR § 812.5(a)to describe "all relevant contradictions, hazards, adverse effects, interfering

      substances or devices, warnings and precautions."

      140.   As a proximate and legal result of Mentor's failure to comply with its obligations under applicable

      Federal regulations, Mentor breached its duty of care and caused Plaintiffs to suffer severe physical

      injuries, severe emotional distress, mental anguish, economic loss, and other injuries for which they are

      entitled to compensatory and other damages in an amount to be proven at trial.

             B.      Negligent Manufacturing

      141.   Mentor had a duty under Federal law, and a parallel duty under California law, to exercise

      reasonable care in developing, manufacturing, testing, inspecting and selling their product to ensure that

      it was safe and further that it was made in conformity with the manufacturing and design specifications

      mandated by the FDA as part of Mentor's PMA.

      142.   Mentor was negligent under California law, in the development, manufacture, testing, inspection

      and sale of their MemoryGel Silicone Gel Breast Implants by: (a) manufacturing MemoryGel Silicone

      Gel Breast Implants that differed from the specifications agreed to by the FDA; manufacturing

      MemoryGel Silicone Gel Breast Implants using materials and components which differed from those

      approved by the FDA; failing to follow good manufacturing practices during the manufacture of their

      MemoryGel Silicone Gel Breast Implants; failing to properly meet the applicable standard of care by not

      complying with applicable federal regulations and failing to adhere to the manufacturing protocols

      approved by the FDA; carelessly and negligently selling and distributing its MemoryGel Silicone Gel

      Breast Implants in violation of the terms ofthe IDE and applicable federal law; negligently incorporating

      components and/or materials into its MemoiyGel Silicone Gel Breast Implants that could not stand up to

      normal usage and/or which differed from those which were commercially reasonable and/or failing to use

      the components and/or materials approved by the FDA; failing to exercise reasonable care in inspecting

      and testing of the product; and, failing to exercise reasonable care in its manufacturing, quality control

      and quality assurance processes.


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  1    143.     Mentor had a duty under California law to exercise ordinary care in the manufacture of its
  2    MemoryGel Silicone Gel Breast Implants consistent with FDA specifications, the Mentor MemoryGel
  3    Silicone Gel Breast Implants IDE, and/or conditions of approval.
  4    144.     At all relevant times, Mentor was required to comply with the FDA's Quality System Regulations,
  5    the requirements under the PMA.
  6    145.     Mentor's MemoryGel Silicone Gel Breast Implants contained a manufacturing defect when it left
  7
       Mentor's possession, in that Mentor's manufacturing process did not conform to FDA's Quality System
  8
       Regulations and design control requirements under 21 CFR 820.30.
  9
       146,     Upon information and belief, prior to the date that the subject implants were manufactured Mentor
 10
       has received several Form 483 notifications and otherwise was aware that its manufacturing process was
 11
       deficient and that the implants being produced did not comply with applicable Federal requirements.
 12
       147.     Mentor failed to exercise ordinary care in the manufacture, sale, testing, quality assurance, quality
 13
       control, and/or distribution of its MemoryGel Silicone Gel Breast Implants.
 14
       1 48.    Mentor failed to adequately inspect, test, and validate the materials and components used in the
  15
       manufacture and assembly of its MemoryGel Silicone Gel Breast Implants.
  16
       149.     Mentor failed to adequately inspect, test, and validate its MemoryGel Silicone Gel Breast Implants
  17
       after completion of assembly.
  18
       1 50.    Mentor failed to comply with the requirements imposed by the FDA and other applicable Federal
  19
       requirements for the manufacture of its MemoryGel Silicone.Gel Breast Implants.
 20
       1 51,    Because Mentor failed to follow specifications, regulations, and required by the FDA, Plaintiffs'
 21
       MemoryGel Silicone Gel Breast Implants were defective and were further vulnerable to degradation,
 22

 23    deterioration, rupture and leakage.

 24    152.     Upon information and belief, when the MemoryGel Silicone Gel Breast Implants placed into

 25    Plaintiffs were manufactured, Mentor had the technological capability to manufacture its MemoryGel

  26   Silicone Gel Breast Implants in a reasonably safe manner.

  27    1 53.   Mentor was negligent in its record keeping and did not disclose manufacturing flaws that increased

  28   the risk of injury to patients receiving the implant in violation of its duty to establish and maintain


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       procedures for implementing corrective and preventative action. This violated both California law and
  2    the requirements under 21 CFR § 800.100(a)(6)(7).
  3    1 54.    Mentor also failed to provide proper warnings concerning defects in the device, including the use
  4    of improper and non-conforming component parts and materials, in violation of California law and its
  5    duty under 21 CFR § 812.5(a)to describe "all relevant contradictions, hazards, adverse effects, interfering
  6    substances or devices, warnings and precautions."
  7    1 55.    Upon information and belief, Plaintiffs were implanted with Mentor MemoryGel Silicone Gel
  8
       Breast Implants with manufacturing defects, manufactured with nonconforming materials and uncertified
  9
       components, in violation ofthe FDA requirements, resulting in product failure and serious injury to them.
  10
       156.      The injuries Plaintiffs suffered are expected to result from the manufacturing defects identified
  11
       therein. Plaintiffs and their treating physicians were unaware that the product was defective at the time of
  12
       implant and for years thereafter.
  13
       1 57.     Plaintiffs are within the class of persons the statutes and regulations referred to herein were
  14
       designed to protect, and Plaintiffs injuries are of the type of harm these statutes and regulations are
  15
       designed to prevent.
  16
       158.      Mentor's violations ofthese statutes and regulations proximately caused Plaintiffs injuries alleged
  17
       herein.
  18
       159.      As a proximate and legal result of Mentor's failure to exercise reasonable care and the resulting
  19
       defective condition of its MemoryGel Silicone Gel Breast Implants implanted into Plaintiffs, they suffered
  20
       injuries and will continue to suffer injuries in the future including severe physical injuries, severe
  21
       emotional distress, mental anguish, economic loss, future follow-up medical care, medical treatment, and
  22

  23    procedures, and other injuries for which she is entitled to compensatory and other damages in an amount

  24   to be proven at trial.

  25    1 60.    WHEREFORE,Plaintiff prays for judgment against Defendants as hereinafter set forth.

  26
       ///
  27

  28   / //


                       PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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   1                                       SECOND CAUSE OF ACTION

  2                          STRICT PRODUCTS LIABILITY — FAILURE TO WARN
  3    161.     Plaintiffs incorporate by reference all previous and subsequent paragraphs of this Complaint as if
  4    fully set forth herein and further allege as follows:
  5    162.     At all times relevant herein, Mentor was engaged in the business of designing, developing,
  6    manufacturing, testing, packaging, promoting, marketing, distributing, labeling, and/or selling Mentor
  7
       MemoryGel Silicone Gel Breast Implants.
  8
       163.     At all times relevant herein, Mentor intended for the MemoryGel Silicone Gel Breast Implants to
  9
       be surgically implanted into the bodies of members of the general public, including Plaintiffs, and knew
  10
       or should have known that the product would be surgically implanted into members of the general
  11
       public, including Plaintiffs.
  12
       164.     Defendants failed to warn Plaintiffs and their physicians of the risk of serious defects and life
  13
       altering complications described herein rendering the device defective and unreasonably dangerous.
  14
       165.     Mentor also failed to revise the product labeling or otherwise communicate the true rate of
  15
       occurrence of adverse events to the FDA, the IRB or to physicians based upon the adverse event
  16
       information available to it through, among other things, the studies which it was required to conduct and
  17
       the reports of adverse events and effects which it received.
  18
        1 66.   Plaintiffs' Mentor MemoryGel Silicone Gel Breast Implants were defective at the time ofsale and
  19
       distribution and at the time they left the possession of Mentor in that Mentor failed to adequately warn of
  20
       the risks that the product was vulnerable to degradation, deterioration, ruptures, and leakage, and other
  21
        injuries associated with Mentor MemoryGel Silicone Gel Breast Implants.
  22

  23    167.    The MemoryGel Silicone Gel Breast Implants were defective and unreasonably dangerous when,

  24   they left the possession of Mentor in that they contained warnings insufficient to alert physicians and

  25    consumers, including Plaintiffs, ofthe dangerous risks and complications associated with the MemoryGel

  26    Silicone Gel BreastImplants, including but not limited to, their propensity to cause injury, through leakage

  27    ofthe silicone gel into the tissues ofthe user's body, thereby introducing toxic metals and chemicals into

  28


                      PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     those tissues, resulting in serious, dangerous and harmful side effects and complications all to the

     detriment of the health and well-being of the users of their product.

      168.    Defendants knew, or should have known, the gel contained in the implants contained metals

     and toxic chemicals in such quantities that would be extremely harmful to users of their product if the gel

     were allowed to escape its shell and "bleed" into the user's body.

      169.    Mentor also knew, or should have known, that there was a significant risk of rupture or seepage of

     the gel through the shell and into the tissues of the user's body.

      170.    Mentor failed to adequately warn physicians and patients implanted with the product, including

     Plaintiffs, of these potential serious and harmful risks.

      171.    Mentor failed to provide follow-through post-approval studies required by the FDA's necessary in

     order to market and sell the product, and thus failed to report to, and warn, the FDA and the IRB of the

     risks described above.

      1 72.   The accurate rate of occurrence for these and other injuries associated with Mentor MemoryGel

      Silicone Gel Breast Implants were not readily recognizable to the ordinary consumer, including Plaintiffs

      and Plaintiffs' treating physicians, as a result of Mentor's conduct.

      173.    Mentor MemoryGel Silicone Gel Breast Implants were defective and unreasonably dangerous due

      to inadequate warnings and/or instruction because Mentor knew or should have known that the products

      created a serious risk of degradation, deterioration, ruptures, and leakage, and other injuries that could,

      and did, harm consumers, including Plaintiffs, and Mentor failed to adequately warn consumers of said

      risks - including Plaintiffs and Plaintiffs' treating physicians - in accordance with Federal requirements

      and California law.

      174.    Mentor's MemoiyGel Silicone Gel Breast Implants were defective and unreasonably dangerous

      due to inadequate warnings and instructions because Mentor knew or should have known that Mentor

      MemoryGel Silicone Gel Breast Implants created, among other things, a higher than expected risk for

      adverse events, and Mentor failed to adequately warn of those risks, to monitor those risks, report them,

      test for them, and update its labeling and the information provided to the FDA and IRB regarding such

      risks when the information became available.


                    PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                 25

                                                                                                    Ex. D - 57
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  1    175.     Mentor failed to keep required records and did not disclose manufacturing flaws that increased the
  2    risk of injury to patients receiving the implant in violation of its duty to establish and maintain procedures
  3    for implementing corrective and preventative action.          This violated both California law and the
  4    requirements under 21 CFR § 800.100(a)(6)(7).
  5    1 76.    Mentor also failed to provide proper warnings concerning defects in the device, including the use
  6    of improper and non-conforming component parts and materials, in violation of California law and its
  7    duty under 21 CFR § 812.5(a)to describe "all relevant contradictions, hazards, adverse effects, interfering
  8
       substances or devices, warnings and precautions."
  9
       1 77.    At all relevant times, Plaintiffs Mentor MemoryGel Silicone Gel Breast Implants were used and
  10
       implanted into them as intended by Mentor and in a manner reasonably foreseeable to Mentor.
  11
       1 78.    Mentor's MemoryGel Silicone Gel Breast were expected to, and did, reach Plaintiffs and
  12
       Plaintiffs' implanting physician without substantial change in the condition in which they were sold.
  13
       179.     Despite the fact that Defendants knew, or should have known, that the use of Mentor MemoryGel
  14
       Silicone Gel Breast Implants were unreasonably dangerous and likely to place users at serious risks to
  15
       their health, Defendants failed to monitor and warn of the defects, health hazards, and risks associated
  16
       with Mentor MemoryGel Silicone Gel Breast Implants.
  17
       180.     Plaintiffs Mentor MemoryGel Silicone Gel Breast Implants were also defective at the time of sale
  18
       and distribution, and at the time the devices left the possession of Mentor, in that the devices differed from
  19
       Mentor's intended result and design specifications as approved by the FDA.
  20
       181.     Upon information and belief, Plaintiffs were implanted with Mentor MemoryGel Silicone Gel
  21
       Breast Implants with manufacturing defects, manufactured with nonconforming materials and uncertified
  22

  23   components, in violation of the specifications and requirements approved and mandated by the FDA,

  24   resulting in product failure and serious injury to Plaintiffs.

  25    1 82.   The injuries Plaintiffs suffered are expected to result from the manufacturing defects identified

  26   therein and by the FDA. Plaintiffs and their treating physicians were unaware that the product was,

  27    defective at the time of implant and for years thereafter.

  28   ///


                      PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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                                                                                                         Ex. D - 58
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  1    183.    Mentor violated Federal regulations and California law, by placing the Mentor MemoryGel
  2    Silicone Gel Breast Implants into the stream of commerce in a defective and unreasonably dangerous

       condition.
  4    1 84.   Mentor was, at all times, responsible for maintaining the labeling ofthe product, and had the ability
  5    under federal law, and the duty under state and federal law, to directly warn healthcare providers and
  6    consumers by updating the labeling of Mentor MemoryGel silicone breast implants to reflect newly
  7    acquired safety information without advance approval by the FDA.
  8
       1 85.   During the IDE process, Mentor was under a duty to advise the FDA,IRB and study investigators
  9
       of all significant new information, including the duty to monitor, evaluate and report all unanticipated
  10
       adverse device effects and to terminate the investigation, or portions of it, if that effect presents an
 II
       unreasonable risk to subjects. See, 21 CFR 812.46.
 12
       186.    Mentor was specifically required to report all unanticipated adverse device effects (with
 13
       evaluation) to FDA, all IRBs, and investigators within 10 working days after notification by the
  14
       investigator. See, 21 CFR 812.150(b).
  15
       187.    California imposes a parallel duty to warn and advise product users.
  16
       1 88.   Once Mentor applied for pre-market approval for is MemoryGel Silicone Gel-Filled Implants, it
  17
       had additional duties and responsibilities. This included the responsibility to file a "Special PMA
  18
       Supplement — Changes Being Effected"("CBE") by which Mentor could unilaterally update the product
  19
       labeling to reflect newly acquired safety information without advance approval by the FDA. 21 CFR §
 20
       814.39(d). These changes include:
 21
               a.      labeling changes that add or strengthen a contraindication, warning, precaution, or
 22

 23    information about an adverse reaction for which there is reasonable evidence of a causal association;

 24            b.      labeling changes that add or strengthen an instruction that is intended to enhance the safe

 25    use ofthe device;

 26            c.      labeling changes that ensure it is not misleading,false, or contains unsupported indications;

 27    and

 28    ///


                     PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                  27

                                                                                                        Ex. D - 59
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  1             d.     changes in quality controls or manufacturing process that add a new specification or test
  2    method, or otherwise provide additional assurance of purity, identity, strength, or reliability ofthe device.
  3    1 89.    Mentor breached their duties under federal law and state law, including California law,to maintain
  4    labeling that: (a) added instructions for use that would enhance the safe use of the device; and (b) added
  5    descriptions of adverse events to ensure that the labeling was not false or misleading.
  6    190.     The FDCA requires medical device manufacturers like Defendants to maintain and submit
  7    information as required by FDA regulation, 21 U.S.C. § 360i, including submitting Adverse Reaction
  8
       Reports, 21 CFR § 803.50, and establishing internal procedures for reviewing complaints and event
  9
       reports, 21 CFR § 820.198(a).
  10
       191.     Specifically, 21 CFR § 803.50 requires a manufacturer to report information no later than 30 days
  11
       after it is received, from any source, if that information suggests that the device may have contributed to
  12
       a serious injury, or has malfunctioned and the malfunction would be likely to contribute to a serious injury
  13
       if it were to recur.
  14
        1 92.   The FDA publishes this information in a public, searchable Internet database called MAUDE
  15
       (Manufacturer and User Facility Device Experience) and updates the report monthly with "all reports
  16
        received prior to the update." The general public, including physicians and patients, may use the MAUDE
  17
        database to obtain safety data on medical devices.
  18
        1 93,   Despite the fact that evidence existed that Mentor MemoryGel Silicone Gel Breast Implants were
  19
        dangerous and likely to place users at serious risk to their health, Defendants failed to disclose and warn
  20
        ofthe health hazards and risks associated with Mentor MemoryGel Silicone Gel Breast Implants.
  21
        1 94.   Mentor MemoryGel Silicone Gel Breast Implants had a manufacturing defect when they left
  22

  23    Mentor's possession in that Mentor's manufacturing process did not comply with the FDA's Quality

  24    System Regulations, the requirements under the IDE and design control requirements under 21 CFR

  25    820,30.

  26    195.    The defects inherent in Mentor MemoryGel Silicone Gel Breast Implants were not readily

  27    recognizable to the ordinary consumer, including Plaintiff and/or Plaintiffs implanting physician.

  28    / //


                      PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                   28
                                                                                                       Ex. D - 60
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      196.    Plaintiffs could not, in the exercise of reasonable care, have discovered the defects herein

      mentioned and perceived their true danger.

      1 97.   Plaintiffs and/or Plaintiffs' implanting physician reasonably relied upon the skill, superior

      knowledge, and judgment of Mentor, including Defendant Mentor, when they consented to the

      implantation procedure using Mentor MemoryGel Silicone Gel Breast Implants.

      1 98.   At all relevant times, Plaintiffs' Mentor MemoryGel Silicone Gel Breast Implants were used and

      implanted as intended by Mentor and in a manner reasonably foreseeable to Mentor.

      199.    Had Plaintiffs and/or Plaintiffs' physician received adequate warnings regarding the risks the risks

      of Mentor MemoryGel Silicone Gel Breast Implants, they would not have used them.

      200.    Had Mentor complied with its continuing duty to report adverse events and effects, to properly

      and truthfully report the findings from the studies it was required to conduct and to otherwise provide full,

      complete and accurate information to the FDA and the IRB, that information would have been available

      to Plaintiffs' treating physicians and they would have been better able to recognize at an earlier date that

      the symptoms and complications which Plaintiffs was experiencing were related to their Mentor

      MemoryGel Silicone Breast Implants. Had that occurred, Plaintiffs would have been able to undergo the

      explantation surgery at an earlier date and would have been less severely damaged and injured.

      201.    Mentor's MemoiyGel Silicone Gel Breast Implants were expected to, and did, reach Plaintiffs and

      Plaintiffs' implanting physician without substantial change in the condition in which they were sold.

      202.    Mentor knew that its MemoryGel Silicone Gel Breast Implants would be used by the ordinary

      purchaser or user without inspection for defects and without knowledge of the hazards involved in such

      use.

      203.    At all times relevant to this action, the dangerous propensities ofMentor MemoryGel Silicone Gel

      Breast Implants were known to Mentor or were reasonably and scientifically knowable to them, through

      appropriate research and testing by known methods, at the time they distributed, supplied, or sold the

      device, and not known to ordinary physicians who would be expected to implant Mentor MemoryGel

      Silicone Gel Breast Implants for their patients.

      ///


                    PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                 29

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     204.    Mentor was required to provide adequate warnings to consumers and the medical community

     under federal and California law, but failed to do so in a timely, truthful, accurate and responsible manner.

     205.    Had Mentor timely and adequately reported adverse events to the FDA and IRB,there would have

     been effective warnings to physicians, including Plaintiffs' treating physicians, of those adverse events

      both directly and through discussion of those events that would have followed in the literature and at

      meetings. Thus, additional information would have been available to the public, including Plaintiffs

      and/or Plaintiffs' treating physicians, regarding the dangers of Mentor MemoryGel Silicone Gel Breast

     Implants that were known or knowable to Mentor at the time of distribution.

     206.     Had Mentor complied with its continuing duty to report adverse events and effects, to properly

      and truthfully report the findings from the studies it was required to conduct and to otherwise provide full,

      complete and accurate information to the FDA and the IRB, that information would have been available

      to Plaintiffs' treating physicians and they would have been better able to recognize at an earlier date that

      the symptoms and complications which Plaintiffs were experiencing were related to her Mentor

      MemoryGel Silicone Breast Implants. Had that occurred, Plaintiffs would have been able to undergo the

      explantation surgery at an earlier date and would have been less severely damaged and injured.

      207.    Because Mentor failed to follow specifications, regulations, and required the FDA and applicable)

      Federal regulations and requirements, the Mentor MemoryGel Silicone Gel Breast Implants implanted in

      Plaintiffs were vulnerable to degradation, deterioration, ruptures, and leakage.

      208.    Mentor's MemoryGel Silicone Gel Breast Implants were manufactured, distributed, tested, sold,

      marketed, promoted, advertised, and represented defectively by Defendants, and this was a substantial

      contributing factor in bringing about Plaintiffs' injuries, which would not have occurred but for the use of

      Mentor MemoiyGel Silicone Gel Breast Implants.

      209.    The defective warnings and failures to provide truthful, accurate and complete information as

      required under the IDE and other applicable Federal regulations and requirements were a substantial

      contributing factor in bringing about the injuries to Plaintiffs that would not have occurred but for the use

      of Mentor MemoryGel Silicone Gel Breast Implants.

      ///


                    PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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  1    210.   As a proximate result and/or substantial factor of Mentor MemoryGel Silicone Gel Breast Implants

  2    defective condition at the time they were sold, Plaintiffs have suffered and will continue to suffer severe

       physical injuries, severe emotional distress, mental anguish, economic loss, future medical care and
  4    treatment, and other injuries for which she is entitled to compensatory and other damages in an amount to
  5    be proven at trial.
  6    211.    WHEREFORE,Plaintiffs prays for judgment against Defendants as set forth herein.
  7

   8                                         THIRD CAUSE OF ACTION
  9
                         STRICT PRODUCTS LIABILITY — MANUFACTURING DEFECT
  10
       212.    Plaintiffs incorporate by reference all previous and subsequent paragraphs ofthis Complaint as if
  11
       fully set forth here and further alleges as follows:
  12
       213.    At all times relevant herein, Mentor was engaged in the business of designing, developing,
  13
       manufacturing, testing, packaging, promoting, marketing, distributing, labeling, and/or selling Mentor
  14
       MemoryGel Silicone Gel Breast Implants.
  15
       214.    At all times relevant herein, Mentor intended for the MemoryGel Silicone Gel Breast Implants to
  16
       be surgically implanted into the bodies of members of the general public, including Plaintiffs, and knew
  17
       or should have known that the product would be surgically implanted into members of the general
  18
       public..
  19
       215.    Mentor manufactured, tested, marketed, promoted, advertised, distributed, and sold the Mentor
  20
       MemoryGel Silicone Gel Breast Implants that were implanted into Plaintiffs.
  21
       216.    At all times relevant, Mentor placed Mentor MemoryGel Silicone Gel Breast Implants into the
  22

  23   stream ofcommerce and did so in a manner in which the Mentor MemoryGel Silicone Gel Breast Implants

  24   were defective in their manufacturing process did not comply with the FDA's Quality System Regulations

  25   and design control requirements under 21 CFR 820.30.

  26   217.       Mentor violated Federal regulations and requirements and California law by placing the Mentor
                                                                                          and unreasonably
  27    MemoryGel Silicone Gel Breast Implants into the stream of commerce in a defective

  28    dangerous condition.


                       PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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  1     218.    Mentor failed to keep required records and did not disclose manufacturing flaws that increased the
  2     risk of injury to patients receiving the implant in violation of its duty to establish and maintain procedures
  3     for implementing corrective and preventative action.          This violated both California law and the
  4     requirements the IDE approval process under 21 CFR § 800,100(a)(6)(7).
  5     219.    Mentor also failed to provide proper warnings concerning defects in the device, including the use
  6     of improper and non-conforming component parts and materials, in violation of California law and its
  7     duty to describe all relevant contradictions, hazards, adverse effects, interfering substances or devices
  8
        warnings and precautions.
  9
        220.    Mentor's MemoryGel Silicone Gel Breast Implants implanted during Plaintiffs' surgery contained
  10
        a manufacturing defect. The rupture,leakage, and bleeding of silicone ofthe Mentor MemoryGel Silicone
  11
        Gel Breast Implants implanted into Plaintiffs, due to porous or weak containment in the Implant shell, is
  12
        inconsistent with specifications and conditions of the FDA's Quality System Regulations and design
  13
        control requirements under 21 CFR 820.30, and therefore constitutes a manufacturing defect.
  14
        221.    Mentor knew that the defects in its product were such that they would not be discovered through
  15
        reasonable inspection by the users ofthe product, including Plaintiffs and Plaintiffs' implanting physician
  16
        222.     Mentor knew that its MemoryGel Silicone Gel Breast Implants would be used by the ordinary
  17
        purchaser or user without inspection for defects and without knowledge of the hazards involved in such
  18
        use.
  19
        223.    Plaintiffs and her implanting physicians,foreseeable users and ultimate consumers ofthe Mentor's
  20
        product, were unaware of these defects when Plaintiffs consented to have the product implanted in their
  21
        bodies.
  22
        224. As a direct and legal result of the manufacturing defects contained in Plaintiffs' MemoryGel
  23
        Silicone Gel Breast Implants, Plaintiffs were injured in their health and well-being as described herein.
  24

  25    225.    As a proximate result and/or substantial factor of Mentor MemoiyGel Silicone Gel Breast Implants

  26    defective condition at the time they were sold, Plaintiffs suffered and will continue to suffer severe
  27.   physical injuries, severe emotional distress, mental anguish, economic loss, future
  28


                      PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                   32

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   1    medical care and treatment, and other injuries for which she is entitled to compensatory and other damages
  2     in an amount to be proven at trial.
  3     226.   WHEREFORE,Plaintiffs prays for judgment against Defendants as hereinafter set forth.
  4

  5                                              RELIEF REQUESTED
  6     227.    WHEREFORE Plaintiffs pray for judgment against Defendants and, as appropriate to each cause
  7     of action alleged and as appropriate to the standing of Plaintiffs, as follows:
  8
               (A)     Economic and non-economic damages in an amount as provided by law and to be
  9
        supported by evidence at trial;
  10
               (B)     For compensatory damages according to proof;
  11
               (C)      For prejudgment interest and the costs of suit; and
  12
               (D)      For such other and further relief as this Court may deem just and proper.
  13
  14
        Dated: February 22, 2019                               LENZE LAWYERS,PLC.
  15

  16

  17
  18                                                   By:
                                                               JENNIFER A. LENZE
  19.                                                          Attorney for Plaintiffs .
  20

  21
  22

  23

  24

  25

  26

  27

  28


                      PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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                                     DEMAND FOR JURY TRIAL

           Plaintiffs hereby demand individual trials by jury as to all claims so triable in this action.



     Dated: February 22,2019                              LENZE LAWYERS,PLC.




                                                   By:
                                                           JENNIFER A. LENZE
                                                           Attorney for Plaintiffs




                  PLAINTIFFS' COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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                                                                                                                                                               C -O
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Slate Bar nurnl.v(, and addtss):                                                    FOR COURT USE ONLY
  — Jennifer A, Lenze(CA # 246858) Lowell W. Pinson(CA Bar# 275586)
    LENZE LAWYERS,PLC rFINSON LAW FIRM,LLC
     1300 Highland Ave, Suite 207                                             •
    Manhattan Beach, CA 90266                                                                                                F ILED
                                                                                                                SUPERIOR COURT OF CALIFORNIA
                      (310) 322-8800
          TELEPHONE NO.:                        FAX NO.. (310) 322-8811
   ATTORNEY FOR(Name): rlaintiffs, BRITTANY B 1 LLE11 S, et al.
                                                                                                                 COUNTY OF SAN BERNARDINO
                                                                                                                  SAN BERNARDINO DISTRICT
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Bernardino
      STREET ADDRESS: 247 West Third Street
        MAILING ADDRESS:             •
                                                                                                                            FEB 2 2 2019 •
       CITY ANO ZIP CODE:   San Bernardino, CA 92415-0210
           BRANCH NAME:     San Bernardino District— Civil Division                                            BY
    CASE NAME:
                                                                                                                           MELISSA WHITE, DEPUTY
    BRITTANY BILLETTS, et al v. MENTOR WORLDWIDE,LLC.,et al,
     CIVIL CASE COVER SHEET           Complex Case Designation
                                                                                                                CASE NUMBER
                                                                                                                                                        rli — '
   i      Unlimited            I         I Limited                                                                      .
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                                                             I   I Counter             I Joinder
         (Amount                           (Amount
                                                                                           JUDGE:
          demanded          demanded is           Filed with first appearance by defendant
          exceeds $25,000)  $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:
                                Items 1-6 be ow must be completed (see instructions on page 2).
  1, Check one box below for the case type that best describes this case:
       Auto Tort                                           Contract                               Provisionally Complex Chill Litigation
             Auto (22)                                           Breach of contract/warranty(06) (Cal, Rules of Court, rules 3.400-3.403)
             Uninsured motorist (46)                             Rule 3.740 collections(09)             I 1
                                                                                                        Antitrust/Trade regulation (03)
       Other PI/PD/WD (Personal Injury/Property                  Other collections(09)                         Construction defect(10)
       Damage/Wrongful Death)Tort                                Insurance coverage (18)                       Mass tort(40)
             Asbestos (04)                                 I 1Other contract (37)                       1 1    Securities litigation(28)
             Produdt liability (24)                     Real Property                                          Environmental/Toxic tort(30)
             Medical malpractice (45)                       I Eminent domain/Inverse
                                                        I                                                      Insurance coverage claims arising from the
            Other PI/PD/WD (23)                               condemnation (14)                                above listed provisionally complex case
                       (Other) Tort                           Wrongful eviction (33)                           types(41)
       Non-Pi/PD/WD
            Business tort/unfair business practice (07)       Other real properly (26)                  Enforcement of Judgment
            Civil rights(08)                            Unlawful Detainer                               1 1    Enforcement of judgment(20)
            Defamation (13)                                   Commercial (31)                           Miscellaneous Civil Complaint
            Fraud (16)                                         Residential(32)                                  RICO (27)
            Intellectual property (19)                         Drugs (38)                                       Other complaint (not specified above)(42)
            Professional negligence (25)                Judicial Review
                                                                                                        Miscellaneous Civil Petition
            Other non-Pt/PD/WD tort (35)                       Asset forfeiture(05)
       Em ployment                                         n     Petition re; arbitration award (11)
                                                                                                             Partnership and corporate govemance (21)
                                                                                                                Other petition (not specified above)(43)
           I Wrongful termination (36)                           Writ of mandate (02)
       1 1   Other employment(15)                                Other judicial review (39)
  2. This case 1 1 is              is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
     a        Large number of separately represented parties       d. 111 Large number of witnesses
     b.       Extensive motion practice raising difficult or novel e.     Coordination with related actions pending in one or more courts
              issues that will be time-consuming to resolve               In other counties, states, or countries, or in a federal court
     c, 1✓1 Substantial amount of documentary evidence             f,     Substantial postjudgment judicial supervision
  3.    Remedies sought(check all that apply): 8.11 j monetary 151 i nonmonetary; declaratory or injunctive relief                                   c. I I 1punitive
  4.    Number of causes of action (spec161): 3
  5.    This case 1                 is not a class action suit.
  6.    If there are any known related cases,file and serve a notice of related case.(You may use form CM-01
  Date: 2/22/2019
  Jennifer A. Lenze
                                    (TYPE OR PRINT NAME)                                               (SIGN    RE OF P RTY OR ATTORNEY fOR PARTY)
                                                                           N OTICE-,
    • Plaintiff must file this cover sheet with the firs( paper Wed in the action or proceeding (e  (small claims case or•ca es filed
      under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to tile may result
      in sanctions.
    a File this cover sheet in addition to any cover sheet required by local court rule,
    • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
    • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only,
                                                                                                                                      p.gu 1 of2
   Form Adopted for Mandatory Use                                                                                   Cal. Rules- of Court, rules 2 30.3.220.3.400-3 403,3 740;
     Judicial Cound of California                           CIVIL CASE COVER SHEET                                          Cal Standards of Judicial Administration,std. 3 10
     CM.010(Rey July 1,20071                                                                                                                              www.courtinid ca gay




                                                                                                                                                         Ex. D - 67
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                               SUPERIOR COURT OF CALIFORNIA,COUNTY OF SAN BERNARDINO


  BRITTANY BILLETTS, et al.                                                                      CIVDSl•9
                                                                         CASE NO.:

                                   VS.                                   CERTIFICATE OF ASSIGNMENT

  MENTOR WORLDWIDE, LLC, et al.

  A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground is the
  residence of a party, name and residence shall be stated.

  The undersigned declares that the above-entitled matter is filed for proceedings in the
  SAN BERNARDINO               District of the Superior Court under Rule 404 of this court for the
  checked reason:
            General                17 Collection

                           Nature of Action       Ground
   1E00111=ILDDICIEL




                       1. Adoption               Petitioner resides within the district
                       2. Conservator            Petitioner or conservatee resides within the district.
                       3, Contract               Performance in the district is expressly provided for.
                       4. Equity                 The cause of action arose within the district.
                       5. Eminent Domain         The property is located within the district.
                       6. Family Law             Plaintiff, defendant, petitioner or respondent resides within the district.
                       7, Guardianship           Petitioner or ward resides within the district or has property within the district.
                       8, Harassment             Plaintiff, defendant, petitioner or respondent resides within the district.
                       9. Mandate                The defendant functions Wholly within the district.
                       10. Name Change           The petitioner resides within the district.
                       11. Personal Injury       The injury occurred within the district.
                       12. Personal Property     The property is located within the district.
                       13. Probate               Decedent resided or resides within the district or had property within the
                                                 district.
    DIEODICIE1=:[111




                       14.   Prohibition         The defendant functions wholly within the district.
                       15.   Review              The defendant functions wholly within the district.
                       16.   Title to Real Property
                                                 The property is located within the district.
                       17.   Transferred Action  The loWer court is located within the district.
                       18.   Unlawful Detainer   The property is located within the district.
                       19.   Domestic Violence   The petitioner, defendant, plaintiff or respondent resides within the district.
                       20.   Other PRODUCTS LIABILITY
                       21.   THIS FILING WOULD NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT
  The address of the accident, performance, party, detention, place of business, or other factor which qualifies
  this case for filing in the above-designed district is:
         Brittany Bitletts, Plaintiff                                                     1847 North Calaveras Ave
         NAME — INDICATE TITLE OR OTHER QUALIFYING FACTOR                                 ADDRESS
        Ontario                                                           CA                                 91764
        CITY                                                              STATE                              ZIP CODE

  I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was executed
  on February 22,2019                     at Manhattan Beach                                               California



                                                                                             alum of Attorney/Pa y



                                                  CERTIFICATE OF ASSIGNMENT
  1 3-16503-360,
  Rev 06-2014 Mandatory


                                                                                                                        Ex. D - 68
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              SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO




    San Bernardino District - Civil
    247 West Third Street

    San Bernardino, CA. 92415021.0


                                             CASE NO: CIVDS1905706
      LENZE LAWYERS, PLC
      1300 HIGHLAND AVE
      SUITE 207
      MANHATTAN BEACH CA 90266
                                  NOTICE OF TRIAL SETTING CONFERENCE


    IN RE: BILLETTS-V-MENTOR WORLDWIDE

    THIS CASE HAS BEEN ASSIGNED TO: DONNA GUNNELL GARZA IN DEPARTMENT S24
    FOR ALL PURPOSES.

    Notice is hereby given that the above-entitled case has been set for
    Trial Setting Conference at the court located at 247 WEST THIRD STREET
    SAN BERNARDINO, CA 92415-0210.

             HEARING DATE: 08/22/19 at    8:30 in Dept. S24


    DATE: 02/22/19    Nancy Eberhardt, Court Executive Officer
                                                        By: MELISSA WHITE


                       CERTIFICATE OF SERVICE,

     I am a Deputy Clerk of the Superior Court for the County of San
     Bernardino at the above listed address. I am not a party to this
     action and on the date and place shown below, I. served a copy of the
     above listed notice:
     ( ) Enclosed in a sealed envelope mailed to the interested party
     addressed above, for collection and mailing this date, following
     standard Court practices.
     ( ) Enclosed in a sealed envelope, first class postage prepaid in the
     U.S. mail at the location shown above, mailed to the interested party
      n addressed as shown above, or as shown on the attached listing.
         A copy of this notice was given to the filing party at the counter
     ( ) A copy of this notice was placed in the bin located at this office
     a d identified as the location for the above law fiLm's collection of
     file stamped documents.

     Date of Mailing: 02/22/19
     I declare under penalty of perjury that the foregoing is true and
     correct. Executed on 02/22/19 at San Bernardino, CA

                                             BY: MELISSA WHITE




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                              EXHIBIT B

                                                                       Ex. D - 70
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          DEPARTMENT OF HEALTH & HUMAN SERVICES                                   Public Health Service


                                                                                  Food and Drug Administration
                                                                                  9200 Corporate Boulevard
                                                                                  Rockville MD 20850




   Kristine Foss
   Vice President, Clinical and Regulatory Affairs
   Mentor Corporation                                                     NOV 17 2006
   201 Mentor Drive
   Santa Barbara, California 93111

    Re:     P030053
            Mentor MemoryGelTM Silicone Gel-Filled Breast Implants(Moderate Profile Style 7000,
            High Profile Style 4000,and Moderate Plus Profile Style 8000)
            Filed: December 12, 2003
            Amended: January 16, 20, and 26, February 24, August 31, 2004; January 4 and 18,
            March 3, April 1, July 13, August 16 and 22, 2005; June 30 and October 3, 2006
            Procode: FTR


    Dear Ms. Foss:

    The Center for Devices and Radiological Health(CDRH)ofthe Food and Drug Administration
   (FDA)has completed its review of your premarket approval application(PMA)for the Mentor
    MemoryGelTM Silicone Gel-Filled Breast Implants. This device is indicated for breast
    augmentation for women at least 22 years old and for breast reconstruction for women of any
    age. Breast augmentation includes primary breast augmentation to increase the breast size, as
    well as revision surgery to correct or improve the result of a primary breast augmentation
    surgery. Breast reconstruction includes primary reconstruction to replace breast tissue that has
    been removed due to cancer or trauma or that has failed to develop properly due to a severe
    breast abnormality. Breast reconstruction also includes revision surgery to correct or improve
    the result of a primary breast reconstruction surgery.

    We are pleased to inform you that the PMA is approved. You may begin commercial
    distribution ofthe device in accordance with the conditions described below and in the
    "Conditions of Approval" (enclosed).

    The sale, distribution, and use of this device are restricted to prescription use in accordance with
    21 CFR 801.109 within the meaning of section 520(e) of the Federal Food, Drug, and Cosmetic
    Act(the act) under the authority of section 515(d)(1)(B)(ii) ofthe act. FDA has also determined
    that, to ensure the safe and effective use ofthe device, the device is further restricted within the
    meaning of section 520(e) under the authority of section 515(d)(1)(B)(ii),(1)insofar as the
    labeling specify the requirements that apply to the training of practitioners who may use the
    device as approved in this order and (2)insofar as the sale, distribution, and use must not violate
    sections 502(q)and (r) of the act. More specifically, completion of your physician training
    program is required as a condition of access to your product. FDA will, however, allow a 90-day




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   transition period for all current Core Study and Adjunct Study investigators, after which these
   physicians must also have completed the training program in order to have access to the Mentor
   product.

   In addition to the postapproval requirements outlined in the enclosure, you have agreed to the
   conditions of approval described in items 1 through 6 below.

    1.   Core Postapproval Study

         You must continue your Core Study until all patients have completed their 10-year
         evaluation in order to assess the long-term clinical performance of your product. Data are
         to be collected via annual physician follow-up evaluations. The primary changes to the
         protocol from premarket to postapproval are that all non-MRI patients will have a MRI at
         years 6, 8, and 10 and that all patients who were explanted without replacement will be
         evaluated through 10 years, as per the protocol. You must also update your patient and
         physician labeling to reflect 5 and 10-year Core Study findings, as soon as these data are
         available, as well as any other timepoint deemed necessary by FDA if significantly new
         information from this study becomes available.

    2.   Large Postapproval Study

         You must conduct the 10-year large postapproval study, as per the protocol that was
         submitted to FDA on September 26, 2006. This study, which will begin patient enrollment
         within 90 days ofPMA approval, will be a separate study from the Core Study and will
         include 41,900 Mentor silicone gel patients and 1,000 saline-filled breast implant patients
         as the control group. The purpose ofthis study is to address specific issues for which the
         Core Study was not designed to fully answer, as well as to provide a real-world assessment
         of some endpoints. The endpoints include long-term local complications, connective tissue
         disease(CTD), CTI)signs and symptoms, neurological disease, neurological signs and
         symptoms, offspring issues, reproductive issues, lactation issues, cancer, suicide,
         mammography issues, and MRI compliance and rupture results. Data are to be collected
         via annual patient questionnaires, either completed via the web, mail, or telephone. There
         will also be physician evaluations at years 1, 4-6, and 9-10 to collect local complication
         data. You must update your patient and physician labeling to reflect 5 and 10-year large
         postapproval study findings, as soon as these data are available, as well as any other
         timepoint deemed necessary by FDA if significantly new information from this study
         becomes available.

          On a quarterly basis, you must submit a report to FDA that includes: (1)the number
          enrolled by implant group (silicone versus saline);(2)the number enrolled by indication
         (primary augmentation, revision-augmentation, primary reconstruction, revision-
          reconstruction) and implant group;(3)the number enrolled by race/ethnicity and implant
          group;(4)the enrollment rate versus the stated goals; and (5)the follow-up rates versus the
          stated goals. FDA will inform you when quarterly reports are no longer necessary.




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         Every 6 months for the first 2 years and then annually, thereafter, you are to submit a
         progress report that includes: (1)the status of patient enrollment as it compares to the
         stated goals;(2)the status ofthe race/ethnicity distribution as it compares to the stated
         goals;(3) detailed patient and device accounting;(4)a summary offindings for all study
         endpoints; and(5)the reasons why eligible patients were not enrolled into the study.

   3.    Device Failure Studies

         You must continue preclinical studies to further characterize the long-term modes and
         causes offailure of explanted retrieved devices for the 10-year duration ofthe large
         postapproval study. In addition, you must perform additional studies to address the
         following specific issues:
           • further evaluation of iatrogenic failures to address issues raised by the April 2005
               Panel
           • the characterization of when surgical instrument damage occurs
           • further evaluation and characterization offailures due to localized shell stress
           • any correlation between surgical factors (e.g., incision size) and device rupture.

         You must also update your patient and physician labeling to reflect any relevant findings.

   4.    Focus Group Study

         You must complete a focus group study of the augmentation and reconstruction patient
         labeling. This will involve an independent group obtaining responses from patients on the
         format and content ofthe approved labeling. Upon completion ofthe focus group study,
         you must provide a supplement with a report ofthe focus group study findings and revised
         patient and physician labeling based on those findings.

    5.   Informed Decision Process

         As part of your formal informed decision process, you must distribute your approved
         patient labeling. Both the physician and the patient are intended to sign designated sections
         in order to best assure that a patient has obtained the labeling in an adequate enough time
         prior to surgery to read it and has understood the risks and other information associated
         with the Mentor device. You must administer your approved survey to a random selection
         of 50 physicians on an annual basis to determine the success ofthis process and provide a
         summary of the survey findings to FDA. FDA will inform you when a survey summary is
         no longer necessary. In addition, you are to provide training on this process as part of your
         physician training program.




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   6.   Mentor Adjunct Study

        You must cease new enrollment into the Mentor Adjunct Study(P910037 and P910038)
        and continue follow-up of all currently-enrolled Mentor Adjunct Study patients through
        their 5-year evaluations. You are to report these data as part of annual reports for P030053.

   Expiration dating for this device has been established and approved at 5 years.

   CDRH does not evaluate information related to contract liability warranties, however you should
   be aware that any such warranty statements must be truthful, accurate, and not misleading, and
   must be consistent with applicable Federal and State laws.

   CDRH will notify the public of its decision to approve your PMA by making available a
   summary ofthe safety and effectiveness data upon which the approval is based. The information
   can be found on the FDA CDRH Internet HomePage located at
   http://www.fda.gov/cdrh/nmapage.html. Written requests for this information can also be made
   to the Dockets Management Branch,(HFA-305); Food and Drug Administration, 5630 Fishers
   Lane, Rm. 1061, Rockville, MD 20852. The written request should include the PMA number or
   docket number. Within 30 days from the date that this information is placed on the Internet, any
   interested person may seek review ofthis decision by requesting an opportunity for
   administrative review, either through a hearing or review by an independent advisory committee,
   under section 515(g) ofthe Federal Food, Drug, and Cosmetic Act(the act).

   Failure to comply with any postapproval requirement constitutes a ground for withdrawal of
   approval of a PMA. Commercial distribution of a device that is not in compliance with these
   conditions is a violation ofthe act.

   You are reminded that, as soon as possible and before commercial distribution of your device,
   you must submit an amendment to this PMA submission with copies of all approved labeling in
   final printed form. The labeling will not routinely be reviewed by FDA staff when PMA
   applicants include with their submission ofthe final printed labeling a cover letter stating that the
   final printed labeling is identical to the labeling approved in draft form. If the final printed
   labeling is not identical, any changes from the final draft labeling should be highlighted and
   explained in the amendment.

    All required documents should be submitted in triplicate, unless otherwise specified, to the
    address below and should reference the above PMA number to facilitate processing.

                   PMA Document Mail Center(HFZ-401)
                   Center for Devices and Radiological Health
                   Food and Drug Administration
                   9200 Corporate Blvd.
                   Rockville, Maryland 20850




                                                                                                Ex. D - 74
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   If you have any questions concerning this approval order, please contact Mr. Stephen Rhodes at
   (240)276-3638.

                                               Sincerely yours,



                                               Donna-Bea Tillman, Ph.D., M.P.A.
                                               Director
                                               Office of Device Evaluation
                                               Center for Devices and Radiological Health

    Enclosure




                                                                                            Ex. D - 75
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                             EXHIBIT C

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              SUMMARY OF SAFETY AND EFFECTIVENESS DATA

  T.     GENERAL INFORMATION

         Device Generic Name:                               Silicone Gel-Filled Breast Implants

         Device Trade Name:                                 Mentor MemoryGelTM Silicone Gel-
                                                            Filled Breast Implants

         Applicant's Name and Address:                      Mentor Corporation
                                                            201 Mentor Drive
                                                            Santa Barbara, California 93111

         Premarket Approval Application(PMA)Number: P030053

         Date ofPanel Recommendation:                       April 13, 2005

         Date of Notice of Approval to Applicant:           November 17, 2006

  II.    INDICATIONS FOR USE

         The Mentor MemoryGel Silicone Gel -Filled Breast Implant are indicated for females for
         the following uses(procedures):

         •   Breast augmentation for women at least 22 years old. Breast augmentation includes
             primary breast augmentation to increase the breast size, as well as revision surgery to
             correct or improve the result of a primary breast augmentation surgery.

         •   Breast reconstruction. Breast reconstruction includes primary reconstruction to replace
             breast tissue that has been removed due to cancer or trauma or that has failed to develop
             properly due to a severe breast abnormality. Breast reconstruction also includes revision
             surgery to correct or improve the result of a primary breast reconstruction surgery.

  III.    CONTRAINDICATIONS

         Breast implant surgery should not be performed in:
         • Women with active infection anywhere in their body.
         • Women with existing cancer or pre-cancer of their breast who have not received
           adequate treatment for those conditions.
         • Women who are currently pregnant or nursing.

   IV.    WARNINGS AND PRECAUTIONS

          The warnings and precautions can be found in the Mentor MemoryGel Silicone Gel-Filled
          Breast Implants physician labeling.




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   PMA P030053: FDA Summary of Safety and Effectiveness Data
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 V.      DEVICE DESCRIPTION

         Each Mentor MemoryGel Silicone Gel -Filled Breast Implant consists of a single-lumen,
         round silicone elastomer shell, with a patch on the posterior side, which is filled with
         MemoryGel, Mentor's proprietary silicone gel. The implants are available in a range of
         diameters, profiles (projections), and sizes, as well as in smooth and textured (Siltex) shell
         surfaces. The implants are provided dry-heat sterilized with a 5-year shelf life from the date
         of sterilization. Table 1 below shows the Mentor styles that are approved. Table 2 shows
         the general device materials for the shell, patch, and gel components.

         Table 1: Approved Mentor MemoryGel Silicone Gel-Filled Breast Implants
          Catalog Number               Description                                Size Range
          350-7100BC/7800BC            Smooth, Round, Moderate Profile            100-800cc
          354-1007/8007                Textured, Round, Moderate Profile          100-800cc
          350-1001BC/8001BC            Smooth, Round, Moderate Plus Profile       100-800cc
          354-1001/8001                Textured, Round, Moderate Plus Profile     100-800cc
          350-1254BC/8004BC            Smooth, Round, High Profile                125-800cc
          354-4125/4800                Textured, Round, High Profile              125-800cc


         Table 2: Device Materials
          Component                   Raw Material
          Shell, inner/outer layers   Dimethyl Silicone Elastomer Dispersion
          Shell, barrier layer        Diphenyl Silicone Elastomer Dispersion
          Shell textured layer        MED 4750 Silicone Elastomer
          Patch assembly              MED 4750 Silicone Elastomer
          Gel                         Silicone Gel: Base and Crosslinker; platinum cure

  VI.     ALTERNATIVE PRACTICES OR PROCEDURES

          Alternative treatments include, but are not limited to, saline-filled breast implants, external
          prostheses, autogenous tissue grafts; tissue flaps (e.g., transverse rectus abdominis muscle,
          latissimus dorsi muscle, gluteal muscle), or no treatment.

  VII.    REGULATORY AND MARKETING HISTORY

          Silicone gel-filled breast implants are preamendments devices. Mentor began marketing
          silicone gel-filled breast implants in the U.S. in 1984. In April 1991,FDA published a final
          515(b) regulation calling for silicone gel-filled breast implant PMAs within 90 days(56 FR
          14620). In April 1992,FDA determined that there were insufficient data to approve any of
          the PMAs submitted, and,therefore, Mentor's silicone gel breast implants were no longer
          marketed in the U.S. However,the FDA also determined that access to silicone gel-filled
          breast implants for reconstruction and revision patients should continue through adjunct
          clinical studies.

          The Mentor Adjunct Study, which was started in 1992, was designed to address the public
          health need of reconstruction and revision patients. Local complications and satisfaction
          data were collected at 1, 3, and 5-year timepoints. However, with the approval ofthe
          subject PMA P030053,the public health need no longer exists and, while patient follow-up
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        continues through 5 years for those Adjunct Study patients currently enrolled, no new
        patients will be enrolled into the Mentor Adjunct Study.

        In August 2000, Mentor received FDA approval and began their Core Study for their
        silicone gel-filled breast implant product. The Core Study is the primary clinical data set in
        this PMA.

        Outside ofthe U.S., over 750,000 MemoryGel implants have been distributed worldwide
        from 1992 through 2005. The Mentor MemoryGel implants have not been withdrawn from
        any foreign market for any reason relating to the safety and effectiveness ofthe device.

  VIII. POTENTIAL ADVERSE EFFECTS OF THE DEVICE ON HEALTH

        Based on those reported in literature and/or the Mentor Core Study, potential adverse events
        that may occur with breast implant surgery include reoperation (additional surgeries),
        implant removal with or without replacement, implant rupture, capsular contracture,
        wrinkling, asymmetry, implant displacement, implant palpability/visibility, scarring, ptosis,
        pain, changes in nipple and breast sensation, infection (including Toxic Shock Syndrome),
        hematoma, seroma, breast feeding difficulties, calcium deposits, extrusion, necrosis, delayed
        wound healing, breast tissue atrophy/chest wall deformity, and lymphadenopathy.

         There have also been reports in the literature of other conditions in women with silicone gel-
         filled breast implants, including connective tissue disease(CTD), CTD signs and symptoms,
         neurological disease, neurological signs and symptoms, cancer, suicide, and potential effects
         on offspring. Many of these conditions have been studied to evaluate their potential
         association with breast implants, but no cause and effect relationship has been established
         between breast implants and these conditions.

         Refer to Section X below for a summary ofthe adverse event data from the Mentor Core
         Study.

  IX.    SUMMARY OF PRECLINICAL STUDIES

         The preclinical studies are divided into five sections: chemistry; toxicology; mechanical;
         modes and causes of rupture; and shelf life.

          A.     Chemistry Data

          Chemical testing was performed on the major components (shell and gel) of Mentor's
          product to address the biological safety of the materials used in the Mentor product.

          1.     Extent of Crosslinking

        Shell - Three Siltex Round Moderate Profile Gel-Filled(100 cc) devices were subjected to
        an additional thermal cure step consisting of 240 minutes at 164°C. The device shells were
        then subjected to exhaustive extraction conditions(M/V 1/200) before and after the
        additional thermal cure step. The crosslink chain density (pcNAv) was calculated to be
        7.9x1019 chains/cm3 by the Sol Fraction Method (equilibrium swell ratio). The three devices
        tested showed similar results, indicating that the crosslink density is the same across lots.
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        The results also demonstrated that the curing reaction was complete because there was no
        change in these results after additional cure step.

        Gel - The experiments were repeated with the gel component under the same conditions as
        described for the shell. The crosslink chain density (pel\TAv) was calculated to be 1.46x1017
        chains/cm3. The three devices tested showed similar results, indicating the crosslink density
        is the same across lots.

        2.      Volatiles

       Shell - Shell samples were cut into 2mm x 2mm pieces, and the volatiles were analyzed by
        headspace purge/trap connector coupled with GC/MS (gas chromatography - mass
        spectrometry). Shells from unfilled devices (not exposed to gel) and from filled devices
       (exposed to gel) were tested. The shells not exposed to gel contained <11.1 µgig of
        volatiles, of which the notable compounds were isopropanol(<1 ppm), xylenes (<0.08 ppm),
        methoxytrimethylsilane (3 ppm), dodecane(3 ppm), and undecane (1.4 ppm). The shells
        exposed to gel contained <10.2 Ilg/g of volatiles.

        Gel - The analysis on the gel was performed with the same equipment as for the shell
        component, using a small sample of gel. The gel filler contained <2.8 ug/g of volatiles. The
        notable compounds were D4(0.5 ppm), D5 (1.6 ppm), and undecane (<0.3 ppm).

        Whole Device - The analysis on the whole device was based upon the weight averaged
        calculation of the analyses performed on the individual shell and gel components.

        The results are presented in Table 3 below.

        Table 3. Volatile Results
         Compound                        Shell Not Exposed    Shell Exposed     Gel Filler Whole Device
                                         to Gel(ppm)          to Gel(ppm)      (ppm)       (ppm)
          D3                             ND                   0.19              0.18        0.18
          D4                             <0.06                0.23              0.49        0.46
          D5                             0.28                 0.79              1.60        1.47
          Methoxytrimethylsilane         3.13                 3.34              ND          0.43
          Dimethoxydimethylsilane        ND                   0.20              ND          0.03
          Methoxytriethoxysilane         0.04                 ND                ND          ND
          Tetramethyldiethyldisiloxane   ND                   ND                0.05        0.04
          Acetone                        1.02                  1.38             ND          0.18
          Isopropanol                    <1.06                2.03              ND          0.26
          2-Pentanone                    0.05                 ND                ND          ND
          Methyl Butanoate               0.04                 ND                0.09        0.01
          Ethylbenzene                    <0.01                ND               ND          ND
          m- & p-xylene                  0.06                  ND                <0.09      0.08
          4-Methyl-3-penten-2-one         0.07                 0.08             ND          0.01
          o-xylene                        <0.02                ND               ND          ND
          Alpha-Pinene                    <0.02                ND                ND          ND
          Cyclohexanone                   <0.56                ND                ND          ND
           1-Ethyl-2-methylbenzene        0.02                 0.06              ND          0.01
          Decane                          0.09                 ND                ND          ND
           Benzaldehyde                   0.04                 0.08              ND          0.01

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         Compound                           Shell Not Exposed        Shell Exposed       Gel Filler Whole Device
                                            to Gel(ppm)              to Gel(ppm)        (ppm)       (ppm)
         1,3,5-Trimethylbenzene             0.04                     0.04                ND          0.01
         Limonene                           0.02                     0.05                ND          0.01
         Undecane                           1.39                     <0.45               <0.34       0.35        _
         Acetophenone                       0.03                     0.06                ND          0.01
         Dodecane                           3.00                     <0.55               ND          0.07
         Total Volatiles                    <11.07                   <10.16            _ <2.84       3.67
        Data preceded with a "<" symbol means that the level ofthe individual component,'f present, was below the method
        detection limit indicated.
        ND=Not detected.

        3.      Extractables

        Siltex Round Moderate Profile Gel-Filled (100cc) devices were used for this testing. The
        components were extracted (exhaustive) with different solvents. Methylene chloride was
        eventually chosen to be the best solvent for extraction. The residue obtained was subjected
        to different analyses as described below.

        Gravimetric Analysis - Shells not exposed to gel gave 1.86% by weight of extractable
        residue. Shells exposed to gel gave 10.43% by weight of extractable residue. The gel gave
        82.74% by weight of extractable residue. The whole device gave 72.96% by weight of
        extractable residue.

        FTIR Analysis - Fourier Transform Infra Red(FTIR)spectroscopic analyses on the shell
        and the gel, as well as the extractable residues, showed that the extractable materials are
        polysiloxanes. Mentor stated that no phenyl groups were detected because of their low
        concentrations.

         Gel Permeation Chromatography - With regard to the shell exposed to gel, the extractable
         residue on GPC analysis gave five peaks: (1) a larger molecular weight(Mw)peak at about
         17,400 Daltons for polydimenthylsiloxane and (2) an additional four peaks of 770, 550, 260,
         and 170 Daltons. The larger molecular weight peak represented a methyl substituted
         polysiloxane polymer with a polydispersity of 1.8. Its origin was determined to be from the
         gel.

         With regard to the shell not exposed to gel, the extractable residue contained phenyl
         polymer, oligomer and monomeric species with a molecular weight(Mw)range of 170 -
         61,000 Daltons. The phenyl substituted siloxanes concentrations ranged from 32 to 620
         ppm. The extract also yielded two peaks of dimethyl siloxane species, one with a molecular
         weight of 341,000 Daltons, and a second one with a molecular weight of 4,820 Daltons.
         The high molecular weight species represented less than 10% ofthe total peak area.
                                                                                            with a
         With regard to the gel, the extractable residue on GPC analysis gave only one peak
         polydispersity of 2.4(Mw = 53,900 and Mr,= 22,300; Mw / Mn = 2.4).




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        Semi-Volatile Qualitative and Quantitative Analyses - With regard to the shell
        extractables, a part of the residue from the extraction of the finished device shell was
        subjected to GC/MS analyses. The analysis showed that it contained no detectable amounts
        of D4 and, at most, a total of 34 ppm of D5 - D10. It also contained a total of
        approximately 220 ppm of linear dimethyl siloxanes. The total amount of vinyl-modified
        cyclic siloxanes was <52 ppm, and the total amount of phenyl-modified cyclic siloxanes was
        <68 ppm.

        With regard to the gel extractables, extraction residue from the filler on GC/MS analysis was
        shown to contain 0.5 ppm of D4 and approximately 3800 ppm ofD4-D21. Linear
        dimethylsiloxanes were determined to be 377 ppm. Vinyl modified siloxanes were 123
        ppm, while no phenyl-modified cyclic siloxanes were detected in the gel.

        The GC/MS analyses (qualitative and quantitative) results for the semi-volatiles, including
        that for the whole device, are listed in Table 4 below.

        Table 4. Semi-Volatile Data
         Compound <       Shell Not Exposed     Gel Filler   Shell Exposed      Whole Device
                          to Gel(nig)          (pg/g)        to Gel(µg/g)      (µg/g)
         Cyclic Dimethyl Siloxanes
         D4               ND                    0.5          ND                 0.5
         D5               ND                    2.5          <2.5               <2.5
         D6                ND                   4.9          <4.2               <4.8
         D7                ND                   9.0          <4.2               <8.4
         D8                <7.8                 8.5          <7.6               <8.4
         D9                <7.8                 8.4          <7.6               <8.3
         D10               <7.8                 11.5         <7.6               <10.92
         D11               <12.2                23.3         <12.9              <21.86
         D12               22.2                 35.3         17.6               32.92
         D13               48.5                 51.0         27.8               47.85
         D14               148.3                118.7        77.6                113.11
         D15               201.3                 181.5       114.7               172.4
         D16               207.0                217.8        114.6              203.8
         D17               530.3                616.4        383.7              584.9
         D18               387.8                 560.7       356.0               533.0
         D19               272.88                450.9       292.2               429.4
         D20               521.62                657.8       303.9               609.9
         D21               325.69                845.6       328.0               775.5
         Linear  Dimethyl Siloxanes
         MD7M              ND                    <1.5         ND                <1.3
                           ND                    1.7          ND                1.5
         MDaM
         MD9M              ND                    3.2          ND                2.8
                           ND                    7.2          NA                6.2
          MDioM
          MD11M             ND                   13.5         <11.2             <13.2
          MD12M             ND                   37.2         20.1              34.8
          MD13M             ND                   54.6         29.3               51.2
          MD14M             ND                   66.1         40.2               62.6
          MD15M             ND                   70.0         41.5               66.2
          MD161\4           ND                   57.2         40.0               54.9
          MD17M             ND                   64.9         38.1               61.3

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        Compound             Shell Not Exposed      Gel Filler       Shell Exposed        Whole Device
                             to Gel(u.g/g)         (  nig)           to  Gel (nig)       ( nig)
         Vinyl-Modified Cyclic Dimethylsiloxanes
         DviDia              ND                     6.8              ND                   5.9
         D'ID15               ND                     10.1            NA                   8.8
         DviD16               ND                     14.0            <16.7                <14.4
         DviD17               ND                     26.1            ND                   22.6
         DviDis               ND                     40.6            NA                   35.1
         Dv'D19               ND                     25.0            <35.1                <26.4
         Phenyl-Modified Cyclic Dimethylsiloxanes
         DioDP                <8.9                   ND              ND                   ND
         DilDPh               <8.9                   ND               ND                  ND
         D12DPh               <8.9                   ND               ND                  ND
         D2DPh 2(1)           48.4                   ND               14.4                2.0
         D2DPh 2(2)           37.1                   ND               <9.9                 <1.3
         D3DPh 2(1)           58.9                   21.9             <9.9                 <20.2
          D3DPh 2(2)          78.6                    19.8            13.6                 19.0
         D4DPh 2(1)           21.4                   ND               <9.9                 <1.3
          D4DPh 2(2)          23.1                   ND               <9.9                 <1.3
          D5DPh 2(1)          <8.9                   ND               ND                   ND
          D5DPh 2(3)          <8.9                    ND              ND                   ND
          D5DPh 2(2)          <8.9                    ND              ND                   ND
          Miscellaneous Siloxanes
          Siloxane             ND                     4.2             1.8                  3.9
          Residues of Solvents and Plasticizers
          o-Xylene             ND                     <0.4            ND                   <0.4
          Di(Ethylhexyl)       <11.2                  ND              ND                   ND
          Phthalate
        1 Total (lg,/g)        <3055.8                <4350.1          <2403.8              <4086.7
        ND = Not Detected, S/N <3.0. NA = Not App   icable,  vi = vinyl; ph = phenyl.
                                                                                                             sample
        Data preceded with a "<" symbol meaning a less than method detection limit value was measured in the
         or individual component.

        The concentrations of the oligosiloxanes present in the device are well below the No
        Observed Adverse Effect Level(NOAEL)based on extrapolation of the available toxicology
        data on D4 and D5.

        4.       Heavy Metal Analysis

         Both the shell and the gel components were extracted with aqueous (buffer) and organic
         solvents and analyzed by Inductively Coupled Plasma/Mass spectroscopy)(ICPM)for
         numerous metals. The metal concentrations obtained from the extracted residues are shown
         in Table 5 below for the device, as a whole.




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       Table 5: Heavy Metal Concentrations
         Metal Name       Concentration(ppm)
         Antimony               0.014
         Arsenic                0.123
         Barium                 0.001
         Beryllium              0.006
         Cadmium                0.002
         Chromium               0.028
         Cobalt                 0.052
         Copper                 0.025
         Lead                   0.011
         Magnesium              0.391
         Mercury                0.004
         Molybdenum             0.001
         Nickel                 0.050
         Platinum               0.299
         Selenium               0.069
         Silver                 0.001
         Tin                     0.004
         Titanium                0.033
         Vanadium                0.310
         Zinc                    0.034

        In addition, platinum metal analyses were conducted on the unextracted shell and the gel
        components. The platinum concentration was found to be 8.8 ppm for the unextracted shell
        and 4.8 ppm for the unextracted gel.

        As a note, platinum is a metal used as a catalyst in the manufacture of the shell and gel
        components of silicone breast implants. The small amounts of platinum remaining in the
        product following manufacturing may enter the body, either by diffusing through the intact
        shell (i.e., through gel bleed) or through an implant rupture. Based on our review of the gel
        bleed testing, the published literature on this topic, as well as the biocompatibility testing
        and clinical data on the device, FDA concluded that the platinum contained in breast
        implants is in the zero oxidation state, which has the lowest toxicity and, thus, does not pose
        a significant risk to women with silicone breast implants.

        FDA has posted a Backgrounder on its website, which provides a brief summary of some of
        the key scientific studies on platinum and silicone gel-filled breast implants
        (http://vvww.fda.govicdrh/breastimplants/) .

         5.     Silica Filler

         X-ray diffraction studies on the elastomer shell confirmed that the silica used as reinforcing
         filler material is in the amorphous foun.




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        B.      Toxicology Data

        Mentor provided both pharmacokinetic and biocompatibility testing to address the biological
        safety of the materials used in the Mentor product.

        Pharmacokinetics
        Mentor cited a number of experiments in which 14C-labeled polydimethylsiloxanes were
        injected subcutaneously in animals. Most of the radioactivity (94-99.97%) remained at the
        injection sites. In one experiment, less than 0.02% was found to have migrated to different
        tissues. Raposo do Amaral, et al.' injected rats with 2m1 of silicone gel at two different sites
        and followed the animals for various time periods up to 450 days. Silicone was not detected
        in the heart spleen, liver, stomach, or gonads, but it could be detected locally surrounding
        the tissue capsules at the implantation sites. No silicone was found in the regional lymph
        nodes.

         With regard to the migration ofthe low molecular weight mixtures of cyclic siloxanes (e.g.,
         D4, D5, D6), Kala, et al. 2 injected a concentrated distillate of cyclic siloxanes in the
         suprascapular area in mice. At 1 month, the highest cyclosiloxane levels were detected in
         the mesenteric lymph nodes, ovaries, and uterus, but all organs examined contained some
         cyclosiloxanes. The high dose used far exceeded the dose from implants. The survival of
         the mice for one year at these levels of cyclosiloxane exposure indicates a high level of
         safety.

         Anderson, et al.3 studied the distribution of D4 in rats using radiolabeled D4 administered
         by inhalation at 700 ppm. The radioactivity was widely distributed in rat tissues, but only 5-
         6% ofthe dose was retained in the tissues. Based on these results, the authors proposed that
         there is high pulmonary and hepatic clearance of D4. Another model of the same data
         predicted some accumulation in the fat depots.4

         Biocompatibility Testing
         The biocompatibility testing below was conducted on the major device components (shell,
         gel, and patch), as described in ISO 10993.5 This testing demonstrated the biocompatibility
         ofthe materials in the Mentor implants.

          1.     Cytotoxicity

         Cytotoxicity testing was conducted on the dimethyl and diphenyl elastomer dispersions, the
         MED 4750 elastomer, the silicone gel, and the dispersion coating. In addition, a complete
         (100 ml) gel device was tested. The studies used mouse fibroblast L929 cells. Most
          materials were tested by both the agarose overlay method in which the device or material is
          placed directly on an agar overlay ofthe cells, and by the USP elution method, in which the
          device or material is extracted into minimal medium and the extract is placed onto a lawn of
          cells. In both cases, the cells were observed for lysis and changes in cell morphology or cell
          death. The results showed that the test articles were non-cytotoxic.

          2.      Short Term Irritation and Implantation

        The test articles tested for irritation and/or implantation included the dimethyl and diphenyl
        elastomer dispersions, the MED 4750 elastomer, the silicone gel, the dispersion coating, and
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        the laser-marked patches. Each was extracted into saline and cottonseed oil(CSO)and
        injected subcutaneously in rabbits. The injection sites were observed for edema and
        erythema. There was no significant reaction to any of these materials.

        A 100m1 textured gel implant was tested using 60cm2 per 20m1 of saline or CSO for
        extraction. Extracts of the complete implants showed no significant irritation (erythema or
        edema).

        Groups of one of the laser-marked patches in the CSO (cottonseed oil) group showed
        moderate irritation. Because the reactivity to the CSO extracts is usually higher than the
        reaction to the saline extracts, this may have added to the effect.

        The studied showed that none of the device materials causes significant irritation.

        3.      Acute Systemic Toxicity

        The test articles evaluated for acute systemic toxicity included the dimethyl and diphenyl
        elastomer dispersions, the MED 4750 elastomer, silicone gel, dispersion coating, a textured
        gel-filled device, a smooth device, and laser-marked patches. Extracts for testing were
        prepared by using 60cm2 per 20m1 of solvent of each device components for extraction into
        saline and cottonseed oil. The saline extracts were injected into mice intravenously at 50
        ml/kg, and the oil extracts were injected intraperitoneally at the same dose. The animals
        were observed for toxic signs. No toxicity was observed.

        4.      Hemocompatibility

        Hemocompatibility testing was conducted by measuring the extent of red cell lysis produced
        by direct contact with, and/or extracts of, the following device components: dimethyl and
        diphenyl elastomer dispersions, the MED 4750 elastomer, and silicone gel. Suspensions of
        rabbit red cells were freshly prepared. A sample of rabbit red cells were added to each of
        the following tubes: a negative control tube with 10m1 of saline; a positive control with
        10m1 of water; and 2g of test materials extracted in 10m1 of saline. The tubes were
        incubated at 37°C for 1 hour, centrifuged, and the absorbance at 545nm was measured. The
        percent hemolysis is the absorbance of the sample times 100 divided by the absorbance of
        the positive control. No significant hemolysis was seen with any of these device
        components.

         5.     Pyrogenicity

         Rabbit pyrogen studies using a complete textured device were conducted by measuring
         rabbit temperature increases following intravenous administration of device extracts in New
         Zealand White Rabbits. The test article was a complete 100m1 textured device extracted
         into 60cm2 per 20m1 of sterile non-pyrogenic saline. The rabbit temperature rise was within
         acceptable limits. The test materials were, therefore, considered non-pyrogenic. The
         smooth device was tested in the same way. The results showed that the test articles were
         non-pyrogenic.




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       6.      Immunotoxicity

        Immunotoxicity tests were conducted by implanting disks punched from smooth or textured
        shells subcutaneously in B6C3F1 mice. Three shell doses were used: 14mm2; 28mm2; and
                                                  2
        57mm2. The patch was tested only at 28mm . Cyclophosphamide was the positive control
        at 25mg/kg IP. The animals were regularly observed for any toxic signs for 28 days.

        In tests involving the smooth shells, the parameters evaluated were body weights, spleen and
        thymus weights, hematology, including RBCs, hemoglobin, hematocrit, MCV,MCH,
        MCHC,a differential count of leukocytes. In the spleen, IgM antibody forming cells to
        sheep erythrocytes, splenic T-cells, CD4+, CD8+, and B-cells were all enumerated. For total
        T-cell enumeration, a Thy 1.2+ monoclonal antibody was used. All of the observations were
        normal except for an increase in T-cells in the spleen, as determined by the Thy 1.2+ marker
        and a decrease in spleen weights in the animals exposed to the shell and patch. An
        additional test was conducted to determine the cause ofthe increased Thy 1.2+ responsive
        cells without increases in the counted T-cells. The result was that the Thy 1.2+ marker is
        non-specific and also binds to "non-immune cells." The non-immune cells type was likely
        to have been fibroblasts that also bind the Thy 1.2+ antibody. Thus, there were no
         immunological abnormalities in the first experiment.

        In a second test, the smooth shell was implanted in mice for 10 days. There were no effects
        on body weight, spleen or thymus weight, or thymus histopathology. The implants did not
        alter the response of the spleen cell proliferation response to T-cell mitogens(Con A or
        Phytohemagglutinin) nor was the response to allogeneic spleen cells from DBA/2 mice
        altered. This testing, combined with the first set of testing, showed that the smooth shell did
        not alter the immune response.

        In another set of experiments, the textured shell was tested. The protocols are very similar
        to the smooth shell experiments. The testing was designed to test the effects of the device
        implantation on immune system function. None of the implants significantly affected the
        immune system in these mice. There were no changes in spleen weight, thymus weight,
        hematology (RBCs, Hb,HCT,MCV,MCH,MCHC,or leukocyte numbers or differentials.
        There were no differences in the ability to produce antibodies to T-dependent sheep
        erythrocyte antigens. There were no differences in the number of spleen cells, and no
        effects on the T-helper or T- suppressor populations. In conclusion, there were no
        significant effects of the test articles on the immunological response.

         7.     Sensitization

         Sensitization testing was performed on the dimethyl and Biphenyl elastomer dispersions, the
         MED-4750 elastomer, the dispersion coating, and the laser engraved patches. Variations of
         the Guinea Pig Maximization test method were used. CSO and saline extracts of device
         components were injected intradermally, and, a week later, petrolatum with sodium laurel
         sulfate(SLS) was rubbed into the site. A day later, the petrolatum was removed, and test
         article on filter paper was applied and removed after 48 hours. Induction was tested two
         weeks later using a Hill Top chamber. Dermal reactions were observed 1, 2, 3, and 4 days.
         No significant sensitization was observed for any of the materials tested.



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        8.     Reproductive Toxicity and Teratogenicity

        Mentor conducted a two-generation study in rats to assess the teratogenic and reproductive
        toxicity potential of Mentor's shell. In order to exaggerate the dose of potentially extractable
        materials, the elastomeric test material was pulverized prior to implantation, thus
        significantly increasing the exposed surface area. The findings of this study indicated that,
        compared to the controls, pulverized patched and/or valved silicone elastomer shells did not
        cause reproductive or teratogenic effects when implanted subcutaneously in female rats in
        two consecutive generations. Mentor also has conducted an extended one-generation study
        of Mentor silicone gel administered by subcutaneous injection in rats. There were no effects
        on maternal growth, estrous cycling, fertility, fecundity, pregnancy, delivery, or lactation. In
        addition, there were no effects on F1 offspring survival, growth, acquisition of
        developmental landmarks, learning and memory,functional observational battery, hormone-
         mediated endpoints, systemic or reproductive organ weights, or organ histopathology.

        9.      Genotoxicity

        Mentor addressed genotoxicity testing using the Salmonella Reverse Mutation Assay(Ames
        Test), Unscheduled DNA Synthesis, the Chromosome Aberration Assay in CHO cells, and
        the mouse micronucleus assay). The tests were all done with and without S9 activation.

        The Ames Test(Salmonella Assay) was used to test the dimethyl and diphenyl elastomer
        dispersions, the MED 4750 elastomer, the dispersion coat, shell, and extracts ofthe
        complete implant. There were no significant genotoxic effects.

        In a second set of data, Mentor used unscheduled DNA synthesis to test a 275m1 smooth
        device. The entire device was extracted into saline and into ethanol. The test article was
        extracted using 0.2g test article per ml of extraction medium. Neither extract stimulated
        unscheduled DNA synthesis.

        In a third set of data, Chromosome Aberration Assays were conducted in CHO Cells. Saline
        and alcohol extracts of a 275m1 smooth device were tested. The test article was chopped
        into small pieces for extraction at 50°C for 72 hours with shaking. Colcemid was added 2
        hours prior to harvest to inhibit cell growth. The test was performed with and without S9
        activation. No increases of chromosome aberrations over the control were seen.

         A fourth set of data were obtained using an in-vivo mouse micronucleus test. The test
         article was a 300m1 textured device. The device was cut into small pieces through all layers
         and extracted into saline and corn oil at a ratio of 1 g of device per 5m1 of extraction solvent.
         The positive control was cyclophosphamide, 2.5 mg/ml. The device extracts did not
         increase the micronucleated cells in the marrow of injected animals. There was no evidence
         of genotoxicity.

         10.     Carcinogenicity

         Because ofthe negative mutagenicity testing and a negative mouse micronucleus test,
         additional carcinogenicity testing was not requested by FDA. Nevertheless, Mentor
         provided some carcinogenicity tests that were performed using a silicone gel manufactured
         by Dow Corning that is equivalent to the gel used in the Mentor product.
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       In the first set of data, Mentor performed carcinogenicity testing in albino rats using various
       silicone gels manufactured by Dow Corning. Each of the Dow Corning silicone gels was
       implanted in 50 male and 50 female rats. There were also sham-operated and no-treatment
       control groups. Solid state tumors were seen in all of the implantation groups. The tumors
       were all mesenchymal tumors, primarily fibrosarcomas. The sham-operated and untreated
       controls did not have tumors. All other pathology was comparable across the treated groups.

        In the second set of data, Mentor performed a lifetime implant study with Dow Corning gel
        in rats. This experiment utilized varying levels of test material as well as the polyethylene
        controls. There was no increase of non-mesenchymal tumors. It is unlikely that the silicone
        gel contains a chemical carcinogen because there was no increase of non-mesenchymal
        tumors across the 3 dose levels tested. That is, tumors other than solid state tumors were not
        increased by the device implants.

        C.      Mechanical Data

        This section includes a summary ofthe fatigue, gel bleed, and gel cohesion testing that
        Mentor provided in support of establishing the safety of their product.

        1.      Fatigue Testing

        Smooth Round Moderate Profile (100cc), Siltex Round Moderate Profile (100cc), and Siltex
        Round High Profile (125cc) were chosen for fatigue testing as representative of Mentor's
        product line. All implants tested were final, sterilized versions with the minimum allowable
        radial shell thickness. The test set-up consisted of a uniaxial test fixture of parallel plates in
        a test chamber containing circulating physiologic saline solution at 37°C. The applied cyclic
        loads ranged from 20-100 lbs. Testing was performed at 1 Hz for all higher loads and at 5
        Hz for the lower loads, which was justified by comparative fatigue testing at 1 Hz and 5 Hz
        for 40 and 80 lbs. A minimum of three implants for each style was tested for most load
        levels. Runout was defined as 10 million cycles. The resulting endurance load levels were
        20-30 lbs. As expected, based on the test set-up, all fatigue failure modes were radial tears.
        FDA believes that these data demonstrated that the Mentor product can withstand large
        static loading and in-vivo cyclic loading. See Section XI below for more details.

         2.      Gel Bleed Testing

         Mentor provided testing to identity the gel bleed constituents (including the platinum species
        (or other catalysts)), the rate that the gel constituents bleed out, and how that rate changes
         over time. Mentor's test method, which was designed to mimic in-vivo exposure to silicone
         gel-filled breast implants, involved the incubation of smooth implants in porcine serum at
         37°C. At specific timepoints, samples of the solution were withdrawn for analysis for low
                                                                                                           of
         molecular weight(LMW)silicones and platinum. The results indicated that the diffusion
                                                                                                         D6,
         measured constituents ceased by 60 days and that only the LMW silicones D4,D5,and
                                                            e quantities.  In total, 4.7ug of these three
         and platinum, bled into the serum in measurabl
                                                                                                 which time
         LMW silicones was detected. Platinum levels measured at 4.1ug by 60 days, by
                                                                                                     shell.
         an equilibrium level was reached and no more platinum diffused through the device
         Over 99% of the LMW silicones and platinum         stayed  in the implant.

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        With regard to the health consequences of gel bleed, the literature has reported small
        quantities ofLMW silicone compounds, as well as platinum (in zero oxidation state), have
        been found to diffuse ("bleed") through an intact implant she11.6'7 The evidence is mixed as
        to whether there are any clinical consequences associated with gel bleed. For instance,
        studies on implants implanted for a long duration have suggested that such bleed may be a
        contributing factor in the development of capsular contracture and lymphadenopathy.8
        However, evidence against gel bleed being a significant contributing factor to capsular
        contracture and other local complications is provided by the fact that there are similar or
        lower complication rates for silicone gel-filled breast implants than for saline-filled breast
        implants. Saline-filled breast implants do not contain silicone gel and,therefore, gel bleed is
        not an issue for those products. Furthermore,toxicology testing has indicated that the
        silicone material used in the Mentor implants does not cause toxic reactions in test animals.
        It should also be noted that studies reported in the literature have demonstrated that the low
         concentration of platinum contained in breast implants is in the zero oxidation (most
                                10,11,12 The literature finding has been confirmed by two separate
         biocompatible) state.9'
         studies sponsored by Mentor. The overall body of available evidence supports that the
         extremely low level of gel bleed for Mentor's product is of no clinical consequence.

        3.      Gel Cohesion Testing

        Gel cohesivity and penetration testing assess the cohesive and cure characteristics of silicone
        gel, respectively. Gel cohesivity testing was performed as per ASTM F703 (cone/pendant
        method) using gel from final finished product. The majority ofthe 100 samples showed no
        measurable pendant length, while a few samples showed an average pendant length of 0.1cm,
        which meets the ASTM F703 specification of <4.5cm. Gel penetration testing was performed
        as per a Mentor test method involving measurement ofthe penetration of a plunger into in-
        process gel in a jar. All samples passed Mentor's internal penetration specification.

        D.      Modes and Causes of Rupture

         Mentor provided numerous test reports and other information to characterize modes and
         causes of failure of their device for a range of in-vivo times, such as failure analyses of
         retrieved devices (i.e., retrieval study), physical property testing, assessment of
         manufacturing processes and surgical techniques that may impact rupture, and a review of
         the explant literature.

         The primary set of modes and causes of rupture data was a retrieval study that involved 274
         explanted, single-lumen Adjunct and Core Study devices that were determined to have failed
         upon laboratory observation (intact devices were excluded from this dataset). The samples
         analyzed were explanted anywhere from time 0(damaged during the implantation procedure
         and, thus, not implanted) up to 10 years after implantation. For these 274 explants, the
         failure modes were surgical instrument damage(n=119); localized shell stress from the
         implantation procedure (n=98); fold flaw (n=20); opening at the shell/patch junction (n=23);
         shell/patch delamination (n=11); and opening within the patch (n=3). FDA determined that
         these data are adequate to characterize the modes and causes of rupture through
         approximately 10 years. See Section XI below for more details.




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        D.      Shelf Life Data

        Mentor's shelf life testing was performed on both the smooth and textured devices (gel
        cohesion, tension set, shell/patch joint strength, ultimate elongation, and break force) and the
        package (thermoform dye penetration and peel seal strength). Real-time testing was the
        primary set of data used to establish the shelf life of the Mentor product. All device and
        package testing met the acceptance criteria set in the protocol. Accordingly, the data
        supported a 5-year shelf life for the Mentor product.

  X.    SUMMARY OF THE MENTOR CORE STUDY

        The Mentor Core Study is the primary set of clinical data. These data are summarized
        below.

         A.     Study Design

         The Mentor Core Study is a 10-year study to assess safety and effectiveness in 1,007
         augmentation, reconstruction, and revision (revision-augmentation and revision-
         reconstruction) patients. Patient medical histories and baseline clinical data were collected
         preoperatively. Patient follow-up is at 6 months, 1 year, 2 years, and annually through 10
         years. Rupture is assessed for patients who have scheduled MRIs at years 1, 2, 4,6, 8, and
         10 years to screen for silent rupture (i.e., MRI cohort) and those who are not assessed for
         rupture by scheduled MRIs (i.e., non-MRI cohort).

         Safety assessments include complication rates, reasons for reoperation, and reasons for
         implant removal. Effectiveness assessments include circumferential chest size change and
         bra cup size change (typically only augmentation patients), patient satisfaction, and quality
         of life (QoL). QoL is comprised of measures of self-esteem, body image, and general health
         outcome. The results through 3 years are currently being reported, and the study remains
         ongoing. Mentor will periodically update labeling as more information becomes available.

         B.      Patient Accounting and Baseline Demographic Profile

         The Mentor Core Study consists of 1,007 patients, including 551 primary augmentation
         patients, 146 revision-augmentation patients, 251 primary reconstruction patients, and 59
         revision-reconstruction patients. Three-year data are available for 88% ofthe eligible
         primary augmentation patients, 87% of the eligible revision-augmentation patients, 82% of
         the eligible primary reconstruction patients, and 86% ofthe revision-reconstruction patients.

         Demographic infoiination for the Core Study with regard to race is as follows: 90% of the
         Core Study patients were Caucasian; 2% were Asian; 2% were African American; and 6%
         were other. The mean age at surgery was 34 years for primary augmentation patients, 42 for
         revision-augmentation patients, 45 years for primary reconstruction patients, and 51 years
         for revision-reconstruction patients. Approximately 61% of the Core Study patients were
         married. Approximately 82% had some college education.

        With respect to surgical baseline factors, for primary augmentation patients, the most
        frequently used devices were smooth implants(70%),the most common incision site was
        inframammary (59%), and the most frequent site of placement was submuscular (66%). For
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          revision-augmentation patients, the most frequently used devices were smooth implants
         (68%),the most common incision site was inframammary (71%), and the most frequent site
          of placement was submuscular(63%). For primary reconstruction patients, the most
         frequently used devices were textured implants (58%),the most common incision site was
          the mastectomy scar(56%), and the most frequent site of placement was submuscular
         (87%). For revision-reconstruction patients, the most frequently used devices were smooth
          implants(63%),the most common incision site was mastectomy scar(50%), and the most
          frequent site of placement was submuscular(83%).

           C.       Complication Rates

           Table 6 below shows the 3-year, by-patient, cumulative Kaplan-Meier(KM)risk rates of
           first occurrence(95% confidence interval) of complications.

  Table 6: KM Risk Rates through 3 Years
KM Rates through 3 Years'                  Primary            Revision-           Primary            Revision-
                                           Augmentation'      Augmentation3       Reconstruction 4   Reconstructions
                                           N=551              N=146               N=251              N=59
Any complication (including reoperation)   36.6% (32.1, 40.2) 50.1%  (41.9, 58.3) 49.4% (42.9, 55.8) 47.5%  (34.8, 60.3)
Any reoperation                            15.4% (12.3, 18.4) 28.0% (20.4,  35.6) 27.0% (21.4, 32.6) 29.1%  (17.4, 40.7)
Implant removal with or without            4.9% (3.1, 6.7)    13.4% (7.5, 19.3)   12.7% (8.5, 16.9)  13.7%  (4.9, 22.6)
replacement
Asymmetry                                  0.5% (0.0, 1.2)      0                  6.7% (3.4, 10.0)    8.9% (1.4, 16.3)
Breast mass                                3.1% (1.6, 4.6)      6.6% (2.4, 10.7)   3.6% (1.1, 6.0)     7.0% (0.4, 13.7)
Breast pain                                1.7% (0.6, 2.8)      1.5% (0.0, 3.4)    2.2% (0.3, 4.2)     3.5% (0.0, 8.2)
Breast sensation changes                   2.2% (1.0, 3.4)      2.1% (0.0, 4.5)    1.0% (0.0, 2.5)     1.9% (0.0, 5.7)
Capsular contracture III/IV                8.1% (5.8, 10.4)     18.9% (12.5, 25.4) 8.3% (4.7, 11.9)    16.3% (5.0, 27.6)
Delayed wound healing                      0                    2.1% (0.0, 4.4)    0.4% (0.0, 1.2)     1.7% (0.0, 5.0)
Granuloma                                  0.2% (0.0, 0.5)      0.8% (0.0, 2.5)    0                   5.1% (0.0, 10.7)
Hematoma                                   2.6% (1.2, 3.9)      2.8% (0.09, 5.4)   1.3% (0.0, 2.8)     3.5% (0.0, 8.2)
Implant extrusion                          0                    1.4% (0.0, 3.3)    1.2% (0.0, 2.6)     1.7% (0.0, 5.0)
Implant malposition/ displacement          0.4% (0.0, 0.9)      1.4% (0.0, 3.3)    1.7% (0.05, 3.3)    8.5% (1.4, 15.7)
Implant palpability/visibility             0                    0.7% (0.0, 2.1)    0                   0
Implant rupture       MRI cohort           0.5% (0.0, 1.6)      7.7% (0.4, 15.0)   0.9% (0.0, 2.5)     0
                      Non-MRI cohort       0                    0                  0                   0
 Infection                                  1.5% (0.5, 2.5)     1.4% (0.0, 3.4)    5.7% (2.8, 8.6)     0
 Inflammation                              0.7% (0.02, 1.4)     1.4% (0.0, 3.3)    0                   1.7% (0.0, 5.1)
 Lactation difficulties                    0.2% (0.0, 0.6)      0.8% (0.0, 2.2)    0                   0
 Lymphadenopathy                           0                    0                  0.9% (0.0, 2.6)     0
 Metastatic disease                         0                   0                   1.8% (0.05, 3.6)   0
 Miscarriage                                1.5% (0.5, 2.6)     0.9% (0.0, 2.5)     0.9% (0.0, 2.0)    0
 Necrosis                                   0.2% (0.0, 0.6)      0                  0.9% (0.0, 2.3)    0
 New diagnosis of breast cancer             0                    0                  0.5% (0.0, 1.4)     1.7% (0.0, 5.1)
 New diagnosis of rheumatic disease         0.6% (0.0, 1.2)      0.8% (0.0, 2.5)    0.4% (0.0, 1.3)     3.5% (0.0, 8.1)
  Nipple complications                      10.4% (7.8, 12.9)    10.5% (5.5, 15.5)  3.3% (0.8, 5.7)     1.7% (0.0, 5.0)
                                            2.3% (1.0, 3.6)      1.5% (0.0, 3.6)    6.9% (2.7, 11.2)    3.4% (0.0, 8.0)
 Ptosis
  Rash                                      0.7% (0.02, 1.4)     0                  1.0% (0.0, 2.3)     0
                                            0                    0                  1.7% (0.05, 3.4)    1.7% (0.0, 5.0)
  Recurrent breast disease
                                            6.7% (4.6, 8.8)      8.4% (3.9, 13.0)   6.8% (3.6, 10.0)    3.6% (0.0, 8.4)
  Scarring/Hypertrophic Scarring
                                            0.9% (0.1, 1.7)      2.1% (0.0, 4.4)    4.9% (2.2, 7.5)     1.7% (0.0, 5.0)
  Seroma
                                             1.3% (0.2, 2.3)     0.9% (0.0, 2.5)    0.4% (0.0, 1.2)     1.7% (0.0, 5.0)
  Trauma
                                            0.7% (0.02, 1.5)     2.1% (0.0 4.5)     2.6% (0.5, 4.6)     7.0% (0.4, 13.6)
  Wrinkling

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KM Rates through 3 Years                        Primary                Revision-              Primary                Revision-
                                                Augmentation2          Augmentation3          Reconstruction         Reconstructions
                                                N=551                  N=146                  N=251                  N=59
 Deep vein thrombosis                           0.2% (0.0, 0.6)        0                      0.4% (0.0, 1.2)        0
 Muscle spasm                                   0                      0.7% (0.0,2.1)         0.4% (0.0, 1.2)        0
 Placement damage                               0.7% (0.02, 1.4)6      0                      0                      0
 Anaphlyaxis                                    0.2% (0.0, 0.6)        0                      0                      0
 Biopsy pending                                 0.2% (0.0, 0.6)        0                      0                      0
 Bruising                                       0.4% (0.0, 0.9)        0                      0                      0
 Position dissatisfaction                       0.2% (0.0, 0.5)        0                      0                      0
 Positive antinuclear antibodies for lupus      0.3% (0.0., 0.9)       0                      0                      0
 Suture reaction                                0.5% (0.0, 1.2)        0                      0                      0
 Stitch abscess                                 0                      0                      0.6% (0.0, 1.6)        0
 Tight benilli suture                           0                      0                      0.4% (0.0, 1.3)        0
 Redness                                        0                      0                      0.6% (0.0, 1.6)        0
 Bacic/neck pain related to large implants      0                      0.7% (0.0,2.1)         0                      0
 Ectopic pregnancy                              0                       0.7% (0.0,2.2)        0                       0
  False positive for rupture on mammogram       0                      0.8% (0.0,2.5)          0                      0
  Capsular tear with no pain or implant         0                       0                      0                      1.7% (0.0, 5.0)
  malposition
  Numbness in both hands at night                 0                      0                        0                     1.8% (0.0, 5.3)
 Excludes mild occurrences of asymmetry, breast pain, calcification      implant  malposition/d  isplacement, nipple sensation changes,
breast sensation changes, nipple complications   , and wrinkling.   Also excludes  planned  second  stage surgeries.
2 197 primary augmentation patients experienced at least one complication
                                                                               or reoperation.
3
  119 primary  reconstructio n patients experienced  at least one complication  or reoperation.
472 revision-augmentation patients experienced at least one complication
                                                                              or reoperation
5 28 revision-reconstruction patients experienced at least one complication
                                                                               or reoperation.
6 Breast implants were damaged     during insertion and  removed   while the patient was still on the operating table.




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           D.       Main Reasons for Reoperation

           Table 7 below shows the main reasons for reoperations, stratified by indication, through 3
           years. The rates are based on the total number of reoperations for that indication.

 Table 7: Main Reasons for Reo erations through 3 Years
  Reasons for Reoperation through 3                Primary                Revision-             Primary               Revision-
  Years'                                           Augmentation           A ugmentation         Reconstruction        Reconstruction
                                                   N=109 Reops in N=58 Reops in                 N=79 Reops in         N=24 Reops in
                                                   83 Patients            39 Patients           66 Patients           17 Patients
   Asymmetry                                        5 (4.6%)               1  (1.7%)             16   (20.3%)          1 (4.2%)
   Biopsy                                           6 (5.5%)               6 (10.3%)              11 (13.9%)           7  (29.2%)
   Breast cancer                                    0                      0                     3 (3.8%)              1  (4.2%)
   Breast pain                                       1 (0.9%)              0                      1 (1.3%)             0
   Capsular contracture II                          7 (6.4%)               5 (8.6%)              2 (2.5%)              0
    Capsular contracture III/IV                      33  (30.3%)           18   (31.0%)          8  (10.1%)            3 (12.5%)
    Capsule/pocket tear                              1 (0.9%)              0                     0                      1 (4.2%)
    Delayed wound healing                            2 (1.8%)              5 (8.6%)               1 (1.3%)             0
    Follicular cyst/palpable nodule                 0                      0                     0                     2 (8.3%)
    Hematoma/seroma                                  12 (11.0%)            5 (8.6%)               3 (3.8%)              1 (4.2%)
    Implant extrusion                                1  (0.9%)             2  (3.4%)              2 (2.5%)              1 (4.2%)
    Implant malposition                              2  (1.8%)             2  (3.4%)              9 (11.4%)            2  (8.3%)
    Implant palpability/visibility                   0                     0                      1  (1.3%)            0
    Implant rupture (suspected)2                     1 (0.9%)              1 (1.7%)               0                     1 (4.2%)
    Infection                                        3 (2.8%)              1 (1.7%)               4 (5.1%)             0
    Muscle spasm                                     0                     0                      1 (1.3%)             0
    Necrosis                                         1  (0.9%)             0                      0                     0
    Nipple complications (unplanned)                 0                     0                      2  (2.5%)             1 (4.2%)
    Patient request for style/size change             16 (14.7%)           7   (12.1%)            9  (11.4%)            1 (4.2%)
    Ptosis                                           4 (3.7%)               1 (1.7%)              3  (3.8%)             1  (4.2%)
    Scarring/hypertrophic scarring                   12 (11.0%)            3 (5.2%)               3 (3.8%)              0
     Wrinklin  g                                     2  (1.8%)              1  (1.7%)             0                     1 (4.2%)
 ' The reoperation   rate excludes planned secondary   surgeries. If more than  one reason for a given  reoperation was reported, the
 following hierarchy was used to determine a primary reason for that reoperation: rupture/deflation; infection; capsular
  contracture; necrosis/extrusion; hematoma/seroma; delayed wound healing; breast pain; implant malposition; wrinkling;
  palpability/visibility; asymmetry; ptosis; scarring; nipple complications; device injury/iatrogenic; breast cancer mass; biopsy;
  and patient request for style/size change.
 ' The implant was removed and found to be intact.




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          E.      Main Reasons for Implant Removal

          Table 8 below shows the main reasons for removal, stratified by indication, through 3 years.
          The rates are based on the total number of explantations for that indication.

  Table 8: Main Reasons for Implant Removal throu h 3 Years
   Reasons for Implant Removal     Primary        Revision-                  Primary           Revision-
    through 3 Years                        Augmentation     Augmentation     Reconstruction    Reconstruction
                                           N=45 Explants    N=30 Explants    N=41 Explants     N=11 Explants
                                           in 26 Patients   in 18 Patients   in 31 Patients    in 8 Patients
    Abnormal mammogram                        0             1 (3.3%)         0                 0
    Asymmetry                                 0             1 (3.3%)         10 (24.4%)        2 (18.2%)
    Breast pain                               2 (4.4%)      0                0                 0
    Capsular contracture II                   0             0                1 (2.4%)          0
    Capsular contracture III/IV               5 (11.1%)     10 (33.3%)       4 (9.8%)          3 (27.3%)
    Contralateral explantation                1 (2.2%)      0                0                 0
    Hematom   a                               0             0                1 (2.4%)          0
    Implant extrusion                         0             1 (3.3%)         2 (4.9%)           1 (9.1%)
    Implant malposition                       0             0                3 (7.3%)           0
    Implant rupture (suspected)               1 (2.2%)'     1 (3.3%)1        0                  0
    Infection                                 2 (4.4%)      1 (3.3%)         2 (4.9%)           0
    Lack of projection                        0             0                1 (2.4%)           0
    Muscle spasm                              0             0                1 (2.4%)           0
    Necrosis                                  2 (4.4%)      0                0                  0
    Patient request for style/size change     31 (68.9%)    14 (46.7%)       15 (36.6%)         2 (18.2%)
    Pocket tear                               0             0                0                  1 (9.1%)
    Recurrent breast cancer                   0             0                1 (2.4%)           0
    Scarring/hypertrophic scarring            0              1 (3.3%)        0                  0
    Symmastia                                 0             0                0                  2 (18.2%)
     Wrinkling                                 1 (2.2%)     0                0                  0
  'The implant was removed  and found to be intact.

           F.      Other Clinical Safety Outcomes

           Below is a summary of clinical findings from the Mentor Core Study with regard to
           connective tissue disease(CTD), CTD signs and symptoms, cancer, lactation complications,
           reproduction complications, and suicide. These issues, along with others, will be further
           evaluated beyond 3 years as part of a Mentor postapproval study of a large number of
           patients followed through 10 years.

           CTD Diagnoses
           Three primary augmentation patients and one revision-augmentation patient in the Mentor
           Core Study were reported to have a new diagnosis of CTD according to a rheumatologist.
           These diagnoses were Hashimoto's Thyroiditis at 2 years, two cases of rheumatoid arthritis
           at 2 and 3 years, and hypothyroidism at 2 years. One primary reconstruction patient and two
           revision-reconstruction patients in the Mentor Core Study were reported to have a new
           diagnosis of CTD according to a rheumatologist. These diagnoses were two cases of
           fibromyalgia, both at 1 year, and pyoderma gangrenosum at 1 year. It cannot be concluded
           that these CTD diagnoses were or were not caused by the implants because there was no
           comparison group of similar women without implants.

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        CTD Signs and Symptoms
        Data on over 100 self-reported signs and symptoms, including about 50 self-reported
        rheumatological symptoms, were collected. Compared to before having the implants,
        statistically significant increases were found for fatigue, exhaustion,joint swelling,joint
        pain, numbness of hands, frequent muscle cramps, and the combined categories of fatigue,
        pain, and fibromyalgia-like symptoms in primary augmentation patients and for joint pain in
        revision-augmentation and primary reconstruction patients. These increases were not found
        to be related to simply getting older over time. No statistically significant increases were
        found for any individual signs and symptoms in the revision-reconstruction patients.

        The Mentor Core Study was not designed to evaluate cause and effect associations because
        there is no comparison group of women without implants, and because other contributing
        factors, such as medications and lifestyle/exercise, were not studied. Therefore, it cannot be
        determined whether the increases were due to the implants or not, based on the Core Study.
        However, patients should be aware that they may experience an increase in these symptoms
        after receiving breast implants.

        Cancer
        There were no primary augmentation patients with new diagnoses of breast cancer through 3
        years in the Mentor Core Study. As previous breast cancer was an exclusion criteria for
        primary augmentation patients, there were no reports of breast cancer reoccurrence in this
        indication. There were no reports of new diagnoses or reoccurrence in revision-
        augmentation patients. For primary reconstruction patients, 1 (0.5%)patient had a new
        diagnosis of breast cancer and 4(1.7%) patients had a reoccurrence of breast cancer. For
        revision-reconstruction, 1 (1.7%)patient had a new diagnosis of breast cancer and 1 (1.7%)
        patient had a recurrence of breast cancer. There were no reports of other cancers, such as
        brain, respiratory, or cervical/vulvar, in any indication.

        Lactation Complications
        Two(8%)of the 25 primary augmentation patients who attempted to breast feed following
         breast implantation in the Mentor Core Study through 3 years experienced difficulty with
         breast feeding. For the 7 revision-augmentation patients who attempted to breast feed, 1
        (14%)had difficulty breast feeding. For primary reconstruction patients, of the 3 women
         who attempted to breastfeed, none experienced lactation difficulties. None of the revision-
         reconstruction patients attempted to breast feed.

         Reproduction Complications
         Eight(1.5%) of the primary augmentation patients in the Mentor Core Study reported a
         miscarriage through 3 years. For primary reconstruction patients, 2(0.9%) patients reported
         a miscarriage. There were no reports of miscarriage in revision-augmentation or revision-
         reconstruction patients.

         Suicide
         There were no reports of suicide in the primary augmentation, revision-augmentation,
         primary reconstruction, and revision-reconstruction indications in the Mentor Core Study
         through 3 years.




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         G.     Effectiveness Outcomes for Core Study

       Effectiveness was assessed by cup/circumferential chest size measurements, patient
       satisfaction, and QoL. Mentor's patient satisfaction was based on a single question of
       "Would the patient have this breast surgery again?" The QoL measures were the Rosenberg
       Self Esteem Scale, the Body Esteem Scale, the Tennessee Self Concept Scale(TSCS), the
       SF-36, and the Functional Living Index of Cancer.

         Primary Augmentation Patients
         For primary augmentation patients, 370(67%)out ofthe original 551 patients were included
         in the analysis of cup size at 3 years. Ofthese 370 patients, 359(97%)experienced at least
         one cup size increase; the average increase in circumferential chest size was 2.8 inches.

         At 3 years, 456(83%)of the 551 patients enrolled completed the patient satisfaction
         question. Ofthese 456 patients, 445(98%)stated to their surgeon that they would have the
         breast implant surgery again.

         With regard to QoL measures through 3 years, an increase in self esteem was noted for 45%
         of patients after primary breast augmentation on the Rosenberg Self Esteem Scale. There
         was no change on the overall score of the Body Esteem Scale, but the Sexual Attractiveness
         Subscale and the Chest Score of the Body Esteem Scale increased. There was no change in
         the SF-36 after primary augmentation. There was no change in the overall score for the
         TSCS.

         Revision-Augmentation Patients
         For revision-augmentation patients, 116(79%)out of the original 146 patients were included
         in the analysis at 3 years. For these 116 patients, the average increase in circumferential
         chest size was 2.4 inches.

         At 3 years, 118(81%)of the 146 patients enrolled answered the patient satisfaction
         question. Ofthese 118 patients, 111 (94%)stated to their surgeon that they would have the
         breast implant surgery again.

          With regard to QoL measures through 3 years, no change in self esteem was noted following
          revision-augmentation surgery on the Rosenberg Self Esteem Scale. No changes were noted
          in the Body Esteem scale. There were no changes in SF-36. There was no change in the
          overall TSCS score.

          Primary Reconstruction Patients
          For primary reconstruction patients, 183(73%)out of the original 251 patients were
          included in the analysis of circumferential chest size at 3 years. Ofthese 183 patients, the
          average increase in circumferential chest size was 1.3 inches.

          At 3 years, 189(75%)of the 251 patients enrolled answered the patient satisfaction
          question. Ofthese 189 patients, 185(98%)stated to their surgeon that they would have the
          breast implant surgery again.

          With regard to QoL measures through 3 years for primary reconstruction patients, a
          significant improvement in functioning was observed as measured by the Functional Living
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              Plaintiff Petitioner                     Brittany Billetts Vivian Aguiar Ann Delmanico Cornelia Ditto et ai
              DefendanURespondent                           NuSil Technoiogy L C a Delaware limited fiability company
                          DECLARATION OF DEMURRING OR MOVING PARTY REGARDING                                                           GASENUM9ER

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                                        the pleadings



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              Melissa J            Fassett                                                                                                               J
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                   interested parties in this action by the original and or true copy thereof enclosed in sealed
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                   See Attached Service List

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                         this Court at whose directian the service was made
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                           Brittany Billetts et al v Mentor Worldwide LLC et al
                      Santa Bernardino County 5uperior Court Case No CIVDS1905706




           Jennifer A Lenze                         Plaintiffs
           Amanda D McGee
           LENZE LAWYERS PLC
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           Manhattan Beach CA 90266

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           McGee@lenzelawyers com




           Lowell W Finson                          Plaintiffs
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           Marina del Rey CA 90292
           Lowe ll @finsonlawfirm com




           Monee Takla Hanna                        Mentor Worldwide LLC
           Tucker Ellis LLP
           515 S Flower Street 42nd Floor
           Los Angeles CA 9Q071 2223
           Monee hanna@tuckerellis   com




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        Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 125 of 176 Page ID
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                                                                                                                                               CIV-140
ATTORNEY OR PARTY WITHOUT ATTORNEY:                   STATE BAR NO:   135290                                          FOR COURT USE ONLY
NAME:  Melissa J. Fassett
FIRM NAME: Price, Postel& Parma LLP
STREET ADDRESS: 200 East Carrillo Street, Fourth Floor

CITY: Santa Barbara                                   STATE: CA    ZIP CODE: 93101
TELEPHONE NO.: 805-962-0011                          FAX NO.: 805-965-3978

E-MAIL ADDRESS: Mif@ppplaw.com
ATTORNEY FOR (Name):      NuSil LLC, NuSil Technology LLC
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
 STREET ADDRESS: 247 West Third Street
MAILING ADDRESS:
QITY AND ZIP CODE:      San Bernardino, CA 92415-0210
    BRANCH NAME:      Civil Division
Plaintiff/Petitioner: Brittany Billetts, Vivian Aguiar, Ann Delmonico, Cornelia Ditto et al
Defendant/Respondent: NuSil Technology LLC, a Delaware limited liability company
        DECLARATION OF DEMURRING OR MOVING PARTY REGARDING                                             CASE NUMBER:
                                                                                                       CIVDS1905706
                                          MEET AND CONFER

To the party filing a demurrer, motion to strike, or motion forjudgment on the pleadings: This form must be filed with the demurrer,
motion to strike, or motion forjudgment on the pleadings.
1. (Name of party making declaration): NuSil LLC, NuSit Technology LLC                                          was served with
   I x I a complaint             I   I   an amended complaint     I     I a cross-complaint

             an answer           I   I other (specify):

    in the above-titled action and is filing a         x    demurrer            motion to strike   I     I motion for judgment on the pleadings


                                                      DECLARATION (Choose either a. or b.)

2, a.        x    At least five days before the date a responsive pleading was due to be filed (if I am filing a demurrer or motion to strike)
                  or at least five days before filing a motion for judgment on the pleadings (if I am filing a motion for judgment on the
                  pleadings), I met and conferred with the party who filed the pleading I x I by telephone I             I in person   and we
                  did not reach an agreement resolving the matters raised by the demurrer, motion to strike, or motion for judgment on
                  the pleadings.


    b.   I       I The party who filed the pleading subject to demurrer, motion to strike, or motion for judgment on the pleadings failed to
                  respond to my request to meet and confer or otherwise failed to meet and confer in good faith.


    To provide additional information, please use form MC-031, Attached Declaration.




I declare under penalty of perjury under the laws of the State of California that the information above is true and correct.

Date: May 1, 2019

Melissa J. Fassett
                    (NAME OF PARTY OR ATTORNEY FOR PARTY)                                     (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)




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                                                                                                                                      Code of Civil Procedure,
Form Approved for Optional Use               DECLARATION OF DEMURRING OR MOVING PARTY                                                   §§ 430.41, 435.5,439
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CIV-140 [Rev. January 1, 2019]                                                                                                             www.courts.ca.gov
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            STATE OF CALIFORNIA, COUNTY OF SANTA BARBARA
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                  I am employed in the County of Santa Barbara, State of California. I am over the age of
        3 eighteen(18) and not a party to the within action. My business address is 200 East Carrillo Street,
          Fourth Floor, Santa Barbara, California 93101.
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                  On May 1, 2019,I served the foregoing document described as DECLARATION OF
        5 DEMURRING OR MOVING PARTY REGARDING MEET AND CONFER on all
          interested parties in this action by the original and/or true copy thereof enclosed in sealed
        6 envelopes, addressed as follows:

        7 See Attached Service List

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            :1 7   BY MAIL:. I placed the original and/or true copy in a sealed envelope addressed as
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                   indicated herein. I am readily familiar with the firm's practice of collection and
       10          processing documents for mailing. It is deposited with the U.S. postal service on that
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       15          by FedEx on that same day in the ordinary course of business.

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                   error was reported by the fax machine that I used. A copy ofthe record of the fax
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             ❑     BY E-MAIL: I caused to be e-mailed a true copy to the e-mail addresses listed herein.
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                   (STATE) Ideclare under penalty of perjury under the laws of the State of California that
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                   the foregoing is true and correct.
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             ❑     (FEDERAL) I hereby certify that I am employed in the office of a member ofthe Bar of
       22          this Court at whose direction the service was made.

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                                   SERVICE LIST

                Brittany Billetts, et al. v. Mentor Worldwide,LLC,et al.
           Santa Bernardino County Superior Court Case No. CIVDS1905706



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        insonlawfirm.com

 Attorneysfor Plaintiffs

                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

                           FOR THE COUNTY OF SAN BERNARDINO

 BRITTANY BILLETTS, an individual; VIVIAN         Case No.: CIVDS1905706
 AGUIAR, an individual; ANN DELMONICO, an
 individual; CORNELIA DITTO, an individual;       PLAINTIFFS' OPPOSITION TO
 LEAH JOHNSON,an individual;                      DEFENDANTS NUSIL,LLC AND NUSIL
                                                  TECHNOLOGY,LLC'S DEMURRER TO
                                                  PLAINTIFFS' COMPLAINT;
        Plaintiffs,
                                                  MEMORANDUM OF POINTS AND
                                                  AUTHORITIES;[PROPOSED]ORDER
        v.
                                                  Hearing: June 6, 2019
                                                  Time:    8:30 a.m.
 MENTOR WORLDWIDE,LLC; NUSIL,LLC;                 Dept.:   S24
 NUSIL TECHNOLOGY,LLC; and DOES 1-100,
 inclusive,
                                                  Complaint Filed: February 22, 2019
        Defendants.




                                              1
  PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL,LLC AND NUSIL TECHNOLOGY,LLC'S DEMURRER TO
                                         COMPLAINT


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                                   #:519



 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:

        Plaintiffs BRITTANY BILLETTS, an individual; VIVIAN AGUIAR,an individual; ANN
 DELMONICO,an individual; CORNELIA DITTO, an individual; LEAH JOHNSON,an individual

(hereinafter collectively "Plaintiffs"), do hereby oppose Defendant Nusil, LLC and Nusil Technology,

 LLC's (hereinafter "the Nusil Defendants") Demurrer to Plaintiffs' Complaint, being heard by the

 above-captioned court on June 6, 2019 at 8:30 a.m. in Department S24, located at 247 West Third Street

 San Bernardino, California 92415-0210.

        This Opposition will be based upon the facts and law set forth in the Memorandum of Points and
 Authorities served and filed herewith, the pleadings, records and files in this action and on such oral and

 documentary evidence as may be presented at the hearing of this matter.

 Dated: May 23, 2019                                  Respectfully submitted,:

                                                      LENZE LAWYERS,PLC


                                               By:
                                                      JENNIFER A. LENZE
                                                      Attorney for Plaintiffs




                                             2
  PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL,LLC AND NUSIL TECHNOLOGY,LLC'S DEMURRER TO
                                         COMPLAINT


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                        MEMORANDUM OF POINTS AND AUTHORITIES


                                         I.    INTRODUCTION
        Plaintiffs have made claims against NUSIL,LLC and NUSIL TECHNOLOGY,LLC

(hereinafter "the Nusil Defendants")for injuries that they allege were caused by Mentor's MemoryGel

 Silicone Gel breast implants. The claims made against the Nusil Defendants in the operative Complaint

 are for: Negligence and Negligence Per Se; Strict Products Liability — Failure to Warn; and Strict

 Products Liability — Manufacturing Defect. See Complaint filed February 22, 2019.

        In their Demurrer, the Nusil Defendants argue that each of Plaintiffs' claims are expressly and

 impliedly preempted and further demurred to certain ofthe claims on the basis that they are barred by

 the learned intermediary doctrine. See Nusil Defendants' Demurrer("Demurrer")to Plaintiffs'

 Complaint at p. 3-4.

        However, Plaintiffs have sufficiently alleged parallel state law claims which are not subject to

 either express or implied preemption.

        Furthermore, the factual allegations alleged in the Complaint are sufficient for purposes of

 overcoming a demurrer at this stage in the litigation. The Nusil Defendants, in their Demurrer, attempt

 to hold Plaintiffs to a higher pleading standard more appropriate for a motion for summary judgment,

 seemingly imposing on them the impossible burden of alleging facts and evidence which are solely in

 the hands of the Defendants before Plaintiffs have had any opportunity to conduct discovery.

        As such, the Nusil Defendants' Demurrer should be overruled in its entirety.


                                              II.    FACTS
        Plaintiffs commenced this action in the Superior Court of the State of California for the County

 of San Bernardino on February 22, 2019. In their Complaint,filed on February 22,2019, Plaintiffs allege

 injuries and damages arising from the implantation of Defendants' MemoryGel Silicone Gel Breast

 Implants. Compl.¶¶21-39. Plaintiffs allege claims against MENTOR WORLDWIDE,LLC,a company

 incorporated under the laws of the State of Delaware, with its principal place of business located at 201

 Mentor Drive, Santa Barbara, California, 93111, and with its headquarters located at 33 Technology

 Drive, Irvine, California, 92618; NUSIL, LLC, a limited liability company incorporated under the laws



  PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL,LLC AND NUSIL TECHNOLOGY,LLC'S DEMURRER TO
                                         COMPLAINT                          Ex. D - 129
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                                   #:521




 of the State of California, with its principal place of business located at 1050 Cindy Lane, Carpinteria,

 California 93013; and NUSIL TECHNOLOGY,LLC,a limited liability company incorporated under the

 laws of the State of Delaware, with its principal place of business located at 1050 Cindy Lane,

 Carpinteria, California, 93013.

        Plaintiffs assert the following claims against Defendants:(1)Negligence/Negligence Per Se;(2)

 Strict Products Liability — Failure to Warn; and (3) Strict Products Liability — Manufacturing Defect.

 Plaintiffs allege that Defendants misrepresented and failed to warn Plaintiffs and Plaintiffs' treating

 physicians.

                                      III.    LEGAL STANDARDS
                    A. Standard Governing a Demurrer

        Defendants blatantly misstate and misrepresent to this Court the standard for a demurrer. Indeed

 it is only the rare exception, and not the rule as the Nusil Defendants contend, that a Court will ever

 examine the plausibility of a Plaintiffs' allegations on demurrer. See Demurrer p. 11, 11.12-14.

        To the contrary, in testing the sufficiency of a Complaint as against a general demurrer, ifthe

 Complaint states facts constituting a cause of action entitling Plaintiff to any relief, the demurrer will be

 overruled. See Addiego v. Hill,(1965)238 Cal. App. 2d 842, 845. This Court is to "treat the demurrer

 as admitting all material facts properly pleaded, but not contentions, deductions or conclusions offact or

 law." In addition to the material facts set forth by the Plaintiffs, this Court may "also consider matters

 which may be judicially noticed." Evans v. City ofBerkeley(2006)38 Cal.4th 1, 6 (citations omitted).

 The issue to be decided is "whether the complaint states facts sufficient to constitute a cause of action."

 Code Civ. Proc., 430.10, subd.(e). To meet this standard, the Complaint must contain a statement of

 facts which establishes the elements of a cause of action, assuming the material allegations to be true.

 See Randi W. v. Muroc Joint Unified School Dist.(1997) 14 Ca1.4th 1066, 1075.

        In personal injury lawsuits "it suffices to plead causation succinctly and generally." Bockrath v.

 Aldrich Chem. Co., Inc.,(1999)21 Cal.4th 71, 78. Furthermore, in negligence cases, pleading standards

 rest "upon considerations of fairness and convenience in view of the situation of the opposing parties,

 and the rule permitting the pleading of negligence in general terms finds justification in the fact that the

 person charged with negligence may ordinarily be assumed to possess at least equal, if not superior,


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  PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL,LLC AND NUSIL TECHNOLOGY,LLC'S DEMURRER TO
                                         COMPLAINT                          Ex. D - 130
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 1    knowledge of the affair to that possessed by the injured party." Rannard v. Lockheed Aircraft Corp.,

 2 (1945)26 Ca1.2d 149, 157.

 3                         B. Federal Preemption Does Not Bar Parallel State Law Claims

 4            The primary argument presented by the Nusil Defendants in support ofthe pending demurrer is

 5    that the claims made in the Complaint are expressly preempted under the Medical Device Amendments

 6 ("MDA")to the Food, Drug and Cosmetics Act("FDCA"), specifically 21 U.S.C. § 360k(a), and Riegel

 7    v. Medtronic, Inc., 552 U.S. 312(2008)("Riegel"). The Nusil Defendants also argue that these claims

 8    are impliedly preempted under Buckman Co. v. Plaintiffs' Legal Comm., 531 U.S. 341 (2001)

 9 ("Buckman"). The Nusil Defendants' arguments are incorrect and governing authority clearly

10    establishes that the claims made in the Complaint should be allowed to proceed as they parallel, and do

11    not add to, the federal requirements.

12            As discussed in Riegel, a two-step analysis is used to determine whether a claim is subject to

13    express preemption under § 360k(a). The first step is to determine whether the FDA has established

14 "requirements" for the medical device at issue. See Riegel, 552 U.S. at 321. If so, the next step is to

15    determine whether the state law claims seek to impose requirements that relate to safety and effectiveness

16    which are "different from, or in addition to" the FDA requirements. Id. at 321-322. However, the fact

17    that certain claims made against a medical device manufacturer may be subject to express or implied

18    preemption does not mean that all such claims are preempted. As explained by the court in Coleman v.

19    Medtronic, Inc.(2014)223 Cal. App. 4th 413("Coleman"),"[s]tate law causes of action that provide 'a

20    damages remedy for claims premised on a violation of FDA regulations' are not expressly preempted if

21    they "'parallel,' rather than add to, federal requirements." 233 Cal. App. 4th at 425(quoting Riegel, 552

22    U.S. at 330).

23    / //

24
       "There is a presumption against federal preemption of state laws that operate in traditional state domains.'
25    Stengel v. Medtronic Inc., 704 F.3d 1224, 1227(9th Cir.2013)(en banc)("Stengel"). Claims against medical
      device manufacturers involve an area of traditional state law as'the historic police powers of the State include
26    the regulation of health and safety.' [Citation].'Throughout our history the several States have exercised their
      police powers to protect the health and safety of their citizens. Because these are "primarily, and historically, ...
27
      matter[s] of local concern," the "States traditionally have had great latitude under their police powers to legislate
28    as to the protection of the lives, limbs, health, comfort, and quiet of all persons."' [Citation]." Stengel, 704 F.3d
      at 1229.

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       PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL,LLC AND NUSIL TECHNOLOGY,LLC'S DEMURRER TO
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          In Buckman,the Court held that the MDA prohibits suits by private litigants which seek to enforce

 the provisions ofthe FDCA because all such actions "shall be by and in the name of the United States."

 21 U.S.C. § 337(a). Therefore, a claim is impliedly preempted to the extent that it seeks to enforce an

 exclusively federal requirement not grounded in traditional state tort law. 531 U.S. at 352-53.

          The Coleman court succinctly summarized the scope of preemption as follows: "The rule that

 emerges from these cases is that the MDA does not preempt a state-law claim for violating a state-law

 duty that parallels a federal-law duty under the MDA." Coleman, 223 Cal. App. 4th at 427.

                                          IV. ARGUMENT
                      A. Plaintiffs Have Sufficiently Alleged Parallel State Law Claims Which Are
                         Not Preempted
          The claims made in the Complaint are not expressly or impliedly preempted because they are all

 based on state law claims that parallel, but do not add to, the federal requirements imposed by the FDA.

 The Nusil Defendants agree that "Section 360k(a)[],'does not prevent a State from providing a damages

 remedy for claims premised on a violation of FDA regulations' because the state duties in such a case

 "parallel," rather than add to, federal requirements.' Riegel, 552 U.S. at 330." Demurrer at p. 14, 11. 13-

 15. Because all ofthe claims which are presented against the Nusil Defendants in the Complaint are such

 "parallel" claims', they are not subject to either express or implied preemption. Plaintiffs' allegations

 regarding violations ofthe FDCA are all based on parallel state law causes of action. Accordingly,these

 claims are not subject to implied preemption as they are not based solely on enforcement of a federal

 requirement.

          The Nusil Defendants attempt to avoid this reality by citing to federal cases which are not on

 point, as well as to non-binding Superior Court case decisions which are distinguishable on their facts,

 in support of the incorrect assertion that "[c]ourts across the country routinely find that failure-to-warn

 and manufacturing-defect claims involving breast implants .. . are subject to dismissal." See, e.g., Rowe

 v. Mentor Worldwide, 297 F. Supp. 3d 1288 (M.D. Fla. 2018)(claim for negligent manufacture not



 2 See, e.g., Complaint at ¶ 120("Defendants breached their duty under federal law, and the parallel state duty
 []"); Complaint at ¶ 121 ("[t]his duty is parallel to the state law duty []"); Complaint at ¶ 125 ("[t]his duty is
  parallel to the post-sale duty to warn under California law []"); Complaint at ¶ 135("Under parallel federal law
 []"); Complaint at ¶ [41 ("[Defendants] had a duty under Federal law, and a parallel duty under California law
 [1"); Complaint at ¶ 187("California imposes a parallel duty [1").

                                             4
  PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL,LLC AND NUSIL TECHNOLOGY,LLC'S DEMURRER TO
                                         COMPLAINT                          Ex. D - 132
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 1    preempted); Mize v. Mentor Worldwide LLC, 2018 WL 5085716 (Cal. Sup. Ct. Oct. 2, 2018)(Mize I);

 2    Mize v. Mentor Worldwide LLC,2018 WL 1364257(involving a pre-Post-Market Approval[PMA]study

 3    Plaintiff)(Mize II).

 4           The Nusil Defendants specifically rely on Mize I and Mize II, supra, in an attempt to persuade

 5    this Court to apply the same reasoning herein in order to dismiss Plaintiffs' claims. Again, not only are

6     Mize I and Mize II not binding precedent, but a Notice of Appeal has now been filed relating to the Mize

 7    IIdecision.

 8           In Coleman, supra, which is binding precedent, the plaintiff made claims related to a medical

 9    device asserting theories ofstrict liability and negligence, including allegations of manufacturing defects

10    and failure to warn. After reviewing the applicable law, the Coleman court reversed the trial court's

11    decision to sustain the demurrer to the causes of action for "(1) strict liability failure to warn based on a

12    failure to warn the FDA theory,(2) negligence, and (3) manufacturing defect." Id. at 319. That same

13    result should be reached in the present case and the Nusil Defendants' demurrer should be overruled.

14                   C.      Plaintiff'
                                      s Manufacturing Defect Claim is Sufficiently Pled

15           In their argument related to the claims for manufacturing defects, the Nusil Defendants again

16    ignore the binding decision in Coleman and instead seek to rely on decisions from federal courts and/or

17    Superior Court decisions which are not controlling. The Nusil Defendants do not appear to dispute that

18    a claim of manufacturing defect would be a "parallel" claim which would not be subject to express or

19    implied preemption. Instead, they again focus on the incorrect position that Plaintiffs have not alleged

20    sufficient "facts" to support this claim. These arguments are unpersuasive, misstate the facts alleged, and

21    are contrary to the holding in Coleman.

22           As the court noted in Coleman, there is a significant "concern with the concept of dismissing a

23    claim on preemption grounds without at least providing a plaintiff with some opportunity for discovery."

24    Coleman, 223 Cal. App. 4th at 436 (citing In re Medtronic, Inc., Sprint Fidelis Leads Products Liability

25    Litigation (8th Cir. 2010)623 F.3d 1200, 1205-06 and Bausch v. Stryker Corp.(7th Cir. 2010)630 F.3d

26    546, 556-57). The Coleman court adopted the reasoning in Bausch "that claims of negligence and strict

27    liability for a defective product can survive preemption based on general allegations that the company

28    violated federal law." 223 Cal. App. 4th at 436.


                                                           5
       PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL,LLC AND NUSIL TECHNOLOGY,LLC'S DEMURRER TO
                                              COMPLAINT                          Ex. D - 133
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                                        #:525




 1            The conclusion reached in Coleman clearly shows that the Nusil Defendants' Demurrer is due to

 2    be overruled. "In light ofthe reasoning in Sprint Fidelis and Bausch we conclude that it is premature to

 3    determine whether Coleman has alleged a state law requirement that is parallel to federal requirements

 4    so as to survive preemption. At the pleading stage, we can only conclude that the complaint alleges

 5    sufficient facts to state a cause ofaction for manufacturing defect,the issue of preemption will necessarily

 6    be addressed after Coleman has some opportunity to conduct discovery." 223 Cal. App. 4th at 436.

 7            As noted by the court in Bausch, courts "must keep in mind that much of the product-specific

 8    information about manufacturing needed to investigate such a claim fully is kept confidential by federal

 9    law," and that as such,"formal discovery is necessary before a plaintiff can fairly be expected to provide

10    a detailed statement of the specific bases for her claim." 630 F.3d 546, 558. This is particularly

11    applicable to cases involving IDE products, as information regarding the manufacturing process which

12    the applicant was required to follow is confidential and not publicly available.

13           The analysis set forth in Killen v. Stryker Spine is very instructive on this point. See No. 11-1508,

14    2012 WL 4498865 (W.D. Penn. Sept. 28, 2012)("Killen"). As that court reasoned, when ruling on an

15    argument similar to the one raised by the Nusil Defendants in the present case, "it is disingenuous to

16    identify the parallel claim exception to the Medical Device Act Amendments of 1976 ("MDA")

17    exemption as articulated in Riegel v. Medtronic, Inc., 552 U.S. 312, 128 S.Ct. 999, 169 L.Ed.2d 892

18 (2008), but foreclose a plaintiff any opportunity to prove the exception." Id. at *3. The court quoted

19    with approval from Burgos v. Satiety, No. 10—CV-2680, 2011 WL 1327684 (E.D.N.Y. Apr. 5, 2011):

20 "[P]laintiffs alleging state-law parallel claims based on a violation of a manufacturer's agreement with

21    the FDA often suffer from a unique disadvantage: the agreements that would provide the necessary

22    factual specificity are confidential, and available only to the defendants and the FDA.[A] plaintiff's

23    pleading burden should be commensurate with the amount of information available to them. Other courts

24    have similarly observed that it would be an injustice to penalize a plaintiff for alleging, through no fault

25    of her own, what turned out to be insufficient facts about the manufacturing process of a device that

26    caused injury. See Hofts v. Howmedica Osteonics Corp., 597 F.Supp.2d 830 (S.D.Ind.2009); see also

27    Bausch v. Stryker Corp., 630 F.3d 546 (7th Cir.2010)." Id. at *4 (bold added). The Killen court

28    concluded that because "Plaintiff advanced factual allegations that plausibly suggest the existence of


                                                           6
       PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL,LLC AND NUSIL TECHNOLOGY,LLC'S DEMURRER TO
                                              COMPLAINT                          Ex. D - 134
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 1    parallel claims, but does not have access to the confidential information to plead more specifically the

 2    alleged violation of FDA regulations, the court concludes the pleading standards are satisfied." Id. at *3

 3 (bold added).

 4             The Nusil Defendants seek to place an impossible burden on Plaintiffs by arguing that they must

 5    plead more specific facts to state a manufacturing claim against them,knowing that the information which

 6    the Nusil Defendants allege Plaintiffs should have included is confidential and known only to the

 7    Defendants and the FDA. Adopting the reasoning of the Nusil Defendants would insulate them from

 8    ever being subject to a claim related to the manufacturing process, as no plaintiff can allege facts based

 9    on information which is confidential.

10                    D.      Plaintiffs
                                       'Negligence and Negligence Per Se Claims Are Sufficiently Pled

11             In Coleman,the court held that the plaintiff had "alleged facts sufficient to state causes of action

12    in [] negligence based on Medtronic's failure to warn." 223 Cal. App. 4th at 431. In so ruling, the court

13    cited with approval to the decision of the Ninth Circuit in Stengel.3 The Coleman court reasoned that

14 "California recognizes the applicability of negligence per se in a broad range of scenarios, including

15    violation of federal law." Id. at 434. After analyzing California law on negligence per se, the Coleman

16    court concluded that "Medtronic does not present a persuasive argument as to why a negligence claim

17    resting on a theory of negligence per se would be subject to preemption. Because Coleman's negligence

18    claim based on Medtronic's failure to file adverse event reports is cognizable under California law and

19    is parallel to federal requirements, he may proceed on this theory." Id.

20             The court went further and held: "[w]e conclude that Coleman's negligence claim is not

21    preempted. The claim is rooted in traditional state tort law and exists regardless of the FDCA and its

22    regulations because the manufacturer of a medical device owes a duty of reasonable care to the consumer

23    of such a device even in the absence of FDA regulations." Id. at 435.

24                    E.      The Court Should Allow Amendment to Cure Any Pleading Defects

25             California Code ofCivil Procedure section 473 provides, in pertinent part, that "[t]he court may

26    . . . in its discretion,.. . allow, upon any terms as may be just, an amendment to any pleading or proceeding

27
      3
28     The Coleman court acknowledged that Stengel was not binding on it, but found its reasoning to be very
      persuasive. Id. at 429-30.

                                                     7
          PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL,LLC AND NUSIL TECHNOLOGY,LLC'S DEMURRER TO
                                                 COMPLAINT                           Ex. D - 135
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                                   #:527




  in other particulars ...." Additionally, Code ofCivil Procedure section 576 provides that "[a]ny judge,

  at any time before or after commencement oftrial, in furtherance ofjustice, and upon such terms as may

  be proper, may allow the amendment of any pleading or pretrial conference order."

         Case law further supports the California Legislature's policy of great liberality in permitting

  amendments to the pleadings at any stage in the proceedings. See, e.g., Hirs v. Superior Court(1981)

  1 18 Cal. App. 3d 486, 488-89 ("Trial courts are vested with the discretion to allow amendments to

  pleadings in furtherance ofjustice. That trial courts are to liberally permit such amendments, at any stage

  ofthe proceeding, has been established by policy in this state ... rest[ing] on the fundamental policy that

  `cases should be decided on their merits'(citation omitted)).

         Finally, California courts have also consistently held that it is an abuse of discretion if a Court

  sustains a demurrer without leave to amend if there is any reasonable possibility that a defect can be

  cured by amendment. See, e.g., Quelimane Co. v. Stewart Title Guaranty Co.(1998) 19 Ca1.4th 26, 39

 (if "there is a reasonable possibility that the defect can be cured by amendment, leave to amend must be

  granted"(citation omitted)(emphasis added)).

         Here, in the event this Court is inclined to sustain the Nusil Defendants' Demurrer on any of the

  causes of action, Plaintiffs request an opportunity to amend consistent with the facts stated herein. Ifthe

  Court believes that some elements of Plaintiffs' claim are inadequately pleaded, leave to amend should

  be granted so that any technical defect(s) can be cured.

                                            V.    CONCLUSION
         Based on the foregoing, Plaintiffs respectfully request that the Court overrule Defendants Nusil,

  LLC and Nusil Technology, LLC's Demurrer in its entirety. Alternatively, Plaintiffs request that this

  Court grant leave to amend the Complaint to cure any technical defects therein.

  Dated: May 23, 2019                                      Respectfully submitted,

                                                       LENZE LAWYERS,PLC




                                                 By:
                                                       JENNIFER A. LENZE
                                                       Attorney for Plaintiffs


                                                       8
   PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL, LLC AND NUSIL TECHNOLOGY,LLC'S DEMURRER TO
                                          COMPLAINT                           Ex. D - 136
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                                   #:528




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 lowell@finsonlawf irm.com
 Attorneysfor Plaintiff

                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                            FOR THE COUNTY OF SAN BERNARDINO

 BRITTANY BILLETTS, an individual; VIVIAN           Case No.: CIVDS1905706
 AGUIAR, an individual; ANN DELMONICO,an
 individual; CORNELIA DITTO, an individual;        [PROPOSED]ORDER OVERRULING
 LEAH JOHNSON,an individual;                       DEFENDANTS NUSIL,LLC AND NUSIL
                                                   TECHNOLOGY,LLC'S DEMURRER TO
                                                   PLAINTIFFS'COMPLAINT
          Plaintiffs,
                                                   Hearing: June 6, 2019
          v.                                       Time:    8:30 a.m.
                                                   Dept.:   S24
 MENTOR WORLDWIDE,LLC; NUSIL, LLC;
 NUSIL TECHNOLOGY,LLC; and DOES 1-100,
 inclusive,                                        Complaint Filed: February 22, 2019

          Defendants.



          AFTER FULL REVIEW AND CONSIDERATION of Plaintiffs' Memorandum of Points and

 Authorities in Opposition to Defendants Nusil, LLC and Nusil Technology, LLC's Demurrer to

 Plaintiffs' Complaint, it is hereby ORDERED that Defendants' Demurrer is OVERRULED.

          IT IS SO ORDERED.


 Dated:
                                        Honorable Donna Gunnell Garza
                                               t
                                      [PROPOSED]ORDER


                                                                                        Ex. D - 137
     Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 139 of 176 Page ID
                                        #:529



                                              PROOF OF SERVICE
 1                         STATE OF CALIFORNIA,COUNTY OF SAN BERNARDINO
 2                                          C.C.P. §§1011(a), 1013, 1013a
              I am employed in the county of Los Angeles, State of California. I am over the age of 18 and
 3    not a party to the within action; my business address is 1300 Highland Ave., Suite 207, Manhattan
      Beach, California 90266.
 4
               On May 23, 2019, I served the foregoing document described as
 5

 6      PLAINTIFFS' OPPOSITION TO DEFENDANTS NUSIL,LLC AND NUSIL
        TECHNOLOGY,LLC'S DEMURRER TO PLAINTIFFS'COMPLAINT; MEMORANDUM
 7      OF POINTS AND AUTHORITIES; DECLARATION OF JENNIFER A. LENZE IN
        SUPPORT THEREOF;[PROPOSED]ORDER
 8
      on the interested parties or attorneys for parties in this action who are identified on the attached service list, using the
 9
      following means of service:
10
      (X)      BY FEDERAL EXPRESS. I placed (x)the original or()a true copy of the foregoing document(s) in a sealed
               envelope or package designated by Federal Express with delivery fees paid or provided for, individually addressed
11             to each of the parties on the attached service list, and caused each such envelope or package to be delivered at 1300
               Highland Ave Ste 207, Manhattan Beach,CA 90266,to an authorized courier or driver authorized by Federal Express
12             to receive documents.
13             BY FACSIMILE. I caused()the original or()a true copy of the foregoing document(s)to be transmitted to each
      ()
               of the parties on the attached service list at the facsimile telephone number as last given by that person on any
14             document which he or she has filed in this action and served upon this office.
15             BY PERSONAL SERVICE. I placed()the original or()a true copy of the foregoing document(s) in sealed
      0
               envelopes individually addressed to each of the parties on the attached service list, and caused such envelope(s) to
16             be delivered by hand to the offices of each addressee.
17             BY E-MAIL. I caused the foregoing document(s) to be transmitted by e-mail electronic transmission to the e-mail
      0
               address as indicated on the attached service list as last given by that person on any document which he or she has
18             filed in this action and served upon this office.
19
      0        BY ELECTRONIC SERVICE: I provided the document listed above electronically through the
20             Case Anywhere system. I did not receive, within a reasonable time after the transmission, any
               electronic message or other indication that the transmission was unsuccessful.
21
      (X)      (State) I declare under penalty of perjury
22
               Executed on May 23, 2019, at Manhattan Beach, California.
23

24                                                                               &arcj5/1,es
                                                                                  Brandy Torres
25

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                                                                                                                       Ex. D - 138
     Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 140 of 176 Page ID
                                        #:530



                                          SERVICE LIST
 1                                  Billetts, et al v. Mentor, et al
 2                                   Case No. CIVDS1905706

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18

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     Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 141 of 176 Page ID
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MC TIC t             JUDGE filed by BRITTANY BILLETTS




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                                                                NEW FILE




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            Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 142 of 176 Page ID
                                               #:532
        t      t




    1       Jennifer A Lenze     CA Bar 246858                                          SUPERIOR COIiRT OF CALIFORNIA
                                      CA Bar 282034                                      COUNTY OF SAN BERNARDINO
            Amanda D McGee
    2                                                                                     SAN BERNARDINO DISTRICT
            LENZE LAWYERS PLC

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            Manhattan Beach CA 90266
    4       Tel 310 322 8800 F 310          322 8811                                  gy
            jlenze cr lenzelawyers com                                                       DANIELA VARGAS         PUTY
    5       mcgee a lenzelawyers com
            Attorneysfor JCCP Plaintiffs and Petitioners
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    9       Tel 602 377 2903 F 310 425 3278
            lowell a finsonlawfirm com
10          Attorneysfo JCCP Plaintiffs and Petitioners


11
                                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                COUNTY OF SAN BERNARDINO
12


13          MEMORYGEL IMPLANT CASES                                   Case No   CIVDS 1905706
            JCCP 5022
14


15          Rexina Mize et al v Mentor Wo ldwide LLC et
            al Los Angeles County Superior Court Case No
16          BC649083                                              NOTICE OF ORDER ASSIGNING
                                                                      COORDINATION MOTION NDGE AND
1           Nicole Vieira   et al v   Mentor Worldwide LLC   et       SETTING DATE FOR HEARING

1g          al Los Angeles County Superior Court Case No
            BC711663

19

            Mary Sewell et al v Mentor WoYldwide LLC et
20
            al Orange County Superio Court Case No 30
            2018 01040633 CU PL CXC
21


22          Brittany Billetts et al v Mentor Worldwide LLC
            et al San BeYnaYdino County Superior Court
23          Case No CIVDS1905706

24
            Tammi Jacob et al v Mentor Worldwide LLC et
25          al Los Angeles County Superior Court Case No
            19STCV06514
26

            THIS DOCUMENT RELATES TO
2
            Brittany Billetts et al v Mentor Worldwide LLC
28          et al San Berna dino County SupeYior Court
            Case No CIVDS1905706




                                                                  1

                   NOTICE OF ORDER ASSIGNING COORDINATION MOTION JUDGE AND SETTING DATE OF HEARING    Ex. D - 141
     Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 143 of 176 Page ID
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                                        #:533


 1   TO THE COURT AND ALL ATTORNEYS OF RECORD

 2           PLEASE TAKE NOTE that the Judicial Council of California has assigned a Coordination

 3   Motion Judge and set a hearing date of June 25 2019 at 2 00 p m in a coordination proceeding given
 4   the special title of MEMORYGEL IMPLANT CASES and numbered JCCP 5022 attached hereto as

 5    Exhibit A   This action is an included action pending coordination in JCCP 5022

 6

     Date   May 30   2019                                           r
                                                      L
 g                                               By
                                                 Jennifer A Lenze
 9                                               LENZE LAWYERS PLC
                                                 1300 Highland Ave Suite 207
10
                                                 Manhattan Beach CA 90266
11
                                                Attorneysfo JCCP Plaintiffs and PetitioneYs
12


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         NOTICE OF ORDER ASSIGNING COORDINATION MOTION JUDGE AND SETTING DATE OF HEARING
                                                                                        Ex. D - 142
     Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 144 of 176 Page ID
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                                               3
                                                                           Ex. D - 143
        NOTICE OF ORDER ASSIGNING COORDINATION MOTION JUDGE AND SETTING DATE OF HEARING
Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 145 of 176 Page ID
                                   #:535



                         CHAIR JUDICIAL COUNCIL OF CALIFOItNIA
                   455 Golden Gate Avenue San Francisco CA 94102 3688




     Coordination Proceeding
     Special Title Rule 3 550



     MEMORYGEL IMPLANT CASES                               JUDICIAL COUNCIL
                                                           COORDINATION PROCEEDING
                                                           NO   5022




                  4RDER ASSIGNING COORDINATION MOTION JUDGE
                              AND SETTING DATE FOR HEARING



                   THE ASSISTANT SUPERVISING JUDGE of Complex Litigation Courts

    of the Superior Court of California County of Los Angeles is hereby assigned pursuant
    to Code of Civil Procedure section 404 and rule 3 524 of the California Rules of Court to

    sit as coordination motion judge to determine whether the included actions listed below

    are complex   rule   3 502   and if so whether coordination of those actions is appropriate

    If the coordination motion judge grants the petition for coordination he or she must 1

    recommend a particular superior court for the site of the coordination proceedings

   pursuant to rule 3 530 and 2 select the reviewing court having appellate jurisdiction if
   the actions to be coordinated are within the jurisdiction of more than one reviewing court
   pursuant to rule 3 505 a



                                       INCLUDED ACTIONS


    COURT                                    NUMBER                       SHORT TITLE


    Superior Court   of   California         BC649083                    Mize et al v Mentor

    County of Los Angeles                                                 Worldwide LLC    et al




                                                                                         Ex. D - 144
Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 146 of 176 Page ID
                                   #:536



      COURT                                        NUMBER                     SHORT TITLE


      Superior Court    of   California            BC711663                   Vieira et al v Mentor
               of Los   Angeles                                               Worldwide LLC et al
      County

      Superior Court of California                 19STCV06514                Jacob et a1 v Mentor
      County   of   Los Angeles                                               Worldwide LLC et al


      Superior Court    of   California            30 2018 01040633           Sewell et a1 v Mentor
      County   of   Orange                                                    Worldwide LLC et al


      Superior Court    of   California            CIVDS1905706               Billetts et al v Mentor
      County   of   Santa Barbaza                                             Worldwide LLC et al




                     Pursuant to Code of Civil Procedure section 404 5 and rule 3 515 pending
    the determination of whether coordination is appropriate the coordination motion judge

    may stay any action being considered for or affecting an action being considered for
    coordination




                     Pursuant to rule 3 524 the clerk of each court in which an included action

    is pending is directed to file this order in the included action Also pursuant to rule 3 524
    a11 documents required to be submitted to the coordination motion judge must be

    transmitted to the court address designated below




                                          Assistant Supervising Judge of Complex Litigation Courts
                                          Superior Court of California
                                            County ofLos Angeles
                                          312 North Spring Street Dept 14
                                          Los Angeles CA 90012



                    Pursuant to rule 3 511 a copy of every notice of opposition application for

    stay order stay order notice of hearing on the petition and order granting or denying
    coordination must be transmitted to the Chair of the Judicial Council at the following
    address




                                                        2
                                                                                           Ex. D - 145
Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 147 of 176 Page ID
                                   #:537




                                    Chair Judicial Councii of California
                                    Attn   Appellate Court Services
                                    Civil Case Coordination
                                    455 Golden Gate Avenue Sth Floor
                                    San Francisco CA 94102 3688




                  Unless otherwise ordered by the coordination motion judge it is ordered
    that a hearing on the petition for coordination be set before the coordination motion judge
    at the time and place as follows




                                   June 25 2019 2 00 p m
                                   312 North Spring Street Dept 14
                                   Los Angeles CA 90012



                  Petitioners are directed to serve a copy ofthis order on 1 all parties to the
    included actions and 2 the clerk of each court for filing in each included action


    Dated   May          2019


                                                         T
                                                          Chief Justic of California and
                                                           Chair of the Judicial Council




                                                 3
                                                                                        Ex. D - 146
Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 148 of 176 Page ID
                                   #:538



                      CHAIR JUDICIAL COUNCIL OF CALlFORNIA

                                  PROOF OF SERV CE BY MAIL

         JUDICIAL COUNCIL COORDINATION NUMBER            CASE NUMBER

                               5022



     1    I am over the age of 18 and not a party to this legal action

    2     I am employed in the City and County of San Francisco and my business address is

                                       455 Golden Gate Avenue
                                       San Francisco CA 94102 3688

    3     On May 20 2019 i served a copy of the foilowing documents

                      ORDER ASSIGNIfVG COORDINATION MOTION JUDGE



                      ORDER ASSIGNING COORDINATION TRIAL JUDGE



                      ORDER ASSIGNING COORDINATION MOTION JUDGE
                      AND SETTING DATE FOR HEARING



                      AMENDED ORDER ASSlGNING COORDINATION MOTION JUDGE


                     AMENDED ORDER ASSIGNING COORDINATION TRIAL JUDGE


                     OTHER




         on the interested parties listed on the attached mailing list by placing a true copy enclosed in a
         sealed envelope with postage fully prepaid in the outgoing mailbox in my office in accordance with
         ordinary business practices for deposit with the United States Postal Service in San Francisco
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         carrespandence for maiting and under t at practice the above document is being deposited with
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         business


    4
         I declare under penalty of perjury under the laws of the State of California that the foregoing
         is true and correct



    Date Monday May 20 2019



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                                                                 Bernadine M Adams




                                                                                                 Ex. D - 147
    Case 5:19-cv-01026-AB-PLA Document 1-5 Filed 06/05/19 Page 149 of 176 Page ID
                                       #:539


                                   MAILING LIST


               JUDICIAL COUNCIL COORDINATION PROCEEDING NO            5022




Jennifer A Lenze
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LENZE LAWYERS PLC
1300 Highland Avenue Suite 207
Manhattan Beach CA 90266




Lowell W Finson
FINSON LAW FIRM
126 Westwind Mall
Marina Del   Rey   CA 90292




                                                                       Ex. D - 148
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                                       JUDICIAL COUNCIL OF CALIFORNIA

                                       455 Golden Gate Avenue       San Francisco California 94102 3688

                                      Telepltone 415 865 4200      Fax 415 865 4205    TDD 415 865 4272




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        Chief lustice of California
       Chair of the udicial Council
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                                                                                                                             Chief Depury Director

                                                                                                                           LAURA      E   SPEED

                                                                                                                      Director Leadership Support     emices




          May 20 2019




          Jennifer A Lenze
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            1300 Highland Avenue Suite 207
          Manhattan Beach California 90266


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            126 Westwind Mall
          Marina Del Rey California 90292

          Dear Counsel



          Enclosed is a copy of the order assigning a coordination motion judge and setting a hearing date
            of June 25 2019 at 2 00 p m in a coordination proceeding given the special title of
            MEMORYGEL IMPLANT CASES and numbered JCCP 5022


            Petitioner is directed to serve a copy ofthis order on all parties to the included actions and on the
            clerk of each court       in   which an   included   action   is pending for   filing in   the included   action




                                                                                                                           Ex. D - 149
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                                   #:541
Counsel     JCCP 5022

May 20 2019
Page 2




If we   can assist you   in any   a   please call me at 415 865 7629


Sin exely




   rnadine M Adams
Administrative Coordinator


 bma
Enclosure




                                                                       Ex. D - 150
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                                        #:542


 1                                             PROOF OF SERVICE


 2
            I the undersigned certify and declare that I am a citizen of the United States over 18 years o
 3
     age and not a party to the within action I am employed in the County of Los Angeles my busines
     address is 1300 Highland Ave     Suite 207 Manhattan Beach CA 90266
 4

              On May 30 2019 I served the foregoing document s described as
 5

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 6
     FOR HEARING

 7
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 g   follow

 9
     X         VIA ELECTRONIC MAIL to The Judicial Council I served the above listed document

10   to the Judicial Council at Coordination c jud ca gov

11   X      BY MAIL I placed Q the original or x a true copy of the foregoing document s in a seale
12
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     envelope to be deposited in the mail at I deposited such envelope in the mail at 1300 Highland Ave
13   Suite 207 Manhattan Beach California 90266          Each envelope was mailed with postage thereon full
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15
     that it is collected in the ordinary course of business

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     Case Anywhere system I did not receive within a reasonable time after the transmission any
17   electronic message or other indication that the transmission was unsuccessful

1g
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     Chair Judicial Council of California
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                                         #:543


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      2018 01040633 CU PL CXC
28

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      San Bernardino District Civil Division
      247 West Third Street

                                                     5
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                                        #:544


 1   San Bernardino CA 92415 0210
     Brittany Billetts et al v Mentor Worldwide LLC et al Case No CIVDS 1905706
 2
            I declare under penalty of perjury under the laws of the State of California that the foregoing i
 3   true and correct


 4                  Executed on May 30 2019 at Manhattan Beach California
 5

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                                                         B aird

                                                         Brandy Torres
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                                   #:545




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 Attorneysfor Plaintiffs

                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

                           FOR THE COUNTY OF SAN BERNARDINO

 BRITTANY BILLETTS, an individual; VIVIAN         Case No.: CIVDS1905706
 AGUIAR,an individual; ANN DELMONICO, an
 individual; CORNELIA DITTO, an individual;   PLAINTIFFS' OPPOSITION TO
 LEAH JOHNSON, an individual;                 DEFENDANT MENTOR WORLDWIDE,
                                              LLC'S DEMURRER TO PLAINTIFFS'
                                              COMPLAINT; MEMORANDUM OF
        Plaintiffs,
                                              POINTS AND AUTHORITIES;
                                              [PROPOSED]ORDER
        v.
                                                  Hearing: June 13, 2019
                                                  Time:    8:30 a.m.
 MENTOR WORLDWIDE,LLC; NUSIL, LLC;
                                                  Dept.:   S24
 NUSIL TECHNOLOGY,LLC; and DOES 1-100,
 inclusive,
                                                  Complaint Filed: February 22, 2019
        Defendants.                               Trial Date: None Assigned




                                              i
             PLAINTIFFS' OPPOSITION TO DEFENDANT MENTOR'S DEMURRER TO COMPLAINT


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 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:

         Plaintiffs BRITTANY BILLETTS, an individual; VIVIAN AGUIAR,an individual; ANN

  DELMONICO,an individual; CORNELIA DITTO, an individual; LEAH JOHNSON,an individual

(hereinafter collectively "Plaintiffs"), do hereby oppose Defendant Mentor Worldwide, LLC's

 (hereinafter "Mentor") Demurrer to Plaintiffs' Complaint, being heard by the above-captioned court on

  June 13, 2019 at 8:30 a.m. in Department S24, located at 247 West Third Street, San Bernardino,

  California 92415-0210.

         This Opposition will be based upon the facts and law set forth in the Memorandum of Points and

  Authorities served and filed herewith, the Declaration of Jennifer Lenze in support thereof, the

  pleadings, records and files in this action and on such oral and documentary evidence as may be

  presented at the hearing of this matter.

  Dated: May 31, 2019                                  Respectfully submitted,

                                                       LENZE LAWYERS,PLC


                                               By:
                                                       JENNIFER A. LENZE
                                                       Attorney for Plaintiffs




                                                      ii
               PLAINTIFFS' OPPOSITION TO DEFENDANT MENTOR'S DEMURRER TO COMPLAINT


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3     Addiego v. Hill,(1965)238 Cal. App. 2d 842, 845                                                         2
4     Ashcroft v. Iqbal, 556 U.S. 662(2009)                                                                   7

5     Bausch v. Stryker Corp.(2010)630 F.3d 546                                                               8
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8
      Bockrath v. Aldrich Chem. Co., Inc.,(1999)21 Cal.4th 71, 78                                             2
9     Browne v. McDonnell Douglas Corp.(N.D. Cal. 1980) 504 F. Supp. 514                                      6
10    Buckman Co. v. Plaintiffs'Legal Comm., 531 U.S. 341 (2001)                                              3

11    Burgos v. Satiety, No. 10—CV-2680,2011 WL 1327684(E.D.N.Y. Apr. 5, 2011)                               11
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14                                                                                                            3
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15    Doe v. City ofLos Angeles(2007)42 Cal.4th 531, 550                                                      7
16    Evans v. City ofBerkeley(2006) 38 Ca1.4th 1,6                                                           2

17    Funke v. Sorin Grp. USA, Inc., 147 F. Supp. 3d 1017, 1024(C.D. Cal. 2015)                               9
      Hirs v. Superior Court(1981) 118 Cal. App. 3d 486, 488-89                                              13
18
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20    In Kasel v. Remington Arms Co.(1972)24 Cal. App. 3d 711                                                 5
21    In re Medtronic, Inc., Sprint Fidelis Leads Products Liability Litigation (8th Cir. 2010)623 F.3d 120010
22    Killen v. Stryker Spine, No. 11-1508, 2012 WL 4498865(W.D. Penn. Sept. 28, 2012)                       11

23    McLaughlin v. Bayer Corporation (2017) C. A. No. 14-7315, 2017 WL 697047 at *6-8                        9
      McMahon v. Craig(2009) 176 Cal.App.4th 1502, 1508-1509, 97 Cal.Rptr.3d 555                              7
24
      Mize v. Mentor Worldwide LLC, 2018 WL 5085716 (Cal. Sup. Ct. Oct. 2, 2018)                              4
25
      Quelimane Co. v. Stewart Title Guaranty Co.(1998) 19 Cal. 4th 26, 39                                   13
26    Randi W. v. Muroc Joint Unified School Dist.(1997) 14 Cal.4th 1066, 1075                                2
27    Rannard v. Lockheed Aircraft Corp.,(1945) 26 Ca1.2d 149, 157                                            2
28    Riegel v. Medtronic, Inc., 552 U.S. 312(2008)                                                           3

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                  PLAINTIFFS' OPPOSITION TO DEFENDANT MENTOR'S DEMURRER TO COMPLAINT


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 Riegel v. Medtronic, Inc., 552 U.S. 312, 128 S.Ct. 999, 169 L.Ed.2d 892(2008)                        11

 Robinson v. Endovascular Techs., Inc., 190 Cal. App. 4th 1490, 1494(Cal. Ct. App. 2010)              11
 Rowe v. Mentor Worldwide, 297 F. Supp. 3d 1288(M.D. Fla. 2018)                                       4
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 21 C.F.R. § 803.50(a                                                                                 8
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 21 C.F.R. §§ 812.20                                                                                  11
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 21 U.S.C. § 360j(g)(3                                                                                11
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 Rules
 Code Civ. Proc., 430.10                                                                               2




                                                   v
             PLAINTIFFS' OPPOSITION TO DEFENDANT MENTOR'S DEMURRER TO COMPLAINT


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 1                            MEMORANDUM OF POINTS AND AUTHORITIES

2
                                               I.    INTRODUCTION
3
              Plaintiffs have made claims against MENTOR WORLDWIDE,LLC (hereinafter "Mentor")for
4
      injuries that they allege were caused by Mentor's MemoryGel Silicone Gel breast implants. The claims
5
       made against Mentor in the operative Complaint are for: Negligence and Negligence Per Se; Strict
6
      Products Liability — Failure to Warn; and Strict Products Liability — Manufacturing Defect. See
7
      Complaint filed February 22, 2019.
8
              In its Demurrer, Mentor argues that each of Plaintiffs' claims are expressly and impliedly
9
       preempted and further demurred to certain ofthe claims on the basis that they are barred by the learned
10
      intermediary doctrine. See Mentor's Demurrer ("Demurrer")to Plaintiffs' Complaint at p. 2.
11
              Plaintiffs have sufficiently alleged parallel state law claims which are not subject to either
12
      express or implied preemption.
13
              Furthermore, the factual allegations alleged in the Complaint are sufficient for purposes of
14
       overcoming a demurrer at this stage in the litigation. Mentor, in its Demurrer, attempts to hold
15
      Plaintiffs to a higher pleading standard more appropriate for a motion for summary judgment,
16
       seemingly imposing on them the impossible burden of alleging facts and evidence which are solely in
17
      the hands of the Defendants before Plaintiffs have had any opportunity to conduct discovery.
18
              As such, Mentor's Demurrer should be overruled in its entirety.
19

20                                                   II.    FACTS

21            Plaintiffs commenced this action in the Superior Court of the State of California for the County

22     of San Bernardino on February 22, 2019. In their Complaint, filed on February 22,2019, Plaintiffs allege

23     injuries and damages arising from the implantation of Defendants' MemoryGel Silicone Gel Breast

24     Implants. Compl. Illf 21-39. Plaintiffs allege claims against MENTOR WORLDWIDE,LLC,a company

25     incorporated under the laws of the State of Delaware, with its principal place of business located at 201

26     Mentor Drive, Santa Barbara, California, 93111, and with its headquarters located at 33 Technology

27     Drive, Irvine, California, 92618; NUSIL, LLC, a limited liability company incorporated under the laws

28     of the State of California, with its principal place of business located at 1050 Cindy Lane, Carpinteria,


                                                            t
                   PLAINTIFFS' OPPOSITION TO DEFENDANT MENTOR'S DEMURRER TO COMPLAINT
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 California 93013; and NUSIL TECHNOLOGY,LLC,a limited liability company incorporated under the

 laws of the State of Delaware, with its principal place of business located at 1050 Cindy Lane,

 Carpinteria, California, 93013.

        Plaintiffs assert the following claims against Defendants:(1)Negligence/Negligence Per Se;(2)

 Strict Products Liability — Failure to Warn; and(3) Strict Products Liability — Manufacturing Defect.

 Plaintiffs allege that Defendants misrepresented and failed to warn Plaintiffs and Plaintiffs' treating

 physicians.
                                      III.    LEGAL STANDARDS


                    A. Standard Governing a Demurrer

        Defendants blatantly misstate and misrepresent to this Court the standard for a demurrer. Indeed,

 it is only the rare exception, and not the rule as Defendant contends, that a Court will ever examine the

 plausibility of a Plaintiffs' allegations on demurrer. See Demurrer p. 3,11.20-22.


        To the contrary, in testing the sufficiency of a Complaint as against a general demurrer, ifthe

 Complaint states facts constituting a cause of action entitling Plaintiff to any relief, the demurrer will be

 overruled. See Addiego v. Hill,(1965)238 Cal. App. 2d 842, 845. This Court is to "treat the demurrer

 as admitting all material facts properly pleaded, but not contentions, deductions or conclusions of fact or

 law." In addition to the material facts set forth by the Plaintiff, this Court may "also consider matters

 which may be judicially noticed." Evans v. City ofBerkeley(2006)38 Ca1.4th 1, 6(citations omitted).

 The issue to be decided is "whether the complaint states facts sufficient to constitute a cause of action."

 Code Civ. Proc., 430.10, subd.(e). To meet this standard, the Complaint must contain a statement of

 facts which establishes the elements of a cause of action, assuming the material allegations to be true.

 See Randi W. v. Muroc Joint Unified School Dist.(1997) 14 Ca1.4th 1066, 1075.

         In personal injury lawsuits "it suffices to plead causation succinctly and generally." Bockrath v.

 Aldrich Chem. Co., Inc.,(1999) 21 Ca1.4th 71, 78. Furthermore, in negligence cases, pleading standards

 rest "upon considerations of fairness and convenience in view of the situation of the opposing parties,

 and the rule permitting the pleading of negligence in general terms finds justification in the fact that the

 person charged with negligence may ordinarily be assumed to possess at least equal, if not superior,


                                                       2
               PLAINTIFFS' OPPOSITION TO DEFENDANT MENTOR'S DEMURRER TO COMPLAINT
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 1    knowledge ofthe affair to that possessed by the injured party." Rannard v. Lockheed Aircraft Corp.,

2 (1945)26 Cal.2d 149, 157.

3                          B. Federal Preemption Does Not Bar Parallel State Law Claims

4             The primary argument presented by Mentor in support ofthe pending demurrer is that the claims

5     made in the Complaint are expressly preempted' under the Medical Device Amendments("MDA")to

6     the Food, Drug and Cosmetics Act("FDCA"),specifically 21 U.S.C. § 360k(a), and Riegel v. Medtronic,

7     Inc., 552 U.S. 312(2008)("Riegel"). Mentor also argues that these claims are impliedly preempted under

8     Buckman Co. v. Plaintiffs' Legal Comm., 531 U.S. 341 (2001)("Buckman"). Mentor's arguments are

9     incorrect and governing authority clearly establishes that the claims made in the Complaint should be

10    allowed to proceed as they parallel, and do not add to, the federal requirements.

11            As discussed in Riegel, a two-step analysis is used to determine whether a claim is subject to

12    express preemption under § 360k(a). The first step is to determine whether the FDA has established

13 "requirements" for the medical device at issue. See Riegel, 552 U.S. at 321. If so, the next step is to

14    determine whether the state law claims seek to impose requirements that relate to safety and effectiveness

15    which are "different from, or in addition to" the FDA requirements. Riegel, 552 U.S. at 321-22.

16    However, the fact that certain claims made against a medical device manufacturer may be subject to

17    express or implied preemption does not mean that all such claims are preempted. As explained by the

18    court in Coleman v. Medtronic, Inc.(2014) 223 Cal. App. 4th 413 ("Coleman"), "[s]tate law causes of

19    action that provide 'a damages remedy for claims premised on a violation of FDA regulations' are not

20    expressly preempted if they "'parallel,' rather than add to, federal requirements." 233 Cal. App. 4th at

21    425 (quoting Riegel, 552 U.S. at 330).

22            In Buckman,the Court held that the MDA prohibits suits by private litigants which seek to enforce

23    the provisions of the FDCA because all such actions "shall be by and in the name of the United States."

24
       "There is a presumption against federal preemption of state laws that operate in traditional state domains."
25    Stengel v. Medtronic Inc., 704 F.3d 1224, 1227(9th Cir. 2013)(en banc)("Stengel"). Claims against medical
      device manufacturers involve an area of traditional state law as "'the historic police powers of the State include
26    the regulation of health and safety.' [Citation]. 'Throughout our history the several States have exercised their
      police powers to protect the health and safety of their citizens. Because these are "primarily, and historically, ...
27
      matter[s] of local concern," the "States traditionally have had great latitude under their police powers to legislate
28    as to the protection of the lives, limbs, health, comfort, and quiet of all persons."' [Citation]." Stengel, 704 F.3d
      at 1229.

                                                     3
                    PLAINTIFFS' OPPOSITION TO DEFENDANT MENTOR'S DEMURRER TO COMPLAINT
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 21 U.S.C. § 337(a). Therefore, a claim is impliedly preempted to the extent that it seeks to enforce an

 exclusively federal requirement not grounded in traditional state tort law. See 531 U.S. at 352-53.

          The Coleman court succinctly summarized the scope of preemption as follows: "The rule that

 emerges from these cases is that the MDA does not preempt a state-law claim for violating a state-law

 duty that parallels a federal-law duty under the MDA." Coleman, 223 Cal. App. 4th at 427.
                                               IV.      ARGUMENT

                       A. Plaintiffs Have Sufficiently Alleged Parallel State Law Claims Which Are
                          Not Preempted
          The claims made in the Complaint are not expressly or impliedly preempted because they are all

 based on state law claims that parallel, but do not add to, the federal requirements imposed by the FDA.

 Mentor agrees that "Section 360k(a)[], 'does not prevent a State from providing a damages remedy for

 claims premised on a violation of FDA regulations' because the state duties in such a case "parallel,"

 rather than add to, federal requirements.' Riegel, 552 U.S. at 330." Demurrer at p. 5, 11.2-4. Because

 all of the claims which are presented against Mentor in the Complaint are such "parallel" claims2, they

 are not subject to either express or implied preemption. Plaintiffs' allegations regarding violations ofthe

 FDCA are all based on parallel state law causes of action. Accordingly, these claims are not subject to

 implied preemption as they are not based solely on enforcement of a federal requirement.

          Mentor attempts to avoid this reality by citing to federal cases which are not on point, as well as

 to non-binding Superior Court case decisions which are distinguishable on their facts, in support of the

 incorrect assertion that"[c]ourts across the country routinely find that failure-to-warn and manufacturing-

 defect claims involving breast implants . . . are subject to dismissal." See, e.g., Rowe v. Mentor

  Worldwide, 297 F. Supp. 3d 1288 (M.D. Fla. 2018)(claim for negligent manufacture not preempted);

 Mize v. Mentor Worldwide LLC, 2018 WL 5085716(Cal. Sup. Ct. Oct. 2,2018)(Mize 1); Mize v. Mentor

  Worldwide LLC, 2018 WL 1364257 (involving a pre-Post-Market Approval [PMA] study Plaintiff);

  Cashen v. Johnson & Johnson, 2018 WL 6809093(ALCL case).


  2See, e.g., Compl. ¶ 120("Defendants breached their duty under federal law, and the parallel state duty []");
  Compl. ¶ 121 ("[t]his duty is parallel to the state law duty []"); Compl. ¶ 125 ("Whis duty is parallel to the post-
  sale duty to warn under California law []"); Compl. ¶ 135 ("Under parallel federal law []"); Compl. ¶ 141
 ("[Defendants] had a duty under Federal law, and a parallel duty under California law []"); Compl. ¶ 187
 ("California imposes a parallel duty []").

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        Mentor specifically relies on Mize Iand Mize II, supra, in an attempt to persuade this Court to

 apply the same reasoning herein in order to dismiss Plaintiffs' claims. Again, not only are Mize I and

 Mize II not binding precedent, but a Notice of Appeal has now been filed relating to the Mize II decision.

        In Coleman, supra, which is binding precedent, the plaintiff made claims related to a medical

 device asserting theories of strict liability and negligence, including allegations of manufacturing defects

 and failure to warn. After reviewing the applicable law, the Coleman court reversed the trial court's

 decision to sustain the demurrer to the causes of action for "(1) strict liability failure to warn based on a

 failure to warn the FDA theory,(2) negligence, and (3) manufacturing defect." Id. at 319. That same

 result should be reached in the present case and Mentor's demurrer should be overruled.

                 1.     California Law Applies to All Plaintiffs'Claims, Regardless of Their States of

                        Domicile, and Plaintiffs Have Alleged Sufficient Parallel California State Law

                        Claims

        Mentor further argues that because Plaintiffs Vivian Aguiar and Cornelia Ditto are domiciled in

 a state which allegedly does not recognize a state-law claim for failure to report adverse events, Plaintiff

 Aguiar and Ditto therefore cannot assert a failure-to-report claim.

        Generally speaking, California courts will apply California substantive laws "unless a party

 litigant timely invokes the law of a foreign state. In such event he must demonstrate that the latter rule of

 decision will further the interest ofthe foreign state and therefore that is an appropriate one for the forum

 to apply to the case before it." Chen v. L.A. Truck Centers, LLC(2017)7 Cal. App. 5th 757,766(quoting

 Hurtado v. Superior Court(1974) 11 Ca1.3d 574,581). California courts will only apply a foreign state's

 law if a party files a choice of law motion and persuades the court the law of a foreign state should apply.

 See Hurtado v. Superior Court(1974) 11 Cal.3d 574, 581.

         Additionally, "Wile parties to the action are relevant to the determination of the jurisdictions'

 relative interests." Chen, supra, at 767. In Kasel v. Remington Arms Co., cited by Mentor, Plaintiff, a

 California resident, was injured in Mexico by a defective shotgun shell manufactured in Mexico. See

(1972) 24 Cal. App. 3d 711. Despite the fact that Mexico was the place of manufacture, purchase, use

 of, and injury by the defective shotgun shell, the Court found it to be significant that no Mexican nationals

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 1    were litigants in the action. The Court of Appeal ultimately upheld the trial Court's application of

2     California law.

3             The facts here are distinguishable from those of Kasel in that, here, Plaintiffs allege causes of

4     of action against California LLCs. Compl. TT 6, 8, 9. California law will be the appropriate choice of

5     law in this instance to the claims asserted by all Plaintiffs, even Plaintiffs Aguiar and Ditto who are

6     domiciled in another state. See, e.g., Chen v. L.A. Truck Centers, LLC(2017) 7 Cal. App. 5th 757; see

7     also Browne v. McDonnell Douglas Corp. (N.D. Cal. 1980) 504 F. Supp. 514. Furthermore, the

8     Complaint sufficiently alleges facts to support parallel state law failure-to-report claims by all Plaintiffs.

9     Seefn. 2, supra.

10            C.               s Failure to Warn Claims Are Proper
                      Plaintiff'

11                      1.     Plaintiffs'Failure to Warn Allegations Are Sufficiently Pled

12            Plaintiffs allege that Mentor failed to report adverse event information to the FDA. Compl.

13    121, 122, 129, 130, 133, 134, 135, 136, 137, 139, 154, 165, 174, 176, 185, 186, 189, 200, 205, 206,219.

14    This is sufficient at the demurrer stage to state a parallel claim for failure to warn under the analysis set

15    forth in Coleman.

16            Mentor misstates the allegations set forth in the Complaint by implicitly asserting that Plaintiffs

17    seek to recover "based on the theory that Mentor had a duty to provide warnings to their physicians that

18    were different from those approved by the FDA." Demurrer at p. 7, 11. 9-10. Plaintiffs make no such

19    claim as they seek to recover only under parallel claims.3

20            Mentor also seeks to place an evidentiary burden on Plaintiffs with regard to their claim offailure

21    to report adverse events which does not exist under the law. Mentor improperly seeks to conflate the

22    burden of proof applicable in federal court with the pleading burden at the demurrer stage in California

23    courts. Mentor bases its argument on the claim that "[a]pplying Coleman, federal courts routinely

24    dismiss failure-to-report claims where the plaintiff does not identify actual instances of unreported

25
      3 Mentor also asserts that it cannot be liable for violating a duty to revise its labeling through the Changes Being
26    Effected("CBE") procedure because "[t]hat procedure is permissive, not mandatory." (Demurrer at p. 7, II. 23-
      24). Mentor cites no authority which supports this position and the California Supreme Court recently
27
      addressed this very question in discussing the duty of a brand-name drug manufacturer and ruled that the law
28    allowed a manufacturer to unilaterally update a label, without waiting for FDA preapproval. T.H. v. Novartis
      Pharmaceuticals Corp„(2017)4 Cal.5th 145, 159, 407 P.3d 18226 Cal.Rptr.3d 336.

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 adverse events." Demurrer at p. 10, 11. 14-16 (bold added). The fact that a claim may not survive a

 Federal Rule of Civil Procedure 12(b)(6) motion to dismiss under the heightened pleading requirements

 of Ashcroft v. Iqbal, 556 U.S. 662(2009) and Bell Atlantic Corp. v. Twombly, 550 U.S. 544(2007) does

 not govern whether that claim is sufficient under California pleading standards.

        A demurrer tests the legal sufficiency ofthe complaint to determine whether the allegations state

 a legally cognizable cause of action and assumes the truth ofthe factual allegations pleaded. See Siliga

 v. Mortgage Electronic Registration Systems, Inc.(2013) 219 Cal. App. 4th 75, 81. The sole inquiry is

 "whether the complaint states a cause of action as a matter of law." McMahon v. Craig(2009) 176 Cal.

 App. 4th 1502, 1508-09. The "complaint ordinarily is sufficient if it alleges ultimate rather than

 evidentiary facts," Doe v. City ofLos Angeles(2007) 42 Cal.4th 531, 550, and allegation of "ultimate

 fact H must be accepted as true for purposes of ruling on a demurrer." City ofIndustry v. City ofFillmore

(2011) 198 Cal. App. 4th 191, 212.

        In their Complaint, Plaintiffs allege that "Mentor failed to report adverse events from the studies

 it was required to conduct" and that "had Mentor complied with its obligation to report this newly

 acquired information[,] . . . [this] information would have been provided to the FDA and would have

 been available to Plaintiffs' treating physicians, who would have communicated that information to

 Plaintiffs." Compl. 11 129, 130. These allegations are sufficient at the demurrer stage under California

 law. While the Coleman court noted that the plaintiff would "ultimately" have to prove that a different

 warning would have reached the treating physician in time to prevent his injury, it found this was not the

 burden at the demurrer stage. "However, at this stage of the proceedings, taking the allegations of the

 Complaint as true, Coleman has alleged facts sufficient to state causes of action in strict liability and

 negligence based on Medtronic's failure to warn." Coleman,223 Cal. App. 4th at 429-30. The remainder

 of Mentor's arguments seeking to place burdens on Plaintiffs are equally flawed. In conclusion, Plaintiffs

 have alleged facts sufficient to present claims for failure to warn.
                2.      Plaintiffs' Claims Grounded in Mentor's Failure to Conduct Post-Market

                        Surveillance Are Not Preempted

         As set forth in the Complaint, Mentor's failure to meet the federal requirements for proper post-

  market surveillance violate a plethora of federal regulations including 21 CFR 812.46, 21 CFR


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 812.150(b), 21 CFR 814.39(d), 21 U.S.C. § 360i, 21 CFR 803.50, 21 CFR 820.198(a). Compl. rff 185,

 186, 188, 190, 191. Because the claims properly allege actions that violate both federal requirements

 and state negligence and strict liability laws, such claims are not preempted. See, e.g., Bausch v.

 Stryker Corp.(2010)630 F.3d 546, 555 ("federal law is clear: for manufacturers of Class III medical

 devices, the Quality System Regulations and Current Good Manufacturing Practices adopted by the

 FDA under its delegated regulatory authority are legally binding requirements 'under this chapter.' 21

 C.F.R. § 820.1. 'The failure to comply with any applicable provision in this part[ofthe regulations]

 renders a device adulterated under section 501(h) ofthe act. Such a device, as well as any person

 responsible for the failure to comply, is subject to regulatory action.' 21 C.F.R. § 820.1(c).").

        In another Class III medical device action against Bayer Corporation relating to its Essure

 product, the court held that plaintiffs' claims at issue for "breaching a duty to have in place a reasonable

 risk management procedure" survived dismissal (aside from a single averment that the device should

 have been removed from the market as a result of Bayer's risk management failures which the court

 held was preempted):

                The SAC alleges that Bayer breached its duties to have in place risk
                management plans that effectively provided for (1) identification
                and consideration of all adverse reports about Essure, including
                internal procedures to review complaints and event reports, (2)
                monitoring of Essure to identify additional complaints or adverse
                health consequences,(3) additional investigation of Essure's risks,
                and(4)comprehensive risk analysis. (SAC ¶ 132). The SAC alleges
                that the duties to have such plans are embodied in federal
                requirements in the Code of Federal Regulations, federal statutes,
                and the PMA, including requirements that a manufacturer
                "'establish and maintain adverse event files" (id. ¶ 133(c))(quoting
                21 C.F.R. § 803.1(a)); "'establish and maintain procedures for
                receiving, reviewing, and evaluating complaints by a formally
                designated unit'"'review and evaluate all complaints to determine
                whether an investigation is necessary,' and investigate certain
                specified complaints (id. ¶ 133(o)(quoting 21 C.F.R. § 820.198(a)-
                (c)); "'conduct analysis, testing, or other evaluation' to determine
                whether Essure "'may have . . . contributed to a death or serious
                injury,' (id. ¶ 133(e)(quoting 21 C.F.R. § 803.50(a), (b)(1)(iii));
                and "`conduct[] an investigation ofeach event [in which Essure may
                have contributed to a death or serious injury] and evaluat[e] the
                cause of the event'(id.)(quoting 21 C.F.R. § 803.50(b)(3)). The
                SAC alleges that the breaches of these duties caused Plaintiffs'
                 injuries because Bayer's negligent risk management resulted in its
                failure to report "thousands of adverse events and complaints for
                 migrations, perforations, pregnancies, device failures and


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 1                   malfunctions" to the FDA, which, in turn, meant that the adverse
                     events and complaints were never disclosed to Plaintiffs, who never
2                    would have had Essure implanted had they known of the full
                     magnitude of adverse events and complaints. (See id. ¶ 136).
3

4             McLaughlin v. Bayer Corporation (2017) C. A. No. 14-7315, 2017 WL 697047 at *6-8.

5             This Court should overrule Mentor's Demurrer on their post-market surveillance claims for the

6     same reason that the McLaughlin court refused to dismiss claims like those now being alleged by

7     Plaintiffs herein. Plaintiffs' claims are well-pleaded and specify each of the federal regulations

8     violated. Furthermore, the claims are consistent with Ninth Circuit and California precedent governing

9     negligence claims against Class III medical device manufacturers such as the Defendants. See, e.g.,

10    Coleman, supra.

11            Coleman's failure to warn claim based on Medtronic's failure to file adverse event reports with

12    the FDA is not subject to express or implied preemption. Mentor inexplicably asserts that in Coleman

13    the court mandated that "to prevail on failure-to-report claim, plaintiff must show that adverse events

14    would have reached her doctor and prevented her injury." Demurrer at p. 9,11. 19-20. This assertion is

15    incorrect and the actual holding in Coleman supports the claim made in the Complaint that a claim based

16    on the failure to file adverse event reports with the FDA is not subject to express or implied preemption.

17    Coleman, 223 Cal. App. 4th at 428. The Coleman court concluded that to the extent Coleman's claims

18    for failure to warn were based on the defendant's failure to file adverse event reports with the FDA,they

19     were not subject to express or implied preemption and that same result should be reached in the present

20    case. The very case Mentor cites in its Demurrer, Funke v. Sorin Grp. USA, Inc., 147 F. Supp. 3d 1017,

21     1024 (C.D. Cal. 2015) states: "[b]oth Stengel and Coleman demonstrate that a claim alleging a device

22     manufacturer's failure to warn the FDA of something FDA regulations required it to warn about is not

23     preempted—such a failure is both contrary to FDA regulations and California tort law." Unlike the

24     plaintiff's claims in Funke, in the present case there are allegations regarding the duty under both federal

25     law and California law which Mentor violated.

26            The reporting of adverse events is the end result of the post-market surveillance for a Class III

27     medical device manufacturer.       Indeed, post-market surveillance and adverse event reporting are

28     inextricably intertwined. In short, if Mentor fails to conduct post-market surveillance, it will be unable


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 to gather, review, and report adverse events to the FDA as it is required to do. Mentor cannot adequately

 comply with reporting requirements unless it engages in post-market surveillance to determine whether

 adverse events are occurring, whether those events are device related, as well as the frequency with which

 the adverse events are occurring. It would render those federal regulations toothless to attempt to

 disassemble the post-market surveillance responsibilities (including reporting) in the way that Mentor

 suggests. The reality is that the FDA has implemented a comprehensive, integrated scheme requiring

 post-market surveillance, complaint handling, and reporting for Class III medical device manufacturers,

 and the violation of any or all of those provisions can form the basis of a non-preempted claim against

 such manufacturers.

                    D. Plaintiff'
                                s Manufacturing Defect Claim Is Sufficiently Pled

        In its argument related to the claims for manufacturing defects, Mentor again ignores the binding

 decision in Coleman and instead seeks to rely on decisions from federal courts and/or Superior Court

 decisions which are not controlling. Mentor does not appear to dispute that a claim of manufacturing

 defect would be a "parallel" claim which would not be subject to express or implied preemption. Instead

 it again focuses on the incorrect position that Plaintiffs have not alleged sufficient "facts" to support this

 claim. These arguments are unpersuasive, misstate the facts alleged, and are contrary to the holding in

 Coleman.

         As the court noted in Coleman, there is a significant "concern with the concept of dismissing a

 claim on preemption grounds without at least providing a plaintiff with some opportunity for discovery."

 Coleman, 223 Cal. App. 4th at 436 (citing In re Medtronic, Inc., Sprint Fidelis Leads Products Liability

 Litigation (8th Cir. 2010)623 F.3d 1200, 1205-06 and Bausch v. Stryker Corp.(7th Cir. 2010)630 F.3d

 546, 556-57). The Coleman court adopted the reasoning in Bausch "that claims of negligence and strict

 liability for a defective product can survive preemption based on general allegations that the company

 violated federal law." 223 Cal. App. 4th at 436.

         The conclusion reached in Coleman clearly shows that Mentor's Demurrer is due to be overruled.

 "In light of the reasoning in Sprint Fidelis and Bausch we conclude that it is premature to determine

 whether Coleman has alleged a state law requirement that is parallel to federal requirements so as to

 survive preemption. At the pleading stage, we can only conclude that the complaint alleges sufficient


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 facts to state a cause of action for manufacturing defect, the issue of preemption will necessarily be

 addressed after Coleman has some opportunity to conduct discovery." 223 Cal. App. 4th at 436.

        Here,the Complaint sets forth facts detailing numerous requirements governing Mentor's conduct

 during the IDE process. Compl. T¶ 50, 51, 53, 54, 142, 143, 185, 194, 209, 218. More specifically, to

 obtain IDE approval, a manufacturer must submit an application to the FDA containing:(1) a complete

 report of prior device investigations; (2) a detailed description of the manufacturing procedures and

 quality controls used in device production;(3)copies of all device labeling; and (4) detailed information

 about the proposed clinical investigation including,"an analysis of all risks involved" and "a full set of

 written procedures for monitoring the investigation, including record and report maintenance." 21 U.S.C.

 § 360j(g)(3); 21 C.F.R. §§ 812.20, 812.25, 812.27. Once the IDE application has been approved, the

 FDA prohibits any deviation from the investigational plan, design, manufacturing techniques, clinical

 protocol, warnings, or consent form which could potentially affect clinical subjects unless the FDA first

 approves the change. See Robinson v. Endovascular Techs., Inc.(Cal. Ct. App. 2010) 190 Cal. App. 4th

 1490, 1494 (citing 21 C.F.R. § 812.35).

        As noted by the court in Bausch, courts "must keep in mind that much of the product-specific

 information about manufacturing needed to investigate such a claim fully is kept confidential by federal

 law," and that as such,"formal discovery is necessary before a plaintiff can fairly be expected to provide

 a detailed statement of the specific bases for her claim." 630 F.3d 546, 558. This is particularly

 applicable to cases involving IDE products, as information regarding the manufacturing process which

 the applicant was required to follow is confidential and not publicly available.

        The analysis set forth in Killen v. Stryker Spine is very instructive on this point. See No. 11-1508,

 2012 WL 4498865 (W.D. Penn. Sept. 28, 2012)("Killen"). As that court reasoned, when ruling on an

 argument similar to the one raised by Mentor in the present case,"it is disingenuous to identify the parallel

 claim exception to the Medical Device Act Amendments of 1976("MDA")exemption as articulated in

 Riegel v. Medtronic, Inc., 552 U.S. 312, 128 S.Ct. 999, 169 L.Ed.2d 892(2008), but foreclose a plaintiff

 any opportunity to prove the exception." Id. at *3. The court quoted with approval from Burgos v.

 Satiety, No. 10—CV-2680, 2011 WL 1327684 (E.D.N.Y. Apr. 5, 2011): "[P]laintiffs alleging state-law

 parallel claims based on a violation of a manufacturer's agreement with the FDA often suffer from a


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 1    unique disadvantage: the agreements (including IDEs) that would provide the necessary factual

2     specificity are confidential, and available only to the defendants and the FDA. [A] plaintiff's

3     pleading burden should be commensurate with the amount of information available to them. Other courts

4     have similarly observed that it would be an injustice to penalize a plaintiff for alleging, through no fault

5     of her own, what turned out to be insufficient facts about the manufacturing process of a device that

6     caused injury. See Hofts v. Howmedica Osteonics Corp., 597 F.Supp.2d 830 (S.D.Ind.2009); see also

7     Bausch v. Stryker Corp., 630 F.3d 546 (7th Cir.2010)." Id. at *4 (bold added). The Killen court

8     concluded that because "Plaintiff advanced factual allegations that plausibly suggest the existence of

9     parallel claims, but does not have access to the confidential information to plead more specifically

10    the alleged violation of FDA regulations, the court concludes the pleading standards are satisfied." Id.

11    at *3 (bold added).

12            As the Burgos court noted, unlike PMA data which is a matter of public record, IDE

13    documentation submitted to the FDA is confidential and not available to the public. See id. at *4. For

14    that reason,the Burgos court found that the plaintiff had alleged facts as specifically as she could, without

15    the benefit ofthe confidential IDE documentation, and allowed her claims to proceed. See id.

16            Mentor seeks to place an impossible burden on Plaintiffs by arguing that they must plead more

17    specific facts to state a manufacturing claim, knowing that the information which it alleges Plaintiffs

18    should have included is confidential and known only to Mentor and the FDA. Adopting the reasoning of

19    Mentor would insulate it from ever being subject to a claim related to the manufacturing process, as no

20    plaintiff can allege facts based on information which is confidential.

21            Mentor is also incorrect in its assertion that references to cGMP are inappropriate in a case

22    involving an IDE product. As noted by the court in Killen, a plaintiff may cite to cGMP's to "set forth a

23    plausible claim of what [the IDE] requirements were [as] before discovery, she cannot determine what

24    requirements the FDA actually imposed on defendant in the IDE approval process because that

25    information is confidential." Id. at *1. As that court correctly reasoned: "claims, therefore, are not

26    preempted to the extent that requirements imposed by the FDA [] during the IDE approval process were

27    the same as the requirements imposed by the CGMPs." Id.

28    / //


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        E.      Plaintiff'
                         s Negligence and Negligence Per Se Claims Are Sufficiently Pled

        In Coleman, the court held that the plaintiff had "alleged facts sufficient to state causes of action

 in [] negligence based on Medtronic's failure to warn." 223 Cal. App. 4th at 431. In so ruling, the court

 cited with approval to the decision of the Ninth Circuit in Stengel.4 The Coleman court reasoned that

"California recognizes the applicability of negligence per se in a broad range of scenarios, including

 violation offederal law." Id. at 434. After analyzing California law on negligence per se, the Coleman

 court concluded that "Medtronic does not present a persuasive argument as to why a negligence claim

 resting on a theory of negligence per se would be subject to preemption. Because Coleman's negligence

 claim based on Medtronic's failure to file adverse event reports is cognizable under California law and

 is parallel to federal requirements, he may proceed on this theory." Id.

        The court went further and held: "[w]e conclude that Coleman's negligence claim is not

 preempted. The claim is rooted in traditional state tort law and exists regardless of the FDCA and its

 regulations because the manufacturer of a medical device owes a duty of reasonable care to the consumer

 of such a device even in the absence of FDA regulations." Id. at 435.

        F.      The Court Should Allow Amendment to Cure Any Pleading Defects

        California Code ofCivil Procedure section 473 provides, in pertinent part, that "[t]he court may

 ...in its discretion,... allow, upon any terms as may be just, an amendment to any pleading or proceeding

 in other particulars .. . ." Additionally, Code ofCivil Procedure section 576 provides that "[a]ny judge,

 at any time before or after commencement oftrial, in furtherance ofjustice, and upon such terms as may

 be proper, may allow the amendment of any pleading or pretrial conference order."

        Case law further supports the California Legislature's policy of great liberality in permitting

 amendments to the pleadings at any stage in the proceedings. See, e.g., Hirs v. Superior Court(1981)

 1 18 Cal. App. 3d 486, 488-89 ("Trial courts are vested with the discretion to allow amendments to

 pleadings in furtherance ofjustice. That trial courts are to liberally permit such amendments, at any stage

 ofthe proceeding, has been established by policy in this state ... rest[ing] on the fundamental policy that

 `cases should be decided on their merits'(citation omitted)).


 4The Coleman court acknowledged that Stengel was not binding on it, but found its reasoning to be very
 persuasive. See id. at 429-30.

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        Finally, California courts have also consistently held that it is an abuse of discretion if a Court

 sustains a demurrer without leave to amend if there is any reasonable possibility that a defect can be

 cured by amendment. See, e.g., Quelimane Co. v. Stewart Title Guaranty Co.(1998) 19 Ca1.4th 26, 39

(if"there is a reasonable possibility that the defect can be cured by amendment, leave to amend must be

 granted"(citation omitted)(emphasis added)).

        Here, in the event this Court is inclined to sustain Mentor's Demurrer on any of the causes of

 action, Plaintiffs request an opportunity to amend consistent with the facts stated herein. If the Court

 believes that some elements of Plaintiffs' claim are inadequately pleaded, leave to amend should be

 granted so that any technical defect(s) can be cured.

                                          V.     CONCLUSION

        Based on the foregoing, Plaintiffs respectfully request that the Court overrule Defendant Mentor

 Worldwide, LLC's Demurrer in its entirety. Alternatively, Plaintiffs request that this Court grant leave

 to amend the Complaint to cure any technical defects therein.

 Dated: May 31, 2019                                     Respectfully submitted,

                                                         LENZE LAWYERS,PLC




                                               By:
                                                         JENNIFER A. LENZE
                                                         Attorney for Plaintiffs




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                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                            FOR THE COUNTY OF SAN BERNARDINO

 BRITTANY BILLETTS, an individual; VIVIAN              Case No.: CIVDS1905706
 AGUIAR, an individual; ANN DELMONICO, an
 individual; CORNELIA DITTO, an individual;           [PROPOSED]ORDER OVERRULING
 LEAH JOHNSON, an individual;                         DEFENDANT MENTOR WORLDWIDE,
                                                      LLC'S DEMURRER TO PLAINTIFFS'
                                                      COMPLAINT
          Plaintiffs,
                                                      Hearing: June 13, 2019
          v.                                          Time:    8:30 a.m.
                                                      Dept.:   S24
 MENTOR WORLDWIDE,LLC; NUSIL,LLC;
 NUSIL TECHNOLOGY,LLC; and DOES 1-100,
 inclusive,                                           Complaint Filed: February 22, 2019
                                                      Trial Date: None Assigned
          Defendants.



          AFTER FULL REVIEW AND CONSIDERATION of Plaintiffs' Memorandum of Points and

 Authorities in Opposition to Defendant Mentor Worldwide, LLC's Demurrer to Plaintiffs' Complaint, it

 is hereby ORDERED that Defendant's Demurrer is OVERRULED.

          IT IS SO ORDERED.
 Dated:
                                            Honorable Daniel Buckley

                                                  1
                                        [PROPOSED] ORDER


                                                                                       Ex. D - 173
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                                          PROOF OF SERVICE
                      STATE OF CALIFORNIA,COUNTY OF SAN BERNARDINO
                                       C.C.P. §§1011(a), 1013, 1013a
         I am employed in the county of Los Angeles, State of California. I am over the age of 18 and
 not a party to the within action; my business address is 1300 Highland Ave., Suite 207, Manhattan
 Beach, California 90266.

          On May 31, 2019, I served the foregoing document described as

   PLAINTIFFS' OPPOSITION TO DEFENDANT MENTOR WORLDWIDE,LLC'S
   DEMURRER TO PLAINTIFFS' COMPLAINT; MEMORANDUM OF POINTS AND
   AUTHORITIES;[PROPOSED]ORDER

 on the interested parties or attorneys for parties in this action who are identified on the attached service list, using the
 following means of service:

 (X)      BY MAIL.I placed()the original or(X)a true copy ofthe foregoing document(s) in a sealed envelope individually
          addressed to each of the parties on the attached service list, and caused each such envelope to be deposited in the
          mail at I deposited such envelope in the mail at 1300 Highland Ave #207 Manhattan Beach, CA 90266. Each
          envelope was mailed with postage thereon fully prepaid. I am readily familiar with this firm's practice of collection
          and processing of correspondence for mailing. Under that practice, mail is deposited with the United States Postal
          Service the same day that it is collected in the ordinary course of business.

 ()       BY FACSIMILE.I caused()the original or()a true copy of the foregoing document(s) to be transmitted to each
          of the parties on the attached service list at the facsimile telephone number as last given by that person on any
          document which he or she has filed in this action and served upon this office.

 O        BY PERSONAL SERVICE. I placed()the original or()a true copy of the foregoing document(s) in sealed
          envelopes individually addressed to each of the parties on the attached service list, and caused such envelope(s) to
          be delivered by hand to the offices ofeach addressee.

 0        BY E-MAIL. I caused the foregoing document(s) to be transmitted by e-mail electronic transmission to the e-mail
          address as indicated on the attached service list as last given by that person on any document which he or she has
          filed in this action and served upon this office.

 0        BY ELECTRONIC SERVICE: I provided the document listed above electronically through the
          Case Anywhere system. I did not receive, within a reasonable time after the transmission, any
          electronic message or other indication that the transmission was unsuccessful.

 (X)      (State) I declare under penalty of perjury

          Executed on May 31, 2019, at Manhattan Beach, California.

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                                                                                   r Tres
                                                                             Brandy Torres




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                                                       PROOF OF SERVICE

                                                                                                                  Ex. D - 174
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                                   #:566



                                     SERVICE LIST
                               Billetts, et al v. Mentor, et al
                                Case No. CIVDS1905706

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                                    PROOF OF SERVICE


                                                                   Ex. D - 175
